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Case ID #    Company Name                     EIN #             Filing Date
17-46613     Bracha Cab Corp               XX-XXXXXXX           12/8/2017
17-46618     Dabri Trans Corp              XX-XXXXXXX           12/8/2017
17-46614     Dovber Cab Corp               XX-XXXXXXX           12/8/2017
17-46620     Fit Taxi Corp                 XX-XXXXXXX           12/8/2017
17-46646     Jackhel Cab Corp              XX-XXXXXXX           12/11/2017
17-46639     Jarub Trans Corp              XX-XXXXXXX           12/11/2017
17-46647     Lechaim Cab Corp              XX-XXXXXXX           12/11/2017
17-46619     Merab Cab Corp                XX-XXXXXXX           12/8/2017
17-46644     NY Canteen Taxi Corp          XX-XXXXXXX           12/11/2017
17-46645     NY Energy Taxi Corp           XX-XXXXXXX           12/11/2017
17-46617     NY Genesis Taxi Corp          XX-XXXXXXX           12/8/2017
17-46642     NY Stance Taxi Corp           XX-XXXXXXX           12/11/2017
17-46641     NY Tint Taxi Corp             XX-XXXXXXX           12/11/2017
17-46640     Somyash Taxi Inc.             XX-XXXXXXX           12/11/2017
17-46616     Tamar Cab Corp                XX-XXXXXXX           12/8/2017
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In re Bracha Cab Corp                                                                           Case No. 17-46613
      Debtor                                                                           Reporting Period: 2/1/2018-2/28/2018

                                  SCHEDULE OF CASH RECEIPTS AND DISBURSEMENTS

     Amounts reported should be from the debtor’s books and not the bank statement. The beginning cash should be the ending cash from the prior month
     or, if this is the first report, the amount should be the balance on the date the petition was filed. The amounts reported in the "CURRENT MONTH -
     ACTUAL” column must equal the sum of the four bank account columns. Attach copies of the bank statements and the cash disbursements journal.
     The total disbursements listed in the disbursements journal must equal the total disbursements reported on this page. A bank reconciliation must be
     attached for each account. [See MOR-1 (CON’T)]

                                                                                                             BANK ACCOUNTS
                                                                                            PAYROLL                    TAX                  OTHER           CURRENT MONTH
                                                                                                                                                           ACTUAL (TOTAL OF
                                                                  OPERATING
                                                                                                                                                             ALL ACCOUNTS)
     ACCOUNT NUMBER (LAST 4)                                         2229

     CASH BEGINNING OF MONTH                              $            3,966.56                                                                            $      3,966.56
     RECEIPTS
     CASH SALES                                           $            2,200.00                                                                            $      2,200.00
     ACCOUNTS RECEIVABLE -
     PREPETITION                                                                                                                                           $             -
     ACCOUNTS RECEIVABLE -
     POSTPETITION                                             $                 -                                                                          $             -
     LOANS AND ADVANCES                                                        0                                                                                             0
     SALE OF ASSETS                                                            0                                                                                             0
     OTHER (ATTACH LIST)                                                       0                                                                                             0
     TRANSFERS (FROM DIP ACCTS)                                                0
       TOTAL RECEIPTS                                     $            2,200.00                                                                            $      2,200.00
     DISBURSEMENTS
     NET PAYROLL                                                                   0                                                                                         0
     PAYROLL TAXES                                                                 0                                                                                         0
     SALES, USE, & OTHER TAXES                                                     0                                                                                         0
     INVENTORY PURCHASES                                                           0                                                                                         0
     SECURED/ RENTAL/ LEASES                                                       0                                                                                         0
     INSURANCE                                                                     0                                                                                         0
     ADMINISTRATIVE                                                                0                                                                                         0
     SELLING                                                                       0                                                                                         0
     OTHER (ATTACH LIST)                                                                                                                                   $             -
     OWNER DRAW *                                                                                                                                                            0
     TRANSFERS (TO DIP ACCTS)                                                                                                                                                0
     PROFESSIONAL FEES                                                                                                                                                       0
     U.S. TRUSTEE QUARTERLY FEES                                                                                                                           $             -
     COURT COSTS                                                                   0                                                                                         0
     TOTAL DISBURSEMENTS                                  $                    -                                                                           $             -

     NET CASH FLOW
     (RECEIPTS LESS DISBURSEMENTS) $                                   2,200.00                                                                            $      2,200.00

     CASH – END OF MONTH                                  $            6,166.56                                                                            $      6,166.56
     * COMPENSATION TO SOLE PROPRIETORS FOR SERVICES RENDERED TO BANKRUPTCY ESTATE


                                          THE FOLLOWI NG SECTI ON MUST BE COMPLETED
     DISBURSEMENTS FOR CALCULATING U.S. TRUSTEE QUARTERLY FEES: (FROM CURRENT MONTH ACTUAL COLUMN)

     TOTAL DISBURSEMENTS
       LESS: TRANSFERS TO OTHER DEBTOR IN
     POSSESSION ACCOUNTS                                                                $                                       -
       PLUS: ESTATE DISBURSEMENTS MADE BY
     OUTSIDE SOURCES (i.e. from escrow accounts)                                        $                                       -
     TOTAL DISBURSEMENTS FOR CALCULATING U.S.
     TRUSTEE QUARTERLY FEES                                                             $                                       -


                                                                                                                                                                 FORM MOR-1
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In re Bracha Cab Corp                                                         Case No. 17-46613
      Debtor                                                         Reporting Period: 2/1/2018-2/28/2018

                                                      BANK RECONCILIATIONS
     Continuation Sheet for MOR-1
     A bank reconciliation must be included for each bank account. The debtor's bank reconciliation may be substituted for this page.
     (Bank account numbers may be redacted to last four numbers.)


                                              Operating                       Payroll                    Tax                        Other
                                                 #2229               # - NA                   # - NA                     # - NA
     BALANCE PER
     BOOKS

     BANK BALANCE                      $               6,166.56
     (+) DEPOSITS IN                   $                     -
     TRANSIT (ATTACH
     LIST)
     (-) OUTSTANDING                   $                       -
     CHECKS (ATTACH
     LIST) :
     OTHER (ATTACH                     $                       -
     EXPLANATION)

     ADJUSTED BANK
     BALANCE *                          $                 6,166.56
     *"Adjusted Bank Balance" must equal "Balance per Books"


     DEPOSITS IN TRANSIT                          Date                        Amount                     Date                      Amount
     None




     CHECKS OUTSTANDING                           Ck. #                       Amount                     Ck. #                     Amount
     None




     OTHER




                                                                                                                                            FORM MOR-1 (CONT.)
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In re Bracha Cab Corp                                                                             Case No. 17-46613
      Debtor                                                                             Reporting Period: 2/1/2018-2/28/2018


                                    STATEMENT OF OPERATIONS (Income Statement)
    The Statement of Operations is to be prepared on an accrual basis. The accrual basis of accounting recognizes revenue
    when it is realized and expenses when they are incurred, regardless of when cash is actually received or paid.

                                        REVENUES                                                 MONTH               CUMULATIVE -FILING
                                                                                                                         TO DATE
     Gross Revenues                                                                      $              2,200.00 $             4,400.00
     Less: Returns and Allowances                                                        $                    - $                    -
     Net Revenue                                                                         $              2,200.00 $             4,400.00
     COST OF GOODS SOLD
     Beginning Inventory                                                                            NA
     Add: Purchases                                                                                 NA
     Add: Cost of Labor                                                                             NA
     Add: Other Costs (attach schedule)                                                             NA
     Less: Ending Inventory                                                                         NA
     Cost of Goods Sold                                                                             NA
     Gross Profit                                                                                   NA
     OPERATING EXPENSES
     Advertising                                                                                    NA
     Auto and Truck Expense                                                                         NA
     Bad Debts                                                                                      NA
     Contributions                                                                                  NA
     Employee Benefits Programs                                                                     NA
     Officer/Insider Compensation*                                                                  NA
     Insurance                                                                                      NA
     Management Fees/Bonuses                                                                        NA
     Office Expense                                                                                 NA
     Pension & Profit-Sharing Plans                                                                 NA
     Repairs and Maintenance                                                                        NA
     Rent and Lease Expense                                                                         NA
     Salaries/Commissions/Fees                                                                      NA
     Supplies                                                                                       NA
     Taxes - Payroll                                                                                NA
     Taxes - Real Estate                                                                            NA
     Taxes - Other                                                                                  NA
     Travel and Entertainment                                                                       NA
     Utilities                                                                                      NA
     Other (attach schedule)                                                                        NA
     Total Operating Expenses Before Depreciation                                                   NA
     Depreciation/Depletion/Amortization                                                            NA
     Net Profit (Loss) Before Other Income & Expenses                                               NA
     OTHER INCOME AND EXPENSES
     Other Income (attach schedule)                                                                              0                    0
     Interest Expense                                                                                            0                    0
     Other Expense (attach schedule)                                                                             0                    0
     Net Profit (Loss) Before Reorganization Items                                                               0                    0




                                                                                                                                      FORM MOR-2
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In re Bracha Cab Corp                                                                   Case No. 17-46613
      Debtor                                                                   Reporting Period: 2/1/2018-2/28/2018

     REORGANIZATION ITEMS
     Professional Fees                                                                                0                    0
     U. S. Trustee Quarterly Fees                                              $                  -       $          325.00
     Interest Earned on Accumulated Cash from Chapter 11 (see continuation
     sheet)                                                                                           0                    0
     Gain (Loss) from Sale of Equipment                                                               0                     0
     Other Reorganization Expenses (attach schedule)                                                      $           208.44
     Total Reorganization Expenses                                                                        $           533.44
     Income Taxes                                                              $                 -                          0
     Net Profit (Loss)                                                         $           2,200.00 $               3,866.56
    *"Insider" is defined in 11 U.S.C. Section 101(31).


     BREAKDOWN OF “OTHER” CATEGORY

     OTHER COSTS
     NONE




     OTHER OPERATIONAL EXPENSES
     NONE




     OTHER INCOME
     NONE



     OTHER EXPENSES
     NONE



     OTHER REORGANIZATION EXPENSES
     Checks - New DIP Account                                                                             $          208.44




     Reorganization Items - Interest Earned on Accumulated Cash from Chapter 11:
     Interest earned on cash accumulated during the chapter 11 case, which would not have been earned but for the
     bankruptcy proceeding, should be reported as a reorganization item.




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In re Bracha Cab Corp                                                                          Case No.                        17-46613
      Debtor                                                                          Reporting Period:               2/1/2018-2/28/2018

                                                                              BALANCE SHEET
     The Balance Sheet is to be completed on an accrual basis only. Pre-petition liabilities must be classified separately from post-petition obligations.

                                      ASSETS                                      BOOK VALUE AT END OF            BOOK VALUE AT END OF           BOOK VALUE ON PETITION
                                                                                   CURRENT REPORTING                PRIOR REPORTING                DATE OR SCHEDULED
                                                                                         MONTH                           MONTH
     CURRENT ASSETS
     Unrestricted Cash and Equivalents                                            $                6,166.56       $                3,966.56       $              2,300.00
     Restricted Cash and Cash Equivalents (see continuation                                                                                                              0
     sheet)                                                                                              0
     Accounts Receivable (Net)                                                   $                    -                                          $                    -
     Notes Receivable                                                            $           1,194,366.00 $                  1,194,366.00        $           1,194,366.00
     Inventories                                                                 NA                                                              NA
     Prepaid Expenses                                                            NA                                                              NA
     Professional Retainers                                                                              0                                                               0
     Other Current Assets (attach schedule)                                       $            750,000.00 $                    750,000.00         $            750,000.00
     TOTAL CURRENT ASSETS                                                         $          1,950,532.56 $                  1,948,332.56         $          1,946,666.00
     PROPERTY & EQUIPMENT
     Real Property and Improvements                                                                           0                                                         0
     Machinery and Equipment                                                                                  0                                                         0
     Furniture, Fixtures and Office Equipment                                                                 0                                                         0
     Leasehold Improvements                                                                                   0                                                         0
     Vehicles                                                                                                 0                                                         0
     Less: Accumulated Depreciation                                                                           0                                                         0
     TOTAL PROPERTY & EQUIPMENT                                                                               0                                                         0
     OTHER ASSETS
     Amounts due from Insiders*                                                                               0                                                         0
     Other Assets (attach schedule)                                                                           0                                                         0
     TOTAL OTHER ASSETS
     TOTAL ASSETS                                                                 $          1,950,532.56         $          1,948,332.56         $          1,946,666.00
                      LIABILITIES AND OWNER EQUITY                                BOOK VALUE AT END OF            BOOK VALUE AT END OF           BOOK VALUE ON PETITION
                                                                                   CURRENT REPORTING                PRIOR REPORTING                      DATE
                                                                                         MONTH                           MONTH
     LIABILITIES NOT SUBJECT TO COMPROMISE (Postpetition)
     Accounts Payable                                                                                         0                                                         0
     Taxes Payable (refer to FORM MOR-4)                                                                      0                                                         0
     Wages Payable                                                                                            0                                                         0
     Notes Payable                                                                                            0                                                         0
     Rent / Leases - Building/Equipment                                                                       0                                                         0
     Secured Debt / Adequate Protection Payments                                                              0                                                         0
     Professional Fees                                                                                        0                                                         0
     Amounts Due to Insiders*                                                                                 0                                                         0
     Other Post-petition Liabilities (attach schedule)                                                        0                                                         0
     TOTAL POST-PETITION LIABILITIES                                                                          0                                                         0
     LIABILITIES SUBJECT TO COMPROMISE (Pre-Petition)
     Secured Debt                                                                 $          1,460,000.00         $          1,460,000.00         $          1,460,000.00
     Priority Debt
     Unsecured Debt
     TOTAL PRE-PETITION LIABILITIES                                               $          1,460,000.00         $          1,460,000.00         $          1,460,000.00
     TOTAL LIABILITIES                                                            $          1,460,000.00         $          1,460,000.00         $          1,460,000.00
     OWNERS' EQUITY
     Capital Stock
     Additional Paid-In Capital
     Partners' Capital Account
     Owner's Equity Account
     Retained Earnings - Pre-Petition
     Retained Earnings - Post-petition
     Adjustments to Owner Equity (attach schedule)
     Post-petition Contributions (attach schedule)
     NET OWNERS’ EQUITY
     TOTAL LIABILITIES AND OWNERS' EQUITY                                        $            1,950,532.56 $                  1,948,332.56 $                 1,946,666.00
     * "Insider" is defined in 11 U.S.C. Section 101(31).


                                                                                                                                                                             FORM MOR-3
                                                                                                                                                                                   2/2008
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In re Bracha Cab Corp                                                            Case No.                 17-46613
      Debtor                                                            Reporting Period:        2/1/2018-2/28/2018


     BALANCE SHEET - continuation section
                                ASSETS                                BOOK VALUE AT END      BOOK VALUE AT END             BOOK VALUE ON
                                                                         OF CURRENT          OF PRIOR REPORTING            PETITION DATE
                                                                      REPORTING MONTH              MONTH
     Other Current Assets
     NYC Medallions - 2L35 & 2L36                                 $             750,000.00   $            750,000.00   $           750,000.00




     Other Assets
     NA




                  LIABILITIES AND OWNER EQUITY                        BOOK VALUE AT END                                    BOOK VALUE ON
                                                                         OF CURRENT                                        PETITION DATE
                                                                      REPORTING MONTH
     Other Post-petition Liabilities
     NA




     Adjustments to Owner’s Equity
     NA



     Post-Petition Contributions
     NA




     Restricted Cash: Cash that is restricted for a specific use and not available to fund operations.
     Typically, restricted cash is segregated into a separate account, such as an escrow account.




                                                                                                                                                FORM MOR-3
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In re Bracha Cab Corp                                                                     Case No. 17-46613
      Debtor                                                                     Reporting Period: 2/1/2018-2/28/2018

                                            STATUS OF POST-PETITION TAXES

    The beginning tax liability should be the ending liability from the prior month or, if this is the first report, the
    amount should be zero.
    Attach photocopies of IRS Form 6123 or payment receipt to verify payment or deposit of federal payroll taxes.
    Attach photocopies of any tax returns filed during the reporting period.

                                                             Amount
                                                             Withheld
                                           Beginning          and/or          Amount                          Check # or
     Federal                                 Tax             Accrued           Paid           Date Paid         EFT      Ending Tax
     Withholding                          NA
     FICA-Employee                        NA
     FICA-Employer                        NA
     Unemployment                         NA
     Income                               NA
     Other:_____________                  NA
       Total Federal Taxes                NA
    State and Local
     Withholding                          NA
     Sales                                NA
     Excise                               NA
     Unemployment                         NA
     Real Property                        NA
     Personal Property                    NA
     Other:_____________                  NA
      Total State and Local               NA


     Total Taxes                          NA


                                   SUMMARY OF UNPAID POST-PETITION DEBTS

    Attach aged listing of accounts payable.
                                                                             Number of Days Past Due
                                               Current          0-30            31-60            61-90           Over 91    Total
     Accounts Payable                                    0
     Wages Payable                                       0
     Taxes Payable                                       0
     Rent/Leases-Building                                0
     Rent/Leases-Equipment                               0
     Secured Debt/Adequate
     Protection Payments                                 0
     Professional Fees                                   0
     Amounts Due to Insiders                             0
     Other:______________                                0
     Other:______________                                0
     Total Post-petition Debts                           0

     Explain how and when the Debtor intends to pay any past due post-petition debts.



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In re Bracha Cab Corp                                                                          Case No. 17-46613
      Debtor                                                                          Reporting Period: 2/1/2018-2/28/2018


                                            ACCOUNTS RECEIVABLE RECONCILIATION AND AGING

                        Accounts Receivable Reconciliation                                 Amount
     Total Accounts Receivable at the beginning of the reporting period               $             -
     Plus: Amounts billed during the period                                           $        2,200.00
     Less: Amounts collected during the period                                        $        2,200.00
     Total Accounts Receivable at the end of the reporting period                     $             -


     Accounts Receivable Aging                                    0-30 Days               31-60 Days        61-90 Days       91+ Days           Total
     0 - 30 days old                                          $               -                                                             $           -
     31 - 60 days old                                                             0                                                         $           -
     61 - 90 days old                                                             0                                                         $           -
     91+ days old                                                                 0                                                         $           -
     Total Accounts Receivable                                $               -                                                             $           -

     Less: Bad Debts (Amount considered uncollectible)                            0                                                                         0

     Net Accounts Receivable                                  $               -                                                             $           -


                                                          TAXES RECONCILIATION AND AGING

     Taxes Payable                                                0-30 Days               31-60 Days        61-90 Days       91+ Days           Total
     0 - 30 days old                                                              0                    0                 0
     31 - 60 days old                                                             0                    0                 0              0                   0
     61 - 90 days old                                                             0                    0                 0              0                   0
     91+ days old                                                                 0                    0                 0              0                   0
     Total Taxes Payable                                                          0                    0                 0              0                   0
     Total Accounts Payable                                                       0                    0                 0              0                   0



                                                                                                                                                   FORM MOR-5
                                                                                                                                                         2/2008
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In re Bracha Cab Corp                                                     Case No. 17-46613
      Debtor                                                     Reporting Period: 2/1/2018-2/28/2018


                                           PAYMENTS TO INSIDERS AND PROFESSIONALS

    Of the total disbursements shown on the Cash Receipts and Disbursements Report (MOR-1) list the amount paid to insiders (as defined in
    Section 101(31) (A)-(F) of the U.S. Bankruptcy Code) and to professionals. For payments to insiders, identify the type of compensation paid
    (e.g. Salary, Bonus, Commissions, Insurance, Housing Allowance, Travel, Car Allowance, Etc.). Attach additional sheets if necessary.


                                                    INSIDERS

                 NAME                  TYPE OF PAYMENT              AMOUNT PAID            TOTAL PAID TO DATE
     NONE                                                    0                         0                          0




                          TOTAL PAYMENTS TO INSIDERS




                                                                         PROFESSIONALS
                                         DATE OF COURT
                                            ORDER
                                          AUTHORIZING                                                                                             TOTAL INCURRED &
                 NAME                      PAYMENT               AMOUNT APPROVED              AMOUNT PAID             TOTAL PAID TO DATE              UNPAID*
     NONE                             NA




                  TOTAL PAYMENTS TO PROFESSIONALS
    * INCLUDE ALL FEES INCURRED, BOTH APPROVED AND UNAPPROVED



         POST-PETITION STATUS OF SECURED NOTES, LEASES PAYABLE
                  AND ADEQUATE PROTECTION PAYMENTS

                                         SCHEDULED
                                      MONTHLY PAYMENT               AMOUNT PAID            TOTAL UNPAID POST-
        NAME OF CREDITOR                    DUE                    DURING MONTH                PETITION
     None




                                         TOTAL PAYMENTS




                                                                                                                                                           FORM MOR-6
                                                                                                                                                                 2/2008
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In re Bracha Cab Corp                                                                    Case No. 17-46613
      Debtor                                                                    Reporting Period: 2/1/2018-2/28/2018



                                          DEBTOR QUESTIONNAIRE
       Must be completed each month. If the answer to any of the                      Yes                No
       questions is “Yes”, provide a detailed explanation of each item.
       Attach additional sheets if necessary.
       Have any assets been sold or transferred outside the normal course of
   1   business this reporting period?                                                                    X
       Have any funds been disbursed from any account other than a debtor in
   2   possession account this reporting period?                                                          X
       Is the Debtor delinquent in the timely filing of any post-petition tax
   3   returns?                                                                                           X
       Are workers compensation, general liability or other necessary
   4   insurance coverages expired or cancelled, or has the debtor received
       notice of expiration or cancellation of such policies?                                             X

   5 Is the Debtor delinquent in paying any insurance premium payment?                                    X
     Have any payments been made on pre-petition liabilities this reporting
   6 period?                                                                                              X
     Are any post petition receivables (accounts, notes or loans) due from
   7 related parties?                                                                                    X
   8 Are any post petition payroll taxes past due?                                                       X
   9 Are any post petition State or Federal income taxes past due?                                       X
  10 Are any post petition real estate taxes past due?                                                   X
  11 Are any other post petition taxes past due?                                                         X
  12 Have any pre-petition taxes been paid during this reporting period?                                 X
  13 Are any amounts owed to post petition creditors delinquent?                                         X
  14 Are any wage payments past due?                                                                     X
     Have any post petition loans been been received by the Debtor from any
  15 party?                                                                                              X
  16 Is the Debtor delinquent in paying any U.S. Trustee fees?                                           X
     Is the Debtor delinquent with any court ordered payments to attorneys or
  17 other professionals?                                                                                X
     Have the owners or shareholders received any compensation outside of
  18 the normal course of business?                                                                      X




                                                                                                               FORM MOR-7
                                                                                                                     2/2008
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In re Dabri Trans Corp                                                                        Case No. 17-46618
      Debtor                                                                         Reporting Period: 2/1/2018-2/28/2018

                                  SCHEDULE OF CASH RECEIPTS AND DISBURSEMENTS

     Amounts reported should be from the debtor’s books and not the bank statement. The beginning cash should be the ending cash from the prior month
     or, if this is the first report, the amount should be the balance on the date the petition was filed. The amounts reported in the "CURRENT MONTH -
     ACTUAL” column must equal the sum of the four bank account columns. Attach copies of the bank statements and the cash disbursements journal.
     The total disbursements listed in the disbursements journal must equal the total disbursements reported on this page. A bank reconciliation must be
     attached for each account. [See MOR-1 (CON’T)]

                                                                                                            BANK ACCOUNTS
                                                                                           PAYROLL                    TAX                  OTHER            CURRENT MONTH
                                                                                                                                                           ACTUAL (TOTAL OF
                                                               OPERATING
                                                                                                                                                             ALL ACCOUNTS)
     ACCOUNT NUMBER (LAST 4)                                      2188

     CASH BEGINNING OF MONTH                              $          11,166.56                                                                             $     11,166.56
     RECEIPTS
     CASH SALES                                           $           2,800.00                                                                             $      2,800.00
     ACCOUNTS RECEIVABLE -
     PREPETITION                                          $                  -                                                                             $            -
     ACCOUNTS RECEIVABLE -
     POSTPETITION                                         $             600.00                                                                             $        600.00
     LOANS AND ADVANCES                                                       0                                                                                           0
     SALE OF ASSETS                                                           0                                                                                           0
     OTHER (ATTACH LIST)                                                      0                                                                                           0
     TRANSFERS (FROM DIP ACCTS)                                               0                                                                                           0
       TOTAL RECEIPTS                                     $           2,800.00                                                                             $      2,800.00
     DISBURSEMENTS
     NET PAYROLL                                                                 0                                                                                            0
     PAYROLL TAXES                                                               0                                                                                            0
     SALES, USE, & OTHER TAXES                                                   0                                                                                            0
     INVENTORY PURCHASES                                                         0                                                                                            0
     SECURED/ RENTAL/ LEASES                                                     0                                                                                            0
     INSURANCE                                                                   0                                                                                            0
     ADMINISTRATIVE                                                              0                                                                                            0
     SELLING                                                                     0                                                                                            0
     OTHER (ATTACH LIST)                                                                                                                                   $            -
     OWNER DRAW *                                                                0                                                                                            0
     TRANSFERS (TO DIP ACCTS)                                                    0                                                                                            0
     PROFESSIONAL FEES                                                           0                                                                                            0
     U.S. TRUSTEE QUARTERLY FEES                          $                  -                                                                             $            -
     COURT COSTS                                                                 0                                                                                            0
     TOTAL DISBURSEMENTS                                  $                  -                                                                             $            -

     NET CASH FLOW
     (RECEIPTS LESS DISBURSEMENTS) $                                  2,800.00                                                                             $      2,800.00

     CASH – END OF MONTH                                  $          13,966.56                                                                             $     13,966.56
     * COMPENSATION TO SOLE PROPRIETORS FOR SERVICES RENDERED TO BANKRUPTCY ESTATE


                                         THE FOLLOWI NG SECTI ON M UST BE COM PLETED
     DISBURSEMENTS FOR CALCULATING U.S. TRUSTEE QUARTERLY FEES: (FROM CURRENT MONTH ACTUAL COLUMN)

     TOTAL DISBURSEMENTS
       LESS: TRANSFERS TO OTHER DEBTOR IN
     POSSESSION ACCOUNTS                                                              $                                        -
       PLUS: ESTATE DISBURSEMENTS MADE BY
     OUTSIDE SOURCES (i.e. from escrow accounts)                                      $                                        -
     TOTAL DISBURSEMENTS FOR CALCULATING U.S.
     TRUSTEE QUARTERLY FEES                                                           $                                        -


                                                                                                                                                               FORM MOR-1
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In re Dabri Trans Corp                                                       Case No. 17-46618
      Debtor                                                        Reporting Period: 2/1/2018-2/28/2018

                                                      BANK RECONCILIATIONS
     Continuation Sheet for MOR-1
     A bank reconciliation must be included for each bank account. The debtor's bank reconciliation may be substituted for this page.
     (Bank account numbers may be redacted to last four numbers.)


                                              Operating                      Payroll                     Tax                        Other
                                      #2188                         # - NA                    # - NA                     # - NA
     BALANCE PER
     BOOKS

     BANK BALANCE                      $             13,966.56
     (+) DEPOSITS IN                   $                    -
     TRANSIT (ATTACH
     LIST)
     (-) OUTSTANDING                   $                      -
     CHECKS (ATTACH
     LIST) :
     OTHER (ATTACH                     $                      -
     EXPLANATION)

     ADJUSTED BANK
     BALANCE *                          $            13,966.56
     *"Adjusted Bank Balance" must equal "Balance per Books"


     DEPOSITS IN TRANSIT                          Date                       Amount                      Date                      Amount
     None




     CHECKS OUTSTANDING                           Ck. #                      Amount                      Ck. #                     Amount
     None




     OTHER




                                                                                                                                            FORM MOR-1 (CONT.)
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In re Dabri Trans Corp                                                                             Case No. 17-46618
      Debtor                                                                              Reporting Period: 2/1/2018-2/28/2018


                                     STATEMENT OF OPERATIONS (Income Statement)
     The Statement of Operations is to be prepared on an accrual basis. The accrual basis of accounting recognizes revenue
     when it is realized and expenses when they are incurred, regardless of when cash is actually received or paid.

                                         REVENUES                                                 MONTH               CUMULATIVE -FILING
                                                                                                                          TO DATE
     Gross Revenues                                                                       $              2,800.00 $             8,400.00
     Less: Returns and Allowances                                                         $                    - $                    -
     Net Revenue                                                                          $              2,800.00 $             8,400.00
     COST OF GOODS SOLD
     Beginning Inventory                                                                             NA
     Add: Purchases                                                                                  NA
     Add: Cost of Labor                                                                              NA
     Add: Other Costs (attach schedule)                                                              NA
     Less: Ending Inventory                                                                          NA
     Cost of Goods Sold                                                                              NA
     Gross Profit                                                                                    NA
     OPERATING EXPENSES
     Advertising                                                                                     NA
     Auto and Truck Expense                                                                          NA
     Bad Debts                                                                                       NA
     Contributions                                                                                   NA
     Employee Benefits Programs                                                                      NA
     Officer/Insider Compensation*                                                                   NA
     Insurance                                                                                       NA
     Management Fees/Bonuses                                                                         NA
     Office Expense                                                                                  NA
     Pension & Profit-Sharing Plans                                                                  NA
     Repairs and Maintenance                                                                         NA
     Rent and Lease Expense                                                                          NA
     Salaries/Commissions/Fees                                                                       NA
     Supplies                                                                                        NA
     Taxes - Payroll                                                                                 NA
     Taxes - Real Estate                                                                             NA
     Taxes - Other                                                                                   NA
     Travel and Entertainment                                                                        NA
     Utilities                                                                                       NA
     Other (attach schedule)                                                                         NA
     Total Operating Expenses Before Depreciation                                                    NA
     Depreciation/Depletion/Amortization                                                             NA
     Net Profit (Loss) Before Other Income & Expenses                                      $              2,800.00 $            8,400.00
     OTHER INCOME AND EXPENSES
     Other Income (attach schedule)                                                                              0                      0
     Interest Expense                                                                                            0                      0
     Other Expense (attach schedule)                                                                             0                      0
     Net Profit (Loss) Before Reorganization Items                                        $              2,800.00 $             8,400.00




                                                                                                                                       FORM MOR-2
                                                                                                                                             2/2008
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In re Dabri Trans Corp                                                                  Case No. 17-46618
      Debtor                                                                   Reporting Period: 2/1/2018-2/28/2018

     REORGANIZATION ITEMS
     Professional Fees                                                                                0                    0
     U. S. Trustee Quarterly Fees                                              $                  -       $          325.00
     Interest Earned on Accumulated Cash from Chapter 11 (see continuation
     sheet)                                                                                           0                    0
     Gain (Loss) from Sale of Equipment                                                               0                     0
     Other Reorganization Expenses (attach schedule)                           $                  -       $           208.44
     Total Reorganization Expenses                                             $                  -        $           533.44
     Income Taxes                                                                                  0                        0
     Net Profit (Loss)                                                         $           2,800.00 $               7,866.56
     *"Insider" is defined in 11 U.S.C. Section 101(31).


     BREAKDOWN OF “OTHER” CATEGORY

     OTHER COSTS
     NONE




     OTHER OPERATIONAL EXPENSES
     NONE




     OTHER INCOME
     NONE



     OTHER EXPENSES
     NONE



     OTHER REORGANIZATION EXPENSES
     Checks - New DIP Account                                                                 208.44                  208.44




     Reorganization Items - Interest Earned on Accumulated Cash from Chapter 11:
     Interest earned on cash accumulated during the chapter 11 case, which would not have been earned but for the
     bankruptcy proceeding, should be reported as a reorganization item.




                                                                                                                           FORM MOR-2
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In re Dabri Trans Corp                                                                         Case No.                        17-46618
      Debtor                                                                          Reporting Period:               2/1/2018-2/28/2018

                                                                              BALANCE SHEET
     The Balance Sheet is to be completed on an accrual basis only. Pre-petition liabilities must be classified separately from post-petition obligations.

                                      ASSETS                                      BOOK VALUE AT END OF            BOOK VALUE AT END OF           BOOK VALUE ON PETITION
                                                                                   CURRENT REPORTING                PRIOR REPORTING                DATE OR SCHEDULED
                                                                                         MONTH                           MONTH
     CURRENT ASSETS
     Unrestricted Cash and Equivalents                                            $              13,966.56        $               11,166.56       $              6,100.00
     Restricted Cash and Cash Equivalents (see continuation                                                                                                              0
     sheet)                                                                                              0
     Accounts Receivable (Net)                                                   $                 600.00 $                        400.00        $               3,000.00
     Notes Receivable                                                            $           1,270,528.00 $                  1,270,528.00        $           1,270,528.00
     Inventories                                                                 NA                                                              NA
     Prepaid Expenses                                                            NA                                                              NA
     Professional Retainers                                                                              0                                                               0
     Other Current Assets (attach schedule)                                       $            750,000.00 $                    750,000.00         $            750,000.00
     TOTAL CURRENT ASSETS                                                         $          2,035,094.56 $                  2,032,094.56         $          2,029,628.00
     PROPERTY & EQUIPMENT
     Real Property and Improvements                                                                           0                                                         0
     Machinery and Equipment                                                                                  0                                                         0
     Furniture, Fixtures and Office Equipment                                                                 0                                                         0
     Leasehold Improvements                                                                                   0                                                         0
     Vehicles                                                                                                 0                                                         0
     Less: Accumulated Depreciation                                                                           0                                                         0
     TOTAL PROPERTY & EQUIPMENT                                                                               0                                                         0
     OTHER ASSETS
     Amounts due from Insiders*                                                                          0                                                               0
     Other Assets (attach schedule)                                                                      0                                                               0
     TOTAL OTHER ASSETS                                                                                  0                                                               0
     TOTAL ASSETS                                                                 $          2,035,094.56 $                  2,032,094.56         $          2,029,628.00
                      LIABILITIES AND OWNER EQUITY                                BOOK VALUE AT END OF            BOOK VALUE AT END OF           BOOK VALUE ON PETITION
                                                                                   CURRENT REPORTING                PRIOR REPORTING                      DATE
                                                                                         MONTH                           MONTH
     LIABILITIES NOT SUBJECT TO COMPROMISE (Postpetition)
     Accounts Payable                                                                                         0                                                         0
     Taxes Payable (refer to FORM MOR-4)                                                                      0                                                         0
     Wages Payable                                                                                            0                                                         0
     Notes Payable                                                                                            0                                                         0
     Rent / Leases - Building/Equipment                                                                       0                                                         0
     Secured Debt / Adequate Protection Payments                                                              0                                                         0
     Professional Fees                                                                                        0                                                         0
     Amounts Due to Insiders*                                                                                 0                                                         0
     Other Post-petition Liabilities (attach schedule)                                                        0                                                         0
     TOTAL POST-PETITION LIABILITIES                                                                          0                                                         0
     LIABILITIES SUBJECT TO COMPROMISE (Pre-Petition)
     Secured Debt                                                                 $          1,460,000.00         $          1,460,000.00         $          1,460,000.00
     Priority Debt
     Unsecured Debt
     TOTAL PRE-PETITION LIABILITIES                                               $          1,460,000.00         $          1,460,000.00         $          1,460,000.00
     TOTAL LIABILITIES                                                            $          1,460,000.00         $          1,460,000.00         $          1,460,000.00
     OWNERS' EQUITY
     Capital Stock
     Additional Paid-In Capital
     Partners' Capital Account
     Owner's Equity Account
     Retained Earnings - Pre-Petition
     Retained Earnings - Post-petition
     Adjustments to Owner Equity (attach schedule)
     Post-petition Contributions (attach schedule)
     NET OWNERS’ EQUITY
     TOTAL LIABILITIES AND OWNERS' EQUITY                                        $            2,035,094.56 $                  2,032,094.56 $                 2,029,628.00
     * "Insider" is defined in 11 U.S.C. Section 101(31).


                                                                                                                                                                             FORM MOR-3
                                                                                                                                                                                   2/2008
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In re Dabri Trans Corp                                                           Case No.                 17-46618
      Debtor                                                            Reporting Period:        2/1/2018-2/28/2018


     BALANCE SHEET - continuation section
                                    ASSETS                            BOOK VALUE AT END      BOOK VALUE AT END             BOOK VALUE ON
                                                                         OF CURRENT          OF PRIOR REPORTING            PETITION DATE
                                                                      REPORTING MONTH              MONTH
     Other Current Assets
     NYC Medallions - 5J10 & 5J11                                 $             750,000.00   $            750,000.00   $           750,000.00




     Other Assets
     NA




                   LIABILITIES AND OWNER EQUITY                       BOOK VALUE AT END                                    BOOK VALUE ON
                                                                         OF CURRENT                                        PETITION DATE
                                                                      REPORTING MONTH
     Other Post-petition Liabilities
     NA




     Adjustments to Owner’s Equity
     NA



     Post-Petition Contributions
     NA




     Restricted Cash: Cash that is restricted for a specific use and not available to fund operations.
     Typically, restricted cash is segregated into a separate account, such as an escrow account.




                                                                                                                                                FORM MOR-3
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Dabri Trans Corp                                                                      Case No. 17-46618
Debtor                                                                       Reporting Period: 2/1/2018-2/28/2018

                                        STATUS OF POST-PETITION TAXES

The beginning tax liability should be the ending liability from the prior month or, if this is the first report, the
amount should be zero.
Attach photocopies of IRS Form 6123 or payment receipt to verify payment or deposit of federal payroll taxes.
Attach photocopies of any tax returns filed during the reporting period.

                                                         Amount
                                                         Withheld
                                       Beginning          and/or          Amount                          Check # or
Federal                                  Tax             Accrued           Paid           Date Paid         EFT      Ending Tax
Withholding                           NA
FICA-Employee                         NA
FICA-Employer                         NA
Unemployment                          NA
Income                                NA
Other:_____________                   NA
  Total Federal Taxes                 NA
State and Local
Withholding                           NA
Sales                                 NA
Excise                                NA
Unemployment                          NA
Real Property                         NA
Personal Property                     NA
Other:_____________                   NA
 Total State and Local                NA


Total Taxes                           NA


                               SUMMARY OF UNPAID POST-PETITION DEBTS

Attach aged listing of accounts payable.
                                                                         Number of Days Past Due
                                           Current          0-30            31-60            61-90           Over 91    Total
Accounts Payable
Wages Payable
Taxes Payable
Rent/Leases-Building
Rent/Leases-Equipment
Secured Debt/Adequate
Protection Payments
Professional Fees
Amounts Due to Insiders
Other:______________
Other:______________
Total Post-petition Debts

Explain how and when the Debtor intends to pay any past due post-petition debts.



                                                                                                                                  FORM MOR-4
                                                                                                                                        2/2008
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In re Dabri Trans Corp                                                                      Case No. 17-46618
      Debtor                                                                       Reporting Period: 2/1/2018-2/28/2018


                                            ACCOUNTS RECEIVABLE RECONCILIATION AND AGING

                        Accounts Receivable Reconciliation                              Amount
     Total Accounts Receivable at the beginning of the reporting period            $         400.00
     Plus: Amounts billed during the period                                        $       3,000.00
     Less: Amounts collected during the period                                     $       2,800.00
     Total Accounts Receivable at the end of the reporting period                  $         600.00


     Accounts Receivable Aging                                    0-30 Days            31-60 Days        61-90 Days       91+ Days           Total
     0 - 30 days old                                          $         400.00                                                           $       400.00
     31 - 60 days old                                         $         200.00                                                           $       200.00
     61 - 90 days old                                                         0                                                          $          -
     91+ days old                                                             0                                                          $          -
     Total Accounts Receivable                                $         600.00                                                           $       600.00
                                                              $         600.00
     Less: Bad Debts (Amount considered uncollectible)                        0                                                                          0

     Net Accounts Receivable                                  $           600.00                                                         $      600.00


                                                          TAXES RECONCILIATION AND AGING

     Taxes Payable                                                0-30 Days            31-60 Days        61-90 Days       91+ Days           Total
     0 - 30 days old                                                           0                    0                 0
     31 - 60 days old                                                          0                    0                 0              0                   0
     61 - 90 days old                                                          0                    0                 0              0                   0
     91+ days old                                                              0                    0                 0              0                   0
     Total Taxes Payable                                                       0                    0                 0              0                   0
     Total Accounts Payable                                                    0                    0                 0              0                   0




                                                                                                                                                FORM MOR-5
                                                                                                                                                      2/2008
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In re Dabri Trans Corp                                                     Case No. 17-46618
      Debtor                                                      Reporting Period: 2/1/2018-2/28/2018


                                            PAYMENTS TO INSIDERS AND PROFESSIONALS

     Of the total disbursements shown on the Cash Receipts and Disbursements Report (MOR-1) list the amount paid to insiders (as defined in
     Section 101(31) (A)-(F) of the U.S. Bankruptcy Code) and to professionals. For payments to insiders, identify the type of compensation paid
     (e.g. Salary, Bonus, Commissions, Insurance, Housing Allowance, Travel, Car Allowance, Etc.). Attach additional sheets if necessary.


                                                     INSIDERS

                  NAME                  TYPE OF PAYMENT              AMOUNT PAID            TOTAL PAID TO DATE
     NONE                                                     0                         0                          0




                           TOTAL PAYMENTS TO INSIDERS




                                                                          PROFESSIONALS
                                          DATE OF COURT
                                             ORDER
                                           AUTHORIZING                                                                                             TOTAL INCURRED &
                  NAME                      PAYMENT               AMOUNT APPROVED              AMOUNT PAID             TOTAL PAID TO DATE              UNPAID*
     NONE                              NA




                   TOTAL PAYMENTS TO PROFESSIONALS
     * INCLUDE ALL FEES INCURRED, BOTH APPROVED AND UNAPPROVED



          POST-PETITION STATUS OF SECURED NOTES, LEASES PAYABLE
                   AND ADEQUATE PROTECTION PAYMENTS

                                          SCHEDULED
                                       MONTHLY PAYMENT               AMOUNT PAID            TOTAL UNPAID POST-
         NAME OF CREDITOR                    DUE                    DURING MONTH                PETITION
     None




                                          TOTAL PAYMENTS




                                                                                                                                                            FORM MOR-6
                                                                                                                                                                  2/2008
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In re Dabri Trans Corp                                                                   Case No. 17-46618
      Debtor                                                                    Reporting Period: 2/1/2018-2/28/2018



                                          DEBTOR QUESTIONNAIRE
       Must be completed each month. If the answer to any of the                      Yes                No
       questions is “Yes”, provide a detailed explanation of each item.
       Attach additional sheets if necessary.
       Have any assets been sold or transferred outside the normal course of
   1   business this reporting period?                                                                    X
       Have any funds been disbursed from any account other than a debtor in
   2   possession account this reporting period?                                                          X
       Is the Debtor delinquent in the timely filing of any post-petition tax
   3   returns?                                                                                           X
       Are workers compensation, general liability or other necessary
   4   insurance coverages expired or cancelled, or has the debtor received
       notice of expiration or cancellation of such policies?                                             X

   5 Is the Debtor delinquent in paying any insurance premium payment?                                    X
     Have any payments been made on pre-petition liabilities this reporting
   6 period?                                                                                              X
     Are any post petition receivables (accounts, notes or loans) due from
   7 related parties?                                                                                    X
   8 Are any post petition payroll taxes past due?                                                       X
   9 Are any post petition State or Federal income taxes past due?                                       X
  10 Are any post petition real estate taxes past due?                                                   X
  11 Are any other post petition taxes past due?                                                         X
  12 Have any pre-petition taxes been paid during this reporting period?                                 X
  13 Are any amounts owed to post petition creditors delinquent?                                         X
  14 Are any wage payments past due?                                                                     X
     Have any post petition loans been been received by the Debtor from any
  15 party?                                                                                              X
  16 Is the Debtor delinquent in paying any U.S. Trustee fees?                                           X
     Is the Debtor delinquent with any court ordered payments to attorneys or
  17 other professionals?                                                                                X
     Have the owners or shareholders received any compensation outside of
  18 the normal course of business?                                                                      X




                                                                                                               FORM MOR-7
                                                                                                                     2/2008
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In re Dovber Cab Corp                                                                           Case No. 17-46614
      Debtor                                                                           Reporting Period: 2/1/2018-2/28/2018

                                  SCHEDULE OF CASH RECEIPTS AND DISBURSEMENTS

     Amounts reported should be from the debtor’s books and not the bank statement. The beginning cash should be the ending cash from the prior month
     or, if this is the first report, the amount should be the balance on the date the petition was filed. The amounts reported in the "CURRENT MONTH -
     ACTUAL” column must equal the sum of the four bank account columns. Attach copies of the bank statements and the cash disbursements journal.
     The total disbursements listed in the disbursements journal must equal the total disbursements reported on this page. A bank reconciliation must be
     attached for each account. [See MOR-1 (CON’T)]

                                                                                                             BANK ACCOUNTS
                                                                                            PAYROLL                    TAX                  OTHER           CURRENT MONTH
                                                                                                                                                           ACTUAL (TOTAL OF
                                                                OPERATING
                                                                                                                                                             ALL ACCOUNTS)
    ACCOUNT NUMBER (LAST 4)                                        2237

     CASH BEGINNING OF MONTH                              $            4,366.56                                                                            $      4,366.56
     RECEIPTS
     CASH SALES                                           $            2,400.00                                                                            $      2,400.00
     ACCOUNTS RECEIVABLE -
     PREPETITION                                          $                    -                                                                           $             -
     ACCOUNTS RECEIVABLE -                                $                    -                                                                           $             -
     POSTPETITION
     LOANS AND ADVANCES                                   $                    -                                                                           $             -
     SALE OF ASSETS                                       $                    -                                                                           $             -
     OTHER (ATTACH LIST)                                                       0                                                                                             0
     TRANSFERS (FROM DIP ACCTS)                                                0
       TOTAL RECEIPTS                                     $            2,400.00                                                                            $      2,400.00
     DISBURSEMENTS
     NET PAYROLL                                                                   0                                                                                         0
     PAYROLL TAXES                                                                 0                                                                                         0
     SALES, USE, & OTHER TAXES                                                     0                                                                                         0
     INVENTORY PURCHASES                                                           0                                                                                         0
     SECURED/ RENTAL/ LEASES                                                       0                                                                                         0
     INSURANCE                                                                     0                                                                                         0
     ADMINISTRATIVE                                                                0                                                                                         0
     SELLING                                                                       0                                                                                         0
     OTHER (ATTACH LIST)                                                                                                                                   $             -
     OWNER DRAW *                                                                                                                                                            0
     TRANSFERS (TO DIP ACCTS)                                                                                                                                                0
     PROFESSIONAL FEES                                                                                                                                                       0
     U.S. TRUSTEE QUARTERLY FEES                                                                                                                           $             -
     COURT COSTS                                                                                                                                                             0
     TOTAL DISBURSEMENTS                                                                                                                                   $             -

     NET CASH FLOW
     (RECEIPTS LESS DISBURSEMENTS) $                                   2,400.00                                                                                              0

     CASH – END OF MONTH                                  $            6,766.56                                                                            $      6,766.56
    * COMPENSATION TO SOLE PROPRIETORS FOR SERVICES RENDERED TO BANKRUPTCY ESTATE


                                          THE FOLLOWI NG SECTI ON MUST BE COMPLETED
    DISBURSEMENTS FOR CALCULATING U.S. TRUSTEE QUARTERLY FEES: (FROM CURRENT MONTH ACTUAL COLUMN)

     TOTAL DISBURSEMENTS
       LESS: TRANSFERS TO OTHER DEBTOR IN
     POSSESSION ACCOUNTS                                                                $                                       -
       PLUS: ESTATE DISBURSEMENTS MADE BY
     OUTSIDE SOURCES (i.e. from escrow accounts)                                        $                                       -
     TOTAL DISBURSEMENTS FOR CALCULATING U.S.
     TRUSTEE QUARTERLY FEES                                                             $                                       -


                                                                                                                                                                 FORM MOR-1
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In re Dovber Cab Corp                                                        Case No. 17-46614
      Debtor                                                        Reporting Period: 2/1/2018-2/28/2018

                                                     BANK RECONCILIATIONS
     Continuation Sheet for MOR-1
    A bank reconciliation must be included for each bank account. The debtor's bank reconciliation may be substituted for this page.
    (Bank account numbers may be redacted to last four numbers.)


                                             Operating                       Payroll                    Tax                        Other
                                                # 2237              # - NA                   # - NA                     # - NA
     BALANCE PER
     BOOKS

     BANK BALANCE                     $               6,766.56
     (+) DEPOSITS IN                  $                     -
     TRANSIT (ATTACH
     LIST)
     (-) OUTSTANDING                  $                       -
     CHECKS (ATTACH
     LIST) :
     OTHER (ATTACH                    $                       -
     EXPLANATION)

     ADJUSTED BANK
     BALANCE *                         $                 6,766.56
    *"Adjusted Bank Balance" must equal "Balance per Books"


    DEPOSITS IN TRANSIT                          Date                        Amount                     Date                      Amount
    None




     CHECKS OUTSTANDING                          Ck. #                       Amount                     Ck. #                     Amount
    None




    OTHER




                                                                                                                                           FORM MOR-1 (CONT.)
                                                                                                                                                        2/2008
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In re Dovber Cab Corp                                                                             Case No. 17-46614
      Debtor                                                                             Reporting Period: 2/1/2018-2/28/2018


                                    STATEMENT OF OPERATIONS (Income Statement)
    The Statement of Operations is to be prepared on an accrual basis. The accrual basis of accounting recognizes revenue
    when it is realized and expenses when they are incurred, regardless of when cash is actually received or paid.

                                        REVENUES                                                 MONTH               CUMULATIVE -FILING
                                                                                                                         TO DATE
    Gross Revenues                                                                       $              2,400.00 $             4,800.00
    Less: Returns and Allowances                                                         $                    - $                    -
    Net Revenue                                                                          $              2,400.00 $             4,800.00
    COST OF GOODS SOLD
    Beginning Inventory                                                                             NA
    Add: Purchases                                                                                  NA
    Add: Cost of Labor                                                                              NA
    Add: Other Costs (attach schedule)                                                              NA
    Less: Ending Inventory                                                                          NA
    Cost of Goods Sold                                                                              NA
    Gross Profit                                                                                    NA
    OPERATING EXPENSES
    Advertising                                                                                     NA
    Auto and Truck Expense                                                                          NA
    Bad Debts                                                                                       NA
    Contributions                                                                                   NA
    Employee Benefits Programs                                                                      NA
    Officer/Insider Compensation*                                                                   NA
    Insurance                                                                                       NA
    Management Fees/Bonuses                                                                         NA
    Office Expense                                                                                  NA
    Pension & Profit-Sharing Plans                                                                  NA
    Repairs and Maintenance                                                                         NA
    Rent and Lease Expense                                                                          NA
    Salaries/Commissions/Fees                                                                       NA
    Supplies                                                                                        NA
    Taxes - Payroll                                                                                 NA
    Taxes - Real Estate                                                                             NA
    Taxes - Other                                                                                   NA
    Travel and Entertainment                                                                        NA
    Utilities                                                                                       NA
    Other (attach schedule)                                                                         NA
    Total Operating Expenses Before Depreciation                                                    NA
    Depreciation/Depletion/Amortization                                                             NA
    Net Profit (Loss) Before Other Income & Expenses                                      $              2,400.00 $            4,800.00
    OTHER INCOME AND EXPENSES
    Other Income (attach schedule)                                                                              0                      0
    Interest Expense                                                                                            0                      0
    Other Expense (attach schedule)                                                                             0                      0
    Net Profit (Loss) Before Reorganization Items                                        $              2,400.00 $             4,800.00




                                                                                                                                      FORM MOR-2
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In re Dovber Cab Corp                                                                  Case No. 17-46614
      Debtor                                                                  Reporting Period: 2/1/2018-2/28/2018

    REORGANIZATION ITEMS
    Professional Fees                                                                                0                    0
    U. S. Trustee Quarterly Fees                                              $                  -       $          325.00
    Interest Earned on Accumulated Cash from Chapter 11 (see continuation
    sheet)                                                                                           0                    0
    Gain (Loss) from Sale of Equipment                                                               0                     0
    Other Reorganization Expenses (attach schedule)                                                      $           208.44
    Total Reorganization Expenses                                                                                     533.44
    Income Taxes                                                                                  0                        0
    Net Profit (Loss)                                                         $           2,400.00 $               4,266.56
    *"Insider" is defined in 11 U.S.C. Section 101(31).


     BREAKDOWN OF “OTHER” CATEGORY

     OTHER COSTS
    NONE




     OTHER OPERATIONAL EXPENSES
    NONE




     OTHER INCOME
    NONE



     OTHER EXPENSES
    NONE



     OTHER REORGANIZATION EXPENSES
    Checks - New DIP Account                                                                                         208.44




    Reorganization Items - Interest Earned on Accumulated Cash from Chapter 11:
    Interest earned on cash accumulated during the chapter 11 case, which would not have been earned but for the
    bankruptcy proceeding, should be reported as a reorganization item.




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In re Dovber Cab Corp                                                                          Case No.                        17-46614
      Debtor                                                                          Reporting Period:               2/1/2018-2/28/2018

                                                                              BALANCE SHEET
     The Balance Sheet is to be completed on an accrual basis only. Pre-petition liabilities must be classified separately from post-petition obligations.

                                      ASSETS                                      BOOK VALUE AT END OF            BOOK VALUE AT END OF           BOOK VALUE ON PETITION
                                                                                   CURRENT REPORTING                PRIOR REPORTING                DATE OR SCHEDULED
                                                                                         MONTH                           MONTH
     CURRENT ASSETS
     Unrestricted Cash and Equivalents                                            $                6,766.56       $                4,366.56       $              2,500.00
     Restricted Cash and Cash Equivalents (see continuation                                                       $                     -                                0
     sheet)                                                                                              0
     Accounts Receivable (Net)                                                   $                    -    $                          -          $                    -
     Notes Receivable                                                            $           1,189,052.00 $                  1,189,052.00        $           1,189,052.00
     Inventories                                                                 NA                                                              NA
     Prepaid Expenses                                                            NA                                                              NA
     Professional Retainers                                                                              0 $                          -                                  0
     Other Current Assets (attach schedule)                                       $            750,000.00 $                    750,000.00         $            750,000.00
     TOTAL CURRENT ASSETS                                                         $          1,945,818.56 $                  1,943,418.56         $          1,941,552.00
     PROPERTY & EQUIPMENT
     Real Property and Improvements                                                                           0                                                         0
     Machinery and Equipment                                                                                  0                                                         0
     Furniture, Fixtures and Office Equipment                                                                 0                                                         0
     Leasehold Improvements                                                                                   0                                                         0
     Vehicles                                                                                                 0                                                         0
     Less: Accumulated Depreciation                                                                           0                                                         0
     TOTAL PROPERTY & EQUIPMENT                                                                               0                                                         0
     OTHER ASSETS
     Amounts due from Insiders*                                                                          0                                                               0
     Other Assets (attach schedule)                                                                      0                                                               0
     TOTAL OTHER ASSETS                                                                                  0                                                               0
     TOTAL ASSETS                                                                 $          1,945,818.56 $                  1,943,418.56         $          1,941,552.00
                      LIABILITIES AND OWNER EQUITY                                BOOK VALUE AT END OF            BOOK VALUE AT END OF           BOOK VALUE ON PETITION
                                                                                   CURRENT REPORTING                PRIOR REPORTING                      DATE
                                                                                         MONTH                           MONTH
     LIABILITIES NOT SUBJECT TO COMPROMISE (Postpetition)
     Accounts Payable                                                                                         0                                                         0
     Taxes Payable (refer to FORM MOR-4)                                                                      0                                                         0
     Wages Payable                                                                                            0                                                         0
     Notes Payable                                                                                            0                                                         0
     Rent / Leases - Building/Equipment                                                                       0                                                         0
     Secured Debt / Adequate Protection Payments                                                              0                                                         0
     Professional Fees                                                                                        0                                                         0
     Amounts Due to Insiders*                                                                                 0                                                         0
     Other Post-petition Liabilities (attach schedule)                                                        0                                                         0
     TOTAL POST-PETITION LIABILITIES                                                                          0                                                         0
     LIABILITIES SUBJECT TO COMPROMISE (Pre-Petition)
     Secured Debt                                                                 $          1,460,000.00         $          1,460,000.00         $          1,460,000.00
     Priority Debt
     Unsecured Debt
     TOTAL PRE-PETITION LIABILITIES                                               $          1,460,000.00         $          1,460,000.00         $          1,460,000.00
     TOTAL LIABILITIES                                                            $          1,460,000.00         $          1,460,000.00         $          1,460,000.00
     OWNERS' EQUITY
     Capital Stock
     Additional Paid-In Capital
     Partners' Capital Account
     Owner's Equity Account
     Retained Earnings - Pre-Petition
     Retained Earnings - Post-petition
     Adjustments to Owner Equity (attach schedule)
     Post-petition Contributions (attach schedule)
     NET OWNERS’ EQUITY
     TOTAL LIABILITIES AND OWNERS' EQUITY                                        $            1,945,818.56 $                  1,943,418.56 $                 1,941,552.00
     * "Insider" is defined in 11 U.S.C. Section 101(31).


                                                                                                                                                                             FORM MOR-3
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In re Dovber Cab Corp                                                            Case No.                 17-46614
      Debtor                                                            Reporting Period:        2/1/2018-2/28/2018


     BALANCE SHEET - continuation section
                                    ASSETS                            BOOK VALUE AT END      BOOK VALUE AT END             BOOK VALUE ON
                                                                         OF CURRENT          OF PRIOR REPORTING            PETITION DATE
                                                                      REPORTING MONTH              MONTH
     Other Current Assets
     NYC Medallions - 2J71 & 2J72                                 $             750,000.00   $            750,000.00   $           750,000.00




     Other Assets
     NA




                   LIABILITIES AND OWNER EQUITY                       BOOK VALUE AT END                                    BOOK VALUE ON
                                                                         OF CURRENT                                        PETITION DATE
                                                                      REPORTING MONTH
     Other Post-petition Liabilities
     NA




     Adjustments to Owner’s Equity
     NA



     Post-Petition Contributions
     NA




     Restricted Cash: Cash that is restricted for a specific use and not available to fund operations.
     Typically, restricted cash is segregated into a separate account, such as an escrow account.




                                                                                                                                                FORM MOR-3
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In re Dovber Cab Corp                                                                     Case No. 17-46614
      Debtor                                                                     Reporting Period: 2/1/2018-2/28/2018

                                            STATUS OF POST-PETITION TAXES

    The beginning tax liability should be the ending liability from the prior month or, if this is the first report, the
    amount should be zero.
    Attach photocopies of IRS Form 6123 or payment receipt to verify payment or deposit of federal payroll taxes.
    Attach photocopies of any tax returns filed during the reporting period.

                                                             Amount
                                                             Withheld
                                           Beginning          and/or          Amount                          Check # or
    Federal                                  Tax             Accrued           Paid           Date Paid         EFT      Ending Tax
     Withholding                          NA
     FICA-Employee                        NA
     FICA-Employer                        NA
     Unemployment                         NA
     Income                               NA
     Other:_____________                  NA
       Total Federal Taxes                NA
    State and Local
     Withholding                          NA
     Sales                                NA
     Excise                               NA
     Unemployment                         NA
     Real Property                        NA
     Personal Property                    NA
     Other:_____________                  NA
      Total State and Local               NA


     Total Taxes                          NA


                                   SUMMARY OF UNPAID POST-PETITION DEBTS

    Attach aged listing of accounts payable.
                                                                             Number of Days Past Due
                                               Current          0-30            31-60            61-90           Over 91    Total
     Accounts Payable
     Wages Payable
     Taxes Payable
     Rent/Leases-Building
     Rent/Leases-Equipment
     Secured Debt/Adequate
     Protection Payments
     Professional Fees
     Amounts Due to Insiders
     Other:______________
     Other:______________
     Total Post-petition Debts

     Explain how and when the Debtor intends to pay any past due post-petition debts.



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                                                                                                                                            2/2008
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In re Dovber Cab Corp                                                                          Case No. 17-46614
      Debtor                                                                          Reporting Period: 2/1/2018-2/28/2018


                                            ACCOUNTS RECEIVABLE RECONCILIATION AND AGING

                        Accounts Receivable Reconciliation                                 Amount
     Total Accounts Receivable at the beginning of the reporting period               $             -
     Plus: Amounts billed during the period                                           $        2,400.00
     Less: Amounts collected during the period                                        $        2,400.00
     Total Accounts Receivable at the end of the reporting period                     $             -


     Accounts Receivable Aging                                    0-30 Days               31-60 Days        61-90 Days       91+ Days           Total
     0 - 30 days old                                          $               -                                                             $           -
     31 - 60 days old                                                             0                                                         $           -
     61 - 90 days old                                                             0                                                         $           -
     91+ days old                                                                 0                                                         $           -
     Total Accounts Receivable                                $               -                                                             $           -

     Less: Bad Debts (Amount considered uncollectible)                            0                                                                         0

     Net Accounts Receivable                                  $               -                                                             $           -


                                                          TAXES RECONCILIATION AND AGING

     Taxes Payable                                                0-30 Days               31-60 Days        61-90 Days       91+ Days           Total
     0 - 30 days old                                                              0                    0                 0
     31 - 60 days old                                                             0                    0                 0              0                   0
     61 - 90 days old                                                             0                    0                 0              0                   0
     91+ days old                                                                 0                    0                 0              0                   0
     Total Taxes Payable                                                          0                    0                 0              0                   0
     Total Accounts Payable                                                       0                    0                 0              0                   0



                                                                                                                                                   FORM MOR-5
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In re Dovber Cab Corp                                                     Case No. 17-46614
      Debtor                                                     Reporting Period: 2/1/2018-2/28/2018


                                           PAYMENTS TO INSIDERS AND PROFESSIONALS

    Of the total disbursements shown on the Cash Receipts and Disbursements Report (MOR-1) list the amount paid to insiders (as defined in
    Section 101(31) (A)-(F) of the U.S. Bankruptcy Code) and to professionals. For payments to insiders, identify the type of compensation paid
    (e.g. Salary, Bonus, Commissions, Insurance, Housing Allowance, Travel, Car Allowance, Etc.). Attach additional sheets if necessary.


                                                    INSIDERS

                 NAME                  TYPE OF PAYMENT              AMOUNT PAID            TOTAL PAID TO DATE
     NONE                                                    0                         0                          0




                          TOTAL PAYMENTS TO INSIDERS




                                                                         PROFESSIONALS
                                         DATE OF COURT
                                            ORDER
                                          AUTHORIZING                                                                                             TOTAL INCURRED &
                 NAME                      PAYMENT               AMOUNT APPROVED              AMOUNT PAID             TOTAL PAID TO DATE              UNPAID*
     NONE                             NA




                  TOTAL PAYMENTS TO PROFESSIONALS
    * INCLUDE ALL FEES INCURRED, BOTH APPROVED AND UNAPPROVED



         POST-PETITION STATUS OF SECURED NOTES, LEASES PAYABLE
                  AND ADEQUATE PROTECTION PAYMENTS

                                         SCHEDULED
                                      MONTHLY PAYMENT               AMOUNT PAID            TOTAL UNPAID POST-
        NAME OF CREDITOR                    DUE                    DURING MONTH                PETITION
     None




                                         TOTAL PAYMENTS




                                                                                                                                                           FORM MOR-6
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In re Dovber Cab Corp                                                                    Case No. 17-46614
      Debtor                                                                    Reporting Period: 2/1/2018-2/28/2018



                                          DEBTOR QUESTIONNAIRE
       Must be completed each month. If the answer to any of the                      Yes                No
       questions is “Yes”, provide a detailed explanation of each item.
       Attach additional sheets if necessary.
       Have any assets been sold or transferred outside the normal course of
   1   business this reporting period?                                                                    X
       Have any funds been disbursed from any account other than a debtor in
   2   possession account this reporting period?                                                          X
       Is the Debtor delinquent in the timely filing of any post-petition tax
   3   returns?                                                                                           X
       Are workers compensation, general liability or other necessary
   4   insurance coverages expired or cancelled, or has the debtor received
       notice of expiration or cancellation of such policies?                                             X

   5 Is the Debtor delinquent in paying any insurance premium payment?                                    X
     Have any payments been made on pre-petition liabilities this reporting
   6 period?                                                                                              X
     Are any post petition receivables (accounts, notes or loans) due from
   7 related parties?                                                                                    X
   8 Are any post petition payroll taxes past due?                                                       X
   9 Are any post petition State or Federal income taxes past due?                                       X
  10 Are any post petition real estate taxes past due?                                                   X
  11 Are any other post petition taxes past due?                                                         X
  12 Have any pre-petition taxes been paid during this reporting period?                                 X
  13 Are any amounts owed to post petition creditors delinquent?                                         X
  14 Are any wage payments past due?                                                                     X
     Have any post petition loans been been received by the Debtor from any
  15 party?                                                                                              X
  16 Is the Debtor delinquent in paying any U.S. Trustee fees?                                           X
     Is the Debtor delinquent with any court ordered payments to attorneys or
  17 other professionals?                                                                                X
     Have the owners or shareholders received any compensation outside of
  18 the normal course of business?                                                                      X




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In re Fit Taxi Corp                                                                             Case No. 17-46620
      Debtor                                                                           Reporting Period: 2/1/2018-2/28/2018

                                  SCHEDULE OF CASH RECEIPTS AND DISBURSEMENTS

     Amounts reported should be from the debtor’s books and not the bank statement. The beginning cash should be the ending cash from the prior month
     or, if this is the first report, the amount should be the balance on the date the petition was filed. The amounts reported in the "CURRENT MONTH -
     ACTUAL” column must equal the sum of the four bank account columns. Attach copies of the bank statements and the cash disbursements journal.
     The total disbursements listed in the disbursements journal must equal the total disbursements reported on this page. A bank reconciliation must be
     attached for each account. [See MOR-1 (CON’T)]

                                                                                                             BANK ACCOUNTS
                                                                                            PAYROLL                    TAX                  OTHER           CURRENT MONTH
                                                                                                                                                           ACTUAL (TOTAL OF
                                                                OPERATING
                                                                                                                                                             ALL ACCOUNTS)
     ACCOUNT NUMBER (LAST 4)                                       2245

     CASH BEGINNING OF MONTH                              $          12,166.56                                                                             $     12,166.56
     RECEIPTS
     CASH SALES                                           $            3,000.00                                                                            $      6,000.00
     ACCOUNTS RECEIVABLE -
     PREPETITION                                          $                    -                                                                           $             -
     ACCOUNTS RECEIVABLE -
     POSTPETITION                                          $              900.00                                                                           $        900.00
     LOANS AND ADVANCES                                                        0                                                                                          0
     SALE OF ASSETS                                                            0                                                                                          0
     OTHER (ATTACH LIST)                                                       0                                                                                          0
     TRANSFERS (FROM DIP ACCTS)                                                0
       TOTAL RECEIPTS                                     $            3,000.00                                                                            $      3,000.00
     DISBURSEMENTS
     NET PAYROLL                                                                   0                                                                                         0
     PAYROLL TAXES                                                                 0                                                                                         0
     SALES, USE, & OTHER TAXES                                                     0                                                                                         0
     INVENTORY PURCHASES                                                           0                                                                                         0
     SECURED/ RENTAL/ LEASES                                                       0                                                                                         0
     INSURANCE                                                                     0                                                                                         0
     ADMINISTRATIVE                                                                0                                                                                         0
     SELLING                                                                       0                                                                                         0
     OTHER (ATTACH LIST)                                  $                    -                                                                           $             -
     OWNER DRAW *                                                                  0                                                                                         0
     TRANSFERS (TO DIP ACCTS)                                                      0                                                                                         0
     PROFESSIONAL FEES                                                             0                                                                                         0
     U.S. TRUSTEE QUARTERLY FEES                          $                    -
     COURT COSTS                                                                   0                                                                                         0
     TOTAL DISBURSEMENTS                                                           0                                                                                         0

     NET CASH FLOW
     (RECEIPTS LESS DISBURSEMENTS) $                                           -                                                                           $             -

     CASH – END OF MONTH                                  $          15,166.56                                                                             $     15,166.56
     * COMPENSATION TO SOLE PROPRIETORS FOR SERVICES RENDERED TO BANKRUPTCY ESTATE


                                          THE FOLLOWI NG SECTI ON MUST BE COMPLETED
     DISBURSEMENTS FOR CALCULATING U.S. TRUSTEE QUARTERLY FEES: (FROM CURRENT MONTH ACTUAL COLUMN)

     TOTAL DISBURSEMENTS
       LESS: TRANSFERS TO OTHER DEBTOR IN
     POSSESSION ACCOUNTS                                                                $                                       -
       PLUS: ESTATE DISBURSEMENTS MADE BY
     OUTSIDE SOURCES (i.e. from escrow accounts)                                        $                                       -
     TOTAL DISBURSEMENTS FOR CALCULATING U.S.
     TRUSTEE QUARTERLY FEES                                                             $                                       -


                                                                                                                                                                 FORM MOR-1
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In re Fit Taxi Corp                                                          Case No. 17-46620
      Debtor                                                        Reporting Period: 2/1/2018-2/28/2018

                                                      BANK RECONCILIATIONS
     Continuation Sheet for MOR-1
     A bank reconciliation must be included for each bank account. The debtor's bank reconciliation may be substituted for this page.
     (Bank account numbers may be redacted to last four numbers.)


                                              Operating                      Payroll                     Tax                        Other
                                                 #2245              # - NA                    # - NA                     # - NA
     BALANCE PER
     BOOKS

     BANK BALANCE                      $             15,166.56
     (+) DEPOSITS IN                   $                    -
     TRANSIT (ATTACH
     LIST)
     (-) OUTSTANDING                   $                      -
     CHECKS (ATTACH
     LIST) :
     OTHER (ATTACH                     $                      -
     EXPLANATION)

     ADJUSTED BANK
     BALANCE *                           $            15,166.56
     *"Adjusted Bank Balance" must equal "Balance per Books"


     DEPOSITS IN TRANSIT                          Date                       Amount                      Date                      Amount
     None




     CHECKS OUTSTANDING                           Ck. #                      Amount                      Ck. #                     Amount
     None




     OTHER




                                                                                                                                            FORM MOR-1 (CONT.)
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In re Fit Taxi Corp                                                                                Case No. 17-46620
      Debtor                                                                              Reporting Period: 2/1/2018-2/28/2018


                                     STATEMENT OF OPERATIONS (Income Statement)
     The Statement of Operations is to be prepared on an accrual basis. The accrual basis of accounting recognizes revenue
     when it is realized and expenses when they are incurred, regardless of when cash is actually received or paid.

                                         REVENUES                                                 MONTH               CUMULATIVE -FILING
                                                                                                                          TO DATE
     Gross Revenues                                                                       $              3,000.00 $             9,000.00
     Less: Returns and Allowances                                                         $                    - $                    -
     Net Revenue                                                                          $              3,000.00 $             9,000.00
     COST OF GOODS SOLD
     Beginning Inventory                                                                             NA
     Add: Purchases                                                                                  NA
     Add: Cost of Labor                                                                              NA
     Add: Other Costs (attach schedule)                                                              NA
     Less: Ending Inventory                                                                          NA
     Cost of Goods Sold                                                                              NA
     Gross Profit                                                                                    NA
     OPERATING EXPENSES
     Advertising                                                                                     NA
     Auto and Truck Expense                                                                          NA
     Bad Debts                                                                                       NA
     Contributions                                                                                   NA
     Employee Benefits Programs                                                                      NA
     Officer/Insider Compensation*                                                                   NA
     Insurance                                                                                       NA
     Management Fees/Bonuses                                                                         NA
     Office Expense                                                                                  NA
     Pension & Profit-Sharing Plans                                                                  NA
     Repairs and Maintenance                                                                         NA
     Rent and Lease Expense                                                                          NA
     Salaries/Commissions/Fees                                                                       NA
     Supplies                                                                                        NA
     Taxes - Payroll                                                                                 NA
     Taxes - Real Estate                                                                             NA
     Taxes - Other                                                                                   NA
     Travel and Entertainment                                                                        NA
     Utilities                                                                                       NA
     Other (attach schedule)                                                                         NA
     Total Operating Expenses Before Depreciation                                                    NA
     Depreciation/Depletion/Amortization                                                             NA
     Net Profit (Loss) Before Other Income & Expenses                                      $              3,000.00 $            9,000.00
     OTHER INCOME AND EXPENSES
     Other Income (attach schedule)                                                                              0                      0
     Interest Expense                                                                                            0                      0
     Other Expense (attach schedule)                                                                             0                      0
     Net Profit (Loss) Before Reorganization Items                                        $              3,000.00 $             9,000.00




                                                                                                                                       FORM MOR-2
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In re Fit Taxi Corp                                                                     Case No. 17-46620
      Debtor                                                                   Reporting Period: 2/1/2018-2/28/2018

     REORGANIZATION ITEMS
     Professional Fees                                                                                0                    0
     U. S. Trustee Quarterly Fees                                              $                  -       $          325.00
     Interest Earned on Accumulated Cash from Chapter 11 (see continuation
     sheet)                                                                                           0                    0
     Gain (Loss) from Sale of Equipment                                                               0                     0
     Other Reorganization Expenses (attach schedule)                           $                  -       $           208.44
     Total Reorganization Expenses                                             $                  -       $           533.44
     Income Taxes                                                                                  0                        0
     Net Profit (Loss)                                                         $           3,000.00 $               8,466.56
     *"Insider" is defined in 11 U.S.C. Section 101(31).


     BREAKDOWN OF “OTHER” CATEGORY

     OTHER COSTS
     NONE




     OTHER OPERATIONAL EXPENSES
     NONE




     OTHER INCOME
     NONE



     OTHER EXPENSES
     NONE



     OTHER REORGANIZATION EXPENSES
     Checks - New DIP Account                                                  $                  -       $          208.44




     Reorganization Items - Interest Earned on Accumulated Cash from Chapter 11:
     Interest earned on cash accumulated during the chapter 11 case, which would not have been earned but for the
     bankruptcy proceeding, should be reported as a reorganization item.




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In re Fit Taxi Corp                                                                            Case No.                        17-46620
      Debtor                                                                          Reporting Period:               2/1/2018-2/28/2018

                                                                              BALANCE SHEET
     The Balance Sheet is to be completed on an accrual basis only. Pre-petition liabilities must be classified separately from post-petition obligations.

                                      ASSETS                                      BOOK VALUE AT END OF            BOOK VALUE AT END OF           BOOK VALUE ON PETITION
                                                                                   CURRENT REPORTING                PRIOR REPORTING                DATE OR SCHEDULED
                                                                                         MONTH                           MONTH
     CURRENT ASSETS
     Unrestricted Cash and Equivalents                                            $              15,166.56        $               12,166.56       $              6,700.00
     Restricted Cash and Cash Equivalents (see continuation
     sheet)                                                                                              0 $                          -                                  0
     Accounts Receivable (Net)                                                   $                 900.00 $                        600.00        $               3,300.00
     Notes Receivable                                                            $           1,369,013.00 $                  1,369,013.00        $           1,369,013.00
     Inventories                                                                 NA                                                              NA
     Prepaid Expenses                                                            NA                                                              NA
     Professional Retainers                                                                              0                                                               0
     Other Current Assets (attach schedule)                                       $          2,250,000.00 $                  2,250,000.00         $          2,250,000.00
     TOTAL CURRENT ASSETS                                                         $          3,635,079.56 $                  3,631,779.56         $          3,629,013.00
     PROPERTY & EQUIPMENT
     Real Property and Improvements                                                                           0                                                           0
     Machinery and Equipment                                                                                  0                                                           0
     Furniture, Fixtures and Office Equipment                                                                 0                                                           0
     Leasehold Improvements                                                                                   0                                                           0
     Vehicles                                                                                                 0                                                           0
     Less: Accumulated Depreciation                                                                           0                                                           0
     TOTAL PROPERTY & EQUIPMENT                                                                               0                                                           0
     OTHER ASSETS
     Amounts due from Insiders*                                                                               0                                                           0
     Other Assets (attach schedule)                                                                                                               $                   -
     TOTAL OTHER ASSETS                                                                                  0                                                               0
     TOTAL ASSETS                                                                 $          3,635,079.56 $                  3,631,779.56         $          3,629,013.00
                      LIABILITIES AND OWNER EQUITY                                BOOK VALUE AT END OF            BOOK VALUE AT END OF           BOOK VALUE ON PETITION
                                                                                   CURRENT REPORTING                PRIOR REPORTING                      DATE
                                                                                         MONTH                           MONTH
     LIABILITIES NOT SUBJECT TO COMPROMISE (Postpetition)
     Accounts Payable                                                                                         0                                                           0
     Taxes Payable (refer to FORM MOR-4)                                                                      0                                                           0
     Wages Payable                                                                                            0                                                           0
     Notes Payable                                                                                            0                                                           0
     Rent / Leases - Building/Equipment                                                                       0                                                           0
     Secured Debt / Adequate Protection Payments                                                              0                                                           0
     Professional Fees                                                                                        0                                                           0
     Amounts Due to Insiders*                                                                                 0                                                           0
     Other Post-petition Liabilities (attach schedule)                                                        0                                                           0
     TOTAL POST-PETITION LIABILITIES                                                                          0                                                           0
     LIABILITIES SUBJECT TO COMPROMISE (Pre-Petition)
     Secured Debt                                                                 $          1,525,000.00         $          1,525,000.00         $          1,525,000.00
     Priority Debt
     Unsecured Debt
     TOTAL PRE-PETITION LIABILITIES                                               $          1,525,000.00         $          1,525,000.00         $          1,525,000.00
     TOTAL LIABILITIES                                                            $          1,525,000.00         $          1,525,000.00         $          1,525,000.00
     OWNERS' EQUITY
     Capital Stock
     Additional Paid-In Capital
     Partners' Capital Account
     Owner's Equity Account
     Retained Earnings - Pre-Petition
     Retained Earnings - Post-petition
     Adjustments to Owner Equity (attach schedule)
     Post-petition Contributions (attach schedule)
     NET OWNERS’ EQUITY
     TOTAL LIABILITIES AND OWNERS' EQUITY                                        $            3,635,079.56 $                  3,631,779.56 $                 3,629,013.00
     * "Insider" is defined in 11 U.S.C. Section 101(31).


                                                                                                                                                                              FORM MOR-3
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In re Fit Taxi Corp                                                              Case No.                  17-46620
      Debtor                                                            Reporting Period:         2/1/2018-2/28/2018


     BALANCE SHEET - continuation section
                               ASSETS                                 BOOK VALUE AT END       BOOK VALUE AT END              BOOK VALUE ON
                                                                         OF CURRENT           OF PRIOR REPORTING             PETITION DATE
                                                                      REPORTING MONTH               MONTH
     Other Current Assets
     NYC Medallions - 3M78, 3M79 & 3M80                           $            2,250,000.00   $           2,250,000.00   $          2,250,000.00




     Other Assets
     NA




                  LIABILITIES AND OWNER EQUITY                        BOOK VALUE AT END                                      BOOK VALUE ON
                                                                         OF CURRENT                                          PETITION DATE
                                                                      REPORTING MONTH
     Other Post-petition Liabilities
     NA




     Adjustments to Owner’s Equity
     NA



     Post-Petition Contributions
     NA




     Restricted Cash: Cash that is restricted for a specific use and not available to fund operations.
     Typically, restricted cash is segregated into a separate account, such as an escrow account.




                                                                                                                                                   FORM MOR-3
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In re Fit Taxi Corp                                                                        Case No. 17-46620
      Debtor                                                                      Reporting Period: 2/1/2018-2/28/2018

                                             STATUS OF POST-PETITION TAXES

     The beginning tax liability should be the ending liability from the prior month or, if this is the first report, the
     amount should be zero.
     Attach photocopies of IRS Form 6123 or payment receipt to verify payment or deposit of federal payroll taxes.
     Attach photocopies of any tax returns filed during the reporting period.

                                                              Amount
                                                              Withheld
                                            Beginning          and/or          Amount                          Check # or
     Federal                                  Tax             Accrued           Paid           Date Paid         EFT      Ending Tax
     Withholding                           NA
     FICA-Employee                         NA
     FICA-Employer                         NA
     Unemployment                          NA
     Income                                NA
     Other:_____________                   NA
       Total Federal Taxes                 NA
     State and Local
     Withholding                           NA
     Sales                                 NA
     Excise                                NA
     Unemployment                          NA
     Real Property                         NA
     Personal Property                     NA
     Other:_____________                   NA
      Total State and Local                NA


     Total Taxes                           NA


                                    SUMMARY OF UNPAID POST-PETITION DEBTS

     Attach aged listing of accounts payable.
                                                                              Number of Days Past Due
                                                Current          0-30            31-60            61-90           Over 91    Total
     Accounts Payable                                     0
     Wages Payable                                        0
     Taxes Payable                                        0
     Rent/Leases-Building                                 0
     Rent/Leases-Equipment                                0
     Secured Debt/Adequate
     Protection Payments                                  0
     Professional Fees                                    0
     Amounts Due to Insiders                              0
     Other:______________                                 0
     Other:______________                                 0
     Total Post-petition Debts                            0

     Explain how and when the Debtor intends to pay any past due post-petition debts.



                                                                                                                                       FORM MOR-4
                                                                                                                                             2/2008
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In re Fit Taxi Corp                                                                         Case No. 17-46620
      Debtor                                                                       Reporting Period: 2/1/2018-2/28/2018


                                            ACCOUNTS RECEIVABLE RECONCILIATION AND AGING

                        Accounts Receivable Reconciliation                              Amount
     Total Accounts Receivable at the beginning of the reporting period            $         600.00
     Plus: Amounts billed during the period                                        $       3,300.00
     Less: Amounts collected during the period                                     $       3,000.00
     Total Accounts Receivable at the end of the reporting period                  $         900.00


     Accounts Receivable Aging                                    0-30 Days            31-60 Days        61-90 Days       91+ Days           Total
     0 - 30 days old                                          $         300.00                                                           $       300.00
     31 - 60 days old                                         $         600.00                                                           $       600.00
     61 - 90 days old                                                         0                                                          $          -
     91+ days old                                                             0                                                          $          -
     Total Accounts Receivable                                $         900.00                                                           $       900.00

     Less: Bad Debts (Amount considered uncollectible)                         0                                                                         0

     Net Accounts Receivable                                  $           900.00                                                         $      900.00


                                                          TAXES RECONCILIATION AND AGING

     Taxes Payable                                                0-30 Days            31-60 Days        61-90 Days       91+ Days           Total
     0 - 30 days old                                                           0                    0                 0
     31 - 60 days old                                                          0                    0                 0              0                   0
     61 - 90 days old                                                          0                    0                 0              0                   0
     91+ days old                                                              0                    0                 0              0                   0
     Total Taxes Payable                                                       0                    0                 0              0                   0
     Total Accounts Payable                                                    0                    0                 0              0                   0



                                                                                                                                                FORM MOR-5
                                                                                                                                                      2/2008
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In re Fit Taxi Corp                                                        Case No. 17-46620
      Debtor                                                      Reporting Period: 2/1/2018-2/28/2018


                                            PAYMENTS TO INSIDERS AND PROFESSIONALS

     Of the total disbursements shown on the Cash Receipts and Disbursements Report (MOR-1) list the amount paid to insiders (as defined in
     Section 101(31) (A)-(F) of the U.S. Bankruptcy Code) and to professionals. For payments to insiders, identify the type of compensation paid
     (e.g. Salary, Bonus, Commissions, Insurance, Housing Allowance, Travel, Car Allowance, Etc.). Attach additional sheets if necessary.


                                                     INSIDERS

                  NAME                  TYPE OF PAYMENT              AMOUNT PAID            TOTAL PAID TO DATE
     NONE                                                     0                         0                          0




                           TOTAL PAYMENTS TO INSIDERS




                                                                          PROFESSIONALS
                                          DATE OF COURT
                                             ORDER
                                           AUTHORIZING                                                                                             TOTAL INCURRED &
                  NAME                      PAYMENT               AMOUNT APPROVED              AMOUNT PAID             TOTAL PAID TO DATE              UNPAID*
     NONE                              NA




                   TOTAL PAYMENTS TO PROFESSIONALS
     * INCLUDE ALL FEES INCURRED, BOTH APPROVED AND UNAPPROVED



          POST-PETITION STATUS OF SECURED NOTES, LEASES PAYABLE
                   AND ADEQUATE PROTECTION PAYMENTS

                                          SCHEDULED
                                       MONTHLY PAYMENT               AMOUNT PAID            TOTAL UNPAID POST-
         NAME OF CREDITOR                    DUE                    DURING MONTH                PETITION
     None




                                          TOTAL PAYMENTS




                                                                                                                                                            FORM MOR-6
                                                                                                                                                                  2/2008
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In re Fit Taxi Corp                                                                      Case No. 17-46620
      Debtor                                                                    Reporting Period: 2/1/2018-2/28/2018



                                          DEBTOR QUESTIONNAIRE
       Must be completed each month. If the answer to any of the                      Yes                No
       questions is “Yes”, provide a detailed explanation of each item.
       Attach additional sheets if necessary.
       Have any assets been sold or transferred outside the normal course of
   1   business this reporting period?                                                                    X
       Have any funds been disbursed from any account other than a debtor in
   2   possession account this reporting period?                                                          X
       Is the Debtor delinquent in the timely filing of any post-petition tax
   3   returns?                                                                                           X
       Are workers compensation, general liability or other necessary
   4   insurance coverages expired or cancelled, or has the debtor received
       notice of expiration or cancellation of such policies?                                             X

   5 Is the Debtor delinquent in paying any insurance premium payment?                                    X
     Have any payments been made on pre-petition liabilities this reporting
   6 period?                                                                                              X
     Are any post petition receivables (accounts, notes or loans) due from
   7 related parties?                                                                                    X
   8 Are any post petition payroll taxes past due?                                                       X
   9 Are any post petition State or Federal income taxes past due?                                       X
  10 Are any post petition real estate taxes past due?                                                   X
  11 Are any other post petition taxes past due?                                                         X
  12 Have any pre-petition taxes been paid during this reporting period?                                 X
  13 Are any amounts owed to post petition creditors delinquent?                                         X
  14 Are any wage payments past due?                                                                     X
     Have any post petition loans been been received by the Debtor from any
  15 party?                                                                                              X
  16 Is the Debtor delinquent in paying any U.S. Trustee fees?                                           X
     Is the Debtor delinquent with any court ordered payments to attorneys or
  17 other professionals?                                                                                X
     Have the owners or shareholders received any compensation outside of
  18 the normal course of business?                                                                      X




                                                                                                               FORM MOR-7
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In re Jackhel Cab Corp                                                                          Case No. 17-46646
      Debtor                                                                           Reporting Period: 2/1/2018-2/28/2018

                                  SCHEDULE OF CASH RECEIPTS AND DISBURSEMENTS

     Amounts reported should be from the debtor’s books and not the bank statement. The beginning cash should be the ending cash from the prior month
     or, if this is the first report, the amount should be the balance on the date the petition was filed. The amounts reported in the "CURRENT MONTH -
     ACTUAL” column must equal the sum of the four bank account columns. Attach copies of the bank statements and the cash disbursements journal.
     The total disbursements listed in the disbursements journal must equal the total disbursements reported on this page. A bank reconciliation must be
     attached for each account. [See MOR-1 (CON’T)]

                                                                                                             BANK ACCOUNTS
                                                                                            PAYROLL                    TAX                  OTHER           CURRENT MONTH
                                                                                                                                                           ACTUAL (TOTAL OF
                                                                  OPERATING
                                                                                                                                                             ALL ACCOUNTS)
     ACCOUNT NUMBER (LAST 4)                                         2211

     CASH BEGINNING OF MONTH                              $            9,566.57                                                                            $      9,566.57
     RECEIPTS
     CASH SALES                                           $            2,500.00                                                                            $      2,500.00
     ACCOUNTS RECEIVABLE -
     PREPETITION                                          $                    -                                                                           $             -
     ACCOUNTS RECEIVABLE -
     POSTPETITION                                             $                 -                                                                          $             -
     LOANS AND ADVANCES                                                        0                                                                                             0
     SALE OF ASSETS                                                            0                                                                                             0
     OTHER (ATTACH LIST)                                                       0                                                                                             0
     TRANSFERS (FROM DIP ACCTS)                                                0
       TOTAL RECEIPTS                                     $            2,500.00                                                                            $      2,500.00
     DISBURSEMENTS
     NET PAYROLL                                                                   0                                                                                         0
     PAYROLL TAXES                                                                 0                                                                                         0
     SALES, USE, & OTHER TAXES                                                     0                                                                                         0
     INVENTORY PURCHASES                                                           0                                                                                         0
     SECURED/ RENTAL/ LEASES                                                       0                                                                                         0
     INSURANCE                                                                     0                                                                                         0
     ADMINISTRATIVE                                                                0                                                                                         0
     SELLING                                                                       0                                                                                         0
     OTHER (ATTACH LIST)                                  $                    -                                                                           $             -
     OWNER DRAW *                                                                  0                                                                                         0
     TRANSFERS (TO DIP ACCTS)                                                      0                                                                                         0
     PROFESSIONAL FEES                                                             0                                                                                         0
     U.S. TRUSTEE QUARTERLY FEES                          $                    -                                                                           $             -
     COURT COSTS                                                                   0                                                                                         0
     TOTAL DISBURSEMENTS                                  $                    -                                                                           $             -

     NET CASH FLOW
     (RECEIPTS LESS DISBURSEMENTS) $                                   2,500.00                                                                            $      2,500.00

     CASH – END OF MONTH                                  $          12,066.57                                                                             $     12,066.57
     * COMPENSATION TO SOLE PROPRIETORS FOR SERVICES RENDERED TO BANKRUPTCY ESTATE


                                          THE FOLLOWI NG SECTI ON MUST BE COMPLETED
     DISBURSEMENTS FOR CALCULATING U.S. TRUSTEE QUARTERLY FEES: (FROM CURRENT MONTH ACTUAL COLUMN)

     TOTAL DISBURSEMENTS
       LESS: TRANSFERS TO OTHER DEBTOR IN
     POSSESSION ACCOUNTS
       PLUS: ESTATE DISBURSEMENTS MADE BY
     OUTSIDE SOURCES (i.e. from escrow accounts)
     TOTAL DISBURSEMENTS FOR CALCULATING U.S.
     TRUSTEE QUARTERLY FEES                                                             $                                       -


                                                                                                                                                                 FORM MOR-1
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In re Jackhel Cab Corp                                                       Case No. 17-46646
      Debtor                                                        Reporting Period: 2/1/2018-2/28/2018

                                                      BANK RECONCILIATIONS
     Continuation Sheet for MOR-1
     A bank reconciliation must be included for each bank account. The debtor's bank reconciliation may be substituted for this page.
     (Bank account numbers may be redacted to last four numbers.)


                                              Operating                      Payroll                     Tax                        Other
                                                 #2211              # - NA                    # - NA                     # - NA
     BALANCE PER
     BOOKS

     BANK BALANCE                      $             12,066.57
     (+) DEPOSITS IN                   $                    -
     TRANSIT (ATTACH
     LIST)
     (-) OUTSTANDING                   $                      -
     CHECKS (ATTACH
     LIST) :
     OTHER (ATTACH                     $                      -
     EXPLANATION)

     ADJUSTED BANK
     BALANCE *                           $            12,066.57
     *"Adjusted Bank Balance" must equal "Balance per Books"


     DEPOSITS IN TRANSIT                          Date                       Amount                      Date                      Amount
     None




     CHECKS OUTSTANDING                           Ck. #                      Amount                      Ck. #                     Amount
     None




     OTHER




                                                                                                                                            FORM MOR-1 (CONT.)
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In re Jackhel Cab Corp                                                                             Case No. 17-46646
      Debtor                                                                              Reporting Period: 2/1/2018-2/28/2018


                                     STATEMENT OF OPERATIONS (Income Statement)
     The Statement of Operations is to be prepared on an accrual basis. The accrual basis of accounting recognizes revenue
     when it is realized and expenses when they are incurred, regardless of when cash is actually received or paid.

                                         REVENUES                                                 MONTH               CUMULATIVE -FILING
                                                                                                                          TO DATE
     Gross Revenues                                                                       $              2,500.00 $             7,500.00
     Less: Returns and Allowances                                                                                0                      0
     Net Revenue                                                                          $              2,500.00 $             7,500.00
     COST OF GOODS SOLD
     Beginning Inventory                                                                             NA
     Add: Purchases                                                                                  NA
     Add: Cost of Labor                                                                              NA
     Add: Other Costs (attach schedule)                                                              NA
     Less: Ending Inventory                                                                          NA
     Cost of Goods Sold                                                                              NA
     Gross Profit                                                                                    NA
     OPERATING EXPENSES
     Advertising                                                                                     NA
     Auto and Truck Expense                                                                          NA
     Bad Debts                                                                                       NA
     Contributions                                                                                   NA
     Employee Benefits Programs                                                                      NA
     Officer/Insider Compensation*                                                                   NA
     Insurance                                                                                       NA
     Management Fees/Bonuses                                                                         NA
     Office Expense                                                                                  NA
     Pension & Profit-Sharing Plans                                                                  NA
     Repairs and Maintenance                                                                         NA
     Rent and Lease Expense                                                                          NA
     Salaries/Commissions/Fees                                                                       NA
     Supplies                                                                                        NA
     Taxes - Payroll                                                                                 NA
     Taxes - Real Estate                                                                             NA
     Taxes - Other                                                                                   NA
     Travel and Entertainment                                                                        NA
     Utilities                                                                                       NA
     Other (attach schedule)                                                                         NA
     Total Operating Expenses Before Depreciation                                                    NA
     Depreciation/Depletion/Amortization                                                             NA
     Net Profit (Loss) Before Other Income & Expenses                                                NA
     OTHER INCOME AND EXPENSES
     Other Income (attach schedule)                                                                               0                    0
     Interest Expense                                                                                             0                    0
     Other Expense (attach schedule)                                                                              0                    0
     Net Profit (Loss) Before Reorganization Items                                                                0                    0




                                                                                                                                       FORM MOR-2
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In re Jackhel Cab Corp                                                                  Case No. 17-46646
      Debtor                                                                   Reporting Period: 2/1/2018-2/28/2018

     REORGANIZATION ITEMS
     Professional Fees                                                                                0                    0
     U. S. Trustee Quarterly Fees                                              $                  -       $          325.00
     Interest Earned on Accumulated Cash from Chapter 11 (see continuation
     sheet)                                                                                           0                    0
     Gain (Loss) from Sale of Equipment                                                               0                     0
     Other Reorganization Expenses (attach schedule)                                                  0                     0
     Total Reorganization Expenses                                             $                  -                    533.44
     Income Taxes                                                                                  0                        0
     Net Profit (Loss)                                                         $           2,500.00 $               6,966.56
     *"Insider" is defined in 11 U.S.C. Section 101(31).


     BREAKDOWN OF “OTHER” CATEGORY

     OTHER COSTS
     NONE




     OTHER OPERATIONAL EXPENSES
     NONE




     OTHER INCOME
     NONE



     OTHER EXPENSES
     NONE



     OTHER REORGANIZATION EXPENSES
     Checks - New DIP Accounts                                                 $                  -       $          208.44




     Reorganization Items - Interest Earned on Accumulated Cash from Chapter 11:
     Interest earned on cash accumulated during the chapter 11 case, which would not have been earned but for the
     bankruptcy proceeding, should be reported as a reorganization item.




                                                                                                                           FORM MOR-2
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In re Jackhel Cab Corp                                                                         Case No.                        17-46646
      Debtor                                                                          Reporting Period:               2/1/2018-2/28/2018

                                                                              BALANCE SHEET
     The Balance Sheet is to be completed on an accrual basis only. Pre-petition liabilities must be classified separately from post-petition obligations.

                                      ASSETS                                      BOOK VALUE AT END OF            BOOK VALUE AT END OF           BOOK VALUE ON PETITION
                                                                                   CURRENT REPORTING                PRIOR REPORTING                DATE OR SCHEDULED
                                                                                         MONTH                           MONTH
     CURRENT ASSETS
     Unrestricted Cash and Equivalents                                            $              12,066.57                           9566.57 $                   5,100.01
     Restricted Cash and Cash Equivalents (see continuation
     sheet)                                                                       $                   -           $                   -          $                    -
     Accounts Receivable (Net)                                                   $                    -           $                   -          $               2,500.00
     Notes Receivable                                                            $           1,209,068.00         $          1,209,068.00        $           1,209,068.00
     Inventories                                                                 NA                                                              NA
     Prepaid Expenses                                                            NA                                                              NA
     Professional Retainers                                                                              0                               0                               0
     Other Current Assets (attach schedule)                                       $            750,000.00 $                    750,000.00 $                    750,000.00
     TOTAL CURRENT ASSETS                                                         $          1,971,134.57 $                  1,968,634.57 $                  1,966,668.01
     PROPERTY & EQUIPMENT
     Real Property and Improvements                                               $                       -       $                       -       $                   -
     Machinery and Equipment                                                      $                       -       $                       -       $                   -
     Furniture, Fixtures and Office Equipment                                     $                       -       $                       -       $                   -
     Leasehold Improvements                                                       $                       -       $                       -       $                   -
     Vehicles                                                                     $                       -       $                       -       $                   -
     Less: Accumulated Depreciation                                               $                       -       $                       -       $                   -
     TOTAL PROPERTY & EQUIPMENT                                                   $                       -       $                       -       $                   -
     OTHER ASSETS
     Amounts due from Insiders*                                                   $                       -       $                   -           $                   -
     Other Assets (attach schedule)                                                                               $                   -           $                   -
     TOTAL OTHER ASSETS                                                           $                   -           $                   -           $                   -
     TOTAL ASSETS                                                                 $          1,971,134.57         $          1,968,634.57         $          1,966,668.01
                      LIABILITIES AND OWNER EQUITY                                BOOK VALUE AT END OF            BOOK VALUE AT END OF           BOOK VALUE ON PETITION
                                                                                   CURRENT REPORTING                PRIOR REPORTING                      DATE
                                                                                         MONTH                           MONTH
     LIABILITIES NOT SUBJECT TO COMPROMISE (Postpetition)
     Accounts Payable                                                             $                       -       $                       -       $                   -
     Taxes Payable (refer to FORM MOR-4)                                          $                       -       $                       -       $                   -
     Wages Payable                                                                $                       -       $                       -       $                   -
     Notes Payable                                                                $                       -       $                       -       $                   -
     Rent / Leases - Building/Equipment                                           $                       -       $                       -       $                   -
     Secured Debt / Adequate Protection Payments                                  $                       -       $                       -       $                   -
     Professional Fees                                                            $                       -       $                       -       $                   -
     Amounts Due to Insiders*                                                     $                       -       $                       -       $                   -
     Other Post-petition Liabilities (attach schedule)                            $                       -       $                       -       $                   -
     TOTAL POST-PETITION LIABILITIES                                              $                       -       $                       -       $                   -
     LIABILITIES SUBJECT TO COMPROMISE (Pre-Petition)
     Secured Debt                                                                 $          1,460,000.00         $          1,460,000.00         $          1,460,000.00
     Priority Debt
     Unsecured Debt
     TOTAL PRE-PETITION LIABILITIES                                               $          1,460,000.00         $          1,460,000.00         $          1,460,000.00
     TOTAL LIABILITIES                                                            $          1,460,000.00         $          1,460,000.00         $          1,460,000.00
     OWNERS' EQUITY
     Capital Stock
     Additional Paid-In Capital
     Partners' Capital Account
     Owner's Equity Account
     Retained Earnings - Pre-Petition
     Retained Earnings - Post-petition
     Adjustments to Owner Equity (attach schedule)
     Post-petition Contributions (attach schedule)
     NET OWNERS’ EQUITY
     TOTAL LIABILITIES AND OWNERS' EQUITY                                        $            1,971,134.57 $                  1,968,634.57 $                 1,966,668.01
     * "Insider" is defined in 11 U.S.C. Section 101(31).


                                                                                                                                                                             FORM MOR-3
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In re Jackhel Cab Corp                                                           Case No.                 17-46646
      Debtor                                                            Reporting Period:        2/1/2018-2/28/2018


     BALANCE SHEET - continuation section
                               ASSETS                                 BOOK VALUE AT END      BOOK VALUE AT END             BOOK VALUE ON
                                                                         OF CURRENT          OF PRIOR REPORTING            PETITION DATE
                                                                      REPORTING MONTH              MONTH
     Other Current Assets
     NYC Medallions -8M42 & 8M43                                  $             750,000.00   $            750,000.00   $           750,000.00




     Other Assets
     NA




                  LIABILITIES AND OWNER EQUITY                        BOOK VALUE AT END                                    BOOK VALUE ON
                                                                         OF CURRENT                                        PETITION DATE
                                                                      REPORTING MONTH
     Other Post-petition Liabilities
     NA




     Adjustments to Owner’s Equity
     NA



     Post-Petition Contributions
     NA




     Restricted Cash: Cash that is restricted for a specific use and not available to fund operations.
     Typically, restricted cash is segregated into a separate account, such as an escrow account.




                                                                                                                                                FORM MOR-3
                                                                                                                                                      2/2008
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In re Jackhel Cab Corp                                                                     Case No. 17-46646
      Debtor                                                                      Reporting Period: 2/1/2018-2/28/2018

                                             STATUS OF POST-PETITION TAXES

     The beginning tax liability should be the ending liability from the prior month or, if this is the first report, the
     amount should be zero.
     Attach photocopies of IRS Form 6123 or payment receipt to verify payment or deposit of federal payroll taxes.
     Attach photocopies of any tax returns filed during the reporting period.

                                                              Amount
                                                              Withheld
                                            Beginning          and/or          Amount                          Check # or
     Federal                                  Tax             Accrued           Paid           Date Paid         EFT      Ending Tax
     Withholding                           NA
     FICA-Employee                         NA
     FICA-Employer                         NA
     Unemployment                          NA
     Income                                NA
     Other:_____________                   NA
       Total Federal Taxes                 NA
     State and Local
     Withholding                           NA
     Sales                                 NA
     Excise                                NA
     Unemployment                          NA
     Real Property                         NA
     Personal Property                     NA
     Other:_____________                   NA
      Total State and Local                NA


     Total Taxes                           NA


                                    SUMMARY OF UNPAID POST-PETITION DEBTS

     Attach aged listing of accounts payable.
                                                                              Number of Days Past Due
                                                Current          0-30            31-60            61-90           Over 91    Total
     Accounts Payable                                     0
     Wages Payable                                        0
     Taxes Payable                                        0
     Rent/Leases-Building                                 0
     Rent/Leases-Equipment                                0
     Secured Debt/Adequate
     Protection Payments                                  0
     Professional Fees                                    0
     Amounts Due to Insiders                              0
     Other:______________                                 0
     Other:______________                                 0
     Total Post-petition Debts                            0

     Explain how and when the Debtor intends to pay any past due post-petition debts.



                                                                                                                                       FORM MOR-4
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In re Jackhel Cab Corp                                                                         Case No. 17-46646
      Debtor                                                                          Reporting Period: 2/1/2018-2/28/2018


                                            ACCOUNTS RECEIVABLE RECONCILIATION AND AGING

                        Accounts Receivable Reconciliation                                 Amount
     Total Accounts Receivable at the beginning of the reporting period               $             -
     Plus: Amounts billed during the period                                           $        2,500.00
     Less: Amounts collected during the period                                        $        2,500.00
     Total Accounts Receivable at the end of the reporting period                     $             -


     Accounts Receivable Aging                                    0-30 Days               31-60 Days        61-90 Days       91+ Days           Total
     0 - 30 days old                                          $               -                                                             $           -
     31 - 60 days old                                                             0                                                         $           -
     61 - 90 days old                                                             0                                                         $           -
     91+ days old                                                                 0                                                         $           -
     Total Accounts Receivable                                $               -                                                             $           -

     Less: Bad Debts (Amount considered uncollectible)                            0                                                                         0

     Net Accounts Receivable                                  $               -                                                             $           -


                                                          TAXES RECONCILIATION AND AGING

     Taxes Payable                                                0-30 Days               31-60 Days        61-90 Days       91+ Days           Total
     0 - 30 days old                                                              0                    0                 0
     31 - 60 days old                                                             0                    0                 0              0                   0
     61 - 90 days old                                                             0                    0                 0              0                   0
     91+ days old                                                                 0                    0                 0              0                   0
     Total Taxes Payable                                                          0                    0                 0              0                   0
     Total Accounts Payable                                                       0                    0                 0              0                   0



                                                                                                                                                   FORM MOR-5
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In re Jackhel Cab Corp                                                     Case No. 17-46646
      Debtor                                                      Reporting Period: 2/1/2018-2/28/2018


                                            PAYMENTS TO INSIDERS AND PROFESSIONALS

     Of the total disbursements shown on the Cash Receipts and Disbursements Report (MOR-1) list the amount paid to insiders (as defined in
     Section 101(31) (A)-(F) of the U.S. Bankruptcy Code) and to professionals. For payments to insiders, identify the type of compensation paid
     (e.g. Salary, Bonus, Commissions, Insurance, Housing Allowance, Travel, Car Allowance, Etc.). Attach additional sheets if necessary.


                                                     INSIDERS

                  NAME                  TYPE OF PAYMENT              AMOUNT PAID            TOTAL PAID TO DATE
     NONE                                                     0                         0                          0




                           TOTAL PAYMENTS TO INSIDERS




                                                                          PROFESSIONALS
                                          DATE OF COURT
                                             ORDER
                                           AUTHORIZING                                                                                             TOTAL INCURRED &
                  NAME                      PAYMENT               AMOUNT APPROVED              AMOUNT PAID             TOTAL PAID TO DATE              UNPAID*
     NONE                              NA




                   TOTAL PAYMENTS TO PROFESSIONALS
     * INCLUDE ALL FEES INCURRED, BOTH APPROVED AND UNAPPROVED



          POST-PETITION STATUS OF SECURED NOTES, LEASES PAYABLE
                   AND ADEQUATE PROTECTION PAYMENTS

                                          SCHEDULED
                                       MONTHLY PAYMENT               AMOUNT PAID            TOTAL UNPAID POST-
         NAME OF CREDITOR                    DUE                    DURING MONTH                PETITION
     None




                                          TOTAL PAYMENTS




                                                                                                                                                            FORM MOR-6
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In re Jackhel Cab Corp                                                                   Case No. 17-46646
       Debtor                                                                   Reporting Period: 2/1/2018-2/28/2018



                                          DEBTOR QUESTIONNAIRE
       Must be completed each month. If the answer to any of the                      Yes                No
       questions is “Yes”, provide a detailed explanation of each item.
       Attach additional sheets if necessary.
       Have any assets been sold or transferred outside the normal course of
   1   business this reporting period?                                                                    X
       Have any funds been disbursed from any account other than a debtor in
   2   possession account this reporting period?                                                          X
       Is the Debtor delinquent in the timely filing of any post-petition tax
   3   returns?                                                                                           X
       Are workers compensation, general liability or other necessary
   4   insurance coverages expired or cancelled, or has the debtor received
       notice of expiration or cancellation of such policies?                                             X

   5 Is the Debtor delinquent in paying any insurance premium payment?                                    X
     Have any payments been made on pre-petition liabilities this reporting
   6 period?                                                                                              X
     Are any post petition receivables (accounts, notes or loans) due from
   7 related parties?                                                                                    X
   8 Are any post petition payroll taxes past due?                                                       X
   9 Are any post petition State or Federal income taxes past due?                                       X
  10 Are any post petition real estate taxes past due?                                                   X
  11 Are any other post petition taxes past due?                                                         X
  12 Have any pre-petition taxes been paid during this reporting period?                                 X
  13 Are any amounts owed to post petition creditors delinquent?                                         X
  14 Are any wage payments past due?                                                                     X
     Have any post petition loans been been received by the Debtor from any
  15 party?                                                                                              X
  16 Is the Debtor delinquent in paying any U.S. Trustee fees?                                           X
     Is the Debtor delinquent with any court ordered payments to attorneys or
  17 other professionals?                                                                                X
     Have the owners or shareholders received any compensation outside of
  18 the normal course of business?                                                                      X




                                                                                                               FORM MOR-7
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In re Jarub Trans Corp                                                                          Case No. 17-46639
      Debtor                                                                           Reporting Period: 2/1/2018 - 2/28/2018

                                  SCHEDULE OF CASH RECEIPTS AND DISBURSEMENTS

     Amounts reported should be from the debtor’s books and not the bank statement. The beginning cash should be the ending cash from the prior month
     or, if this is the first report, the amount should be the balance on the date the petition was filed. The amounts reported in the "CURRENT MONTH -
     ACTUAL” column must equal the sum of the four bank account columns. Attach copies of the bank statements and the cash disbursements journal.
     The total disbursements listed in the disbursements journal must equal the total disbursements reported on this page. A bank reconciliation must be
     attached for each account. [See MOR-1 (CON’T)]

                                                                                                             BANK ACCOUNTS
                                                                                            PAYROLL                    TAX                  OTHER               CURRENT MONTH
                                                                                                                                             Cap 1             ACTUAL (TOTAL OF
                                                                  OPERATING
                                                                                                                                             4291                ALL ACCOUNTS)
     ACCOUNT NUMBER (LAST 4)                                         2203

     CASH BEGINNING OF MONTH                              $            2,716.56                                                      $          1,226.00 $            3,942.56
     RECEIPTS
     CASH SALES                                           $            3,000.00                                                                                $      3,000.00
     ACCOUNTS RECEIVABLE -
     PREPETITION                                          $                    -                                                                               $             -
     ACCOUNTS RECEIVABLE -
     POSTPETITION                                             $                 -                                                                              $             -
     LOANS AND ADVANCES                                                        0                                                                                                 0
     SALE OF ASSETS                                                            0                                                                                                 0
     OTHER (ATTACH LIST)                                                       0                                                                                                 0
     TRANSFERS (FROM DIP ACCTS)                                                0
       TOTAL RECEIPTS                                     $            3,000.00                                                      $                     -   $      3,000.00
     DISBURSEMENTS
     NET PAYROLL                                                                   0                                                                                           0
     PAYROLL TAXES                                                                 0                                                                                           0
     SALES, USE, & OTHER TAXES                                                     0                                                                                           0
     INVENTORY PURCHASES                                                           0                                                                                           0
     SECURED/ RENTAL/ LEASES                                                       0                                                                                           0
     INSURANCE                                                                     0                                                                                           0
     ADMINISTRATIVE                                                                0                                                                                           0
     SELLING                                                                       0                                                                                           0
     OTHER (ATTACH LIST)                                  $                    -                                                     $               12.00     $          12.00
     OWNER DRAW *                                                                  0                                                                                           0
     TRANSFERS (TO DIP ACCTS)                                                      0                                                                                           0
     PROFESSIONAL FEES                                                             0                                                                                           0
     U.S. TRUSTEE QUARTERLY FEES                          $                    -                                                                               $             -
     COURT COSTS                                                                   0                                                                                           0
     TOTAL DISBURSEMENTS                                                           0                                                 $               12.00     $          12.00

     NET CASH FLOW
     (RECEIPTS LESS DISBURSEMENTS) $                                   3,000.00                                                                                                  0

     CASH – END OF MONTH                                  $            5,716.56                                                       $         1,214.00 $            6,930.56
     * COMPENSATION TO SOLE PROPRIETORS FOR SERVICES RENDERED TO BANKRUPTCY ESTATE                                                   `

                                          THE FOLLOWI NG SECTI ON MUST BE COMPLETED
     DISBURSEMENTS FOR CALCULATING U.S. TRUSTEE QUARTERLY FEES: (FROM CURRENT MONTH ACTUAL COLUMN)

     TOTAL DISBURSEMENTS
       LESS: TRANSFERS TO OTHER DEBTOR IN
     POSSESSION ACCOUNTS                                                                $                                       -
       PLUS: ESTATE DISBURSEMENTS MADE BY
     OUTSIDE SOURCES (i.e. from escrow accounts)                                        $                                       -
     TOTAL DISBURSEMENTS FOR CALCULATING U.S.
     TRUSTEE QUARTERLY FEES                                                            $                                     12.00


                                                                                                                                                                     FORM MOR-1
                                                                                                                                                                           2/2008
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In re Jarub Trans Corp                                                        Case No. 17-46639
      Debtor                                                         Reporting Period: 2/1/2018 - 2/28/2018

                                                      BANK RECONCILIATIONS
     Continuation Sheet for MOR-1
     A bank reconciliation must be included for each bank account. The debtor's bank reconciliation may be substituted for this page.
     (Bank account numbers may be redacted to last four numbers.)


                                              Operating                       Payroll                    Tax                        Other
                                                 #2203               # - NA                   # - NA                     # 4291
     BALANCE PER
     BOOKS

     BANK BALANCE                      $               5,716.56                                                           $             1,214.00
     (+) DEPOSITS IN                   $                     -
     TRANSIT (ATTACH
     LIST)
     (-) OUTSTANDING                   $                       -
     CHECKS (ATTACH
     LIST) :
     OTHER (ATTACH                     $                       -
     EXPLANATION)

     ADJUSTED BANK
     BALANCE *                          $                 5,716.56                                                        $             1,214.00
     *"Adjusted Bank Balance" must equal "Balance per Books"


     DEPOSITS IN TRANSIT                          Date                        Amount                     Date                      Amount
     None




     CHECKS OUTSTANDING                           Ck. #                       Amount                     Ck. #                     Amount
     None




     OTHER
     * Bank Service charge on account that cannot be closed




                                                                                                                                                   FORM MOR-1 (CONT.)
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In re Jarub Trans Corp                                                                             Case No. 17-46639
      Debtor                                                                              Reporting Period: 2/1/2018 - 2/28/201


                                     STATEMENT OF OPERATIONS (Income Statement)
     The Statement of Operations is to be prepared on an accrual basis. The accrual basis of accounting recognizes revenue
     when it is realized and expenses when they are incurred, regardless of when cash is actually received or paid.

                                         REVENUES                                                 MONTH               CUMULATIVE -FILING
                                                                                                                          TO DATE
     Gross Revenues                                                                       $              3,000.00 $             6,000.00
     Less: Returns and Allowances                                                                                0                      0
     Net Revenue                                                                          $              3,000.00 $             6,000.00
     COST OF GOODS SOLD
     Beginning Inventory                                                                             NA
     Add: Purchases                                                                                  NA
     Add: Cost of Labor                                                                              NA
     Add: Other Costs (attach schedule)                                                              NA
     Less: Ending Inventory                                                                          NA
     Cost of Goods Sold                                                                              NA
     Gross Profit                                                                                    NA
     OPERATING EXPENSES
     Advertising                                                                                     NA
     Auto and Truck Expense                                                                          NA
     Bad Debts                                                                                       NA
     Contributions                                                                                   NA
     Employee Benefits Programs                                                                      NA
     Officer/Insider Compensation*                                                                   NA
     Insurance                                                                                       NA
     Management Fees/Bonuses                                                                         NA
     Office Expense                                                                                  NA
     Pension & Profit-Sharing Plans                                                                  NA
     Repairs and Maintenance                                                                         NA
     Rent and Lease Expense                                                                          NA
     Salaries/Commissions/Fees                                                                       NA
     Supplies                                                                                        NA
     Taxes - Payroll                                                                                 NA
     Taxes - Real Estate                                                                             NA
     Taxes - Other                                                                                   NA
     Travel and Entertainment                                                                        NA
     Utilities                                                                                       NA
     Other (attach schedule)                                                                $                     - $                 -
     Total Operating Expenses Before Depreciation                                           $                     - $                 -
     Depreciation/Depletion/Amortization
     Net Profit (Loss) Before Other Income & Expenses                                      $              3,000.00 $            6,000.00
     OTHER INCOME AND EXPENSES
     Other Income (attach schedule)                                                                              0                      0
     Interest Expense                                                                                            0                      0
     Other Expense (attach schedule)                                                      $                 12.00 $                36.00
     Net Profit (Loss) Before Reorganization Items                                        $              2,988.00 $             5,964.00




                                                                                                                                          FORM MOR-2
                                                                                                                                                2/2008
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In re Jarub Trans Corp                                                                  Case No. 17-46639
      Debtor                                                                   Reporting Period: 2/1/2018 - 2/28/201

     REORGANIZATION ITEMS
     Professional Fees                                                                                0                    0
     U. S. Trustee Quarterly Fees                                              $                  -       $          325.00
     Interest Earned on Accumulated Cash from Chapter 11 (see continuation
     sheet)                                                                                           0                    0
     Gain (Loss) from Sale of Equipment                                                               0                     0
     Other Reorganization Expenses (attach schedule)                                                  0                208.44
     Total Reorganization Expenses                                             $                  -                    533.44
     Income Taxes                                                                                  0                        0
     Net Profit (Loss)                                                         $           3,000.00 $               5,430.56
     *"Insider" is defined in 11 U.S.C. Section 101(31).


     BREAKDOWN OF “OTHER” CATEGORY

     OTHER COSTS
     NONE




     OTHER OPERATIONAL EXPENSES




     OTHER INCOME
     NONE



     OTHER EXPENSES
     Bank Maintenance Fee - Cap One Account                                    $              12.00 $                 36.00



     OTHER REORGANIZATION EXPENSES
     Checks - New DIP Account                                                  $                  -       $          208.44




     Reorganization Items - Interest Earned on Accumulated Cash from Chapter 11:
     Interest earned on cash accumulated during the chapter 11 case, which would not have been earned but for the
     bankruptcy proceeding, should be reported as a reorganization item.




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In re Jarub Trans Corp                                                                         Case No.                          17-46639
      Debtor                                                                          Reporting Period:               2/1/2018 - 2/28/2018

                                                                              BALANCE SHEET
     The Balance Sheet is to be completed on an accrual basis only. Pre-petition liabilities must be classified separately from post-petition obligations.

                                      ASSETS                                      BOOK VALUE AT END OF            BOOK VALUE AT END OF           BOOK VALUE ON PETITION
                                                                                   CURRENT REPORTING                PRIOR REPORTING                DATE OR SCHEDULED
                                                                                         MONTH                           MONTH
     CURRENT ASSETS
     Unrestricted Cash and Equivalents                                            $                5,716.56       $                2,716.56       $               250.00
     Restricted Cash and Cash Equivalents (see continuation
     sheet)                                                                       $              1,214.00         $                1,226.00
                                                                                                                                          $                      1,238.00
     Accounts Receivable (Net)                                                   $                    -                                   $                           -
     Notes Receivable                                                            $           1,018,848.00         $          1,018,848.00 $                  1,018,848.00
     Inventories                                                                 NA                                                       NA
     Prepaid Expenses                                                            NA                                                       NA
     Professional Retainers                                                                              0                                                               0
     Other Current Assets (attach schedule)                                       $            750,000.00 $                    750,000.00         $            750,000.00
     TOTAL CURRENT ASSETS                                                         $          1,775,778.56 $                  1,772,790.56         $          1,770,336.00
     PROPERTY & EQUIPMENT
     Real Property and Improvements                                                                           0                                                           0
     Machinery and Equipment                                                                                  0                                                           0
     Furniture, Fixtures and Office Equipment                                                                 0                                                           0
     Leasehold Improvements                                                                                   0                                                           0
     Vehicles                                                                                                 0                                                           0
     Less: Accumulated Depreciation                                                                           0                                                           0
     TOTAL PROPERTY & EQUIPMENT                                                                               0                                                           0
     OTHER ASSETS
     Amounts due from Insiders*                                                                               0                                                           0
     Other Assets (attach schedule)                                                                                                               $                   -
     TOTAL OTHER ASSETS                                                                                  0                                                               0
     TOTAL ASSETS                                                                 $          1,775,778.56 $                  1,772,790.56         $          1,770,336.00
                      LIABILITIES AND OWNER EQUITY                                BOOK VALUE AT END OF            BOOK VALUE AT END OF           BOOK VALUE ON PETITION
                                                                                   CURRENT REPORTING                PRIOR REPORTING                      DATE
                                                                                         MONTH                           MONTH
     LIABILITIES NOT SUBJECT TO COMPROMISE (Postpetition)
     Accounts Payable                                                                                         0                                                           0
     Taxes Payable (refer to FORM MOR-4)                                                                      0                                                           0
     Wages Payable                                                                                            0                                                           0
     Notes Payable                                                                                            0                                                           0
     Rent / Leases - Building/Equipment                                                                       0                                                           0
     Secured Debt / Adequate Protection Payments                                                              0                                                           0
     Professional Fees                                                                                        0                                                           0
     Amounts Due to Insiders*                                                                                 0                                                           0
     Other Post-petition Liabilities (attach schedule)                                                        0                                                           0
     TOTAL POST-PETITION LIABILITIES                                                                          0                                                           0
     LIABILITIES SUBJECT TO COMPROMISE (Pre-Petition)
     Secured Debt                                                                 $          1,210,000.00         $          1,210,000.00         $          1,210,000.00
     Priority Debt
     Unsecured Debt
     TOTAL PRE-PETITION LIABILITIES                                               $          1,210,000.00         $          1,210,000.00         $          1,210,000.00
     TOTAL LIABILITIES                                                            $          1,210,000.00         $          1,210,000.00         $          1,210,000.00
     OWNERS' EQUITY
     Capital Stock
     Additional Paid-In Capital
     Partners' Capital Account
     Owner's Equity Account
     Retained Earnings - Pre-Petition
     Retained Earnings - Post-petition
     Adjustments to Owner Equity (attach schedule)
     Post-petition Contributions (attach schedule)
     NET OWNERS’ EQUITY
     TOTAL LIABILITIES AND OWNERS' EQUITY                                        $            1,775,778.56 $                  1,772,790.56 $                 1,770,336.00
     * "Insider" is defined in 11 U.S.C. Section 101(31).


                                                                                                                                                                              FORM MOR-3
                                                                                                                                                                                    2/2008
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In re Jarub Trans Corp                                                           Case No.                   17-46639
      Debtor                                                            Reporting Period:        2/1/2018 - 2/28/2018


     BALANCE SHEET - continuation section
                                   ASSETS                             BOOK VALUE AT END      BOOK VALUE AT END               BOOK VALUE ON
                                                                         OF CURRENT          OF PRIOR REPORTING              PETITION DATE
                                                                      REPORTING MONTH              MONTH
     Other Current Assets
     NYC Medallions -9J67 & 9J68                                  $             750,000.00   $              750,000.00   $           750,000.00




     Other Assets
     NA




                  LIABILITIES AND OWNER EQUITY                        BOOK VALUE AT END                                      BOOK VALUE ON
                                                                         OF CURRENT                                          PETITION DATE
                                                                      REPORTING MONTH
     Other Post-petition Liabilities
     NA




     Adjustments to Owner’s Equity
     NA



     Post-Petition Contributions
     NA




     Restricted Cash: Cash that is restricted for a specific use and not available to fund operations.
     Typically, restricted cash is segregated into a separate account, such as an escrow account.




                                                                                                                                                  FORM MOR-3
                                                                                                                                                        2/2008
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In re Jarub Trans Corp                                                                     Case No. 17-46639
      Debtor                                                                      Reporting Period: 2/1/2018 - 2/28/2018

                                             STATUS OF POST-PETITION TAXES

     The beginning tax liability should be the ending liability from the prior month or, if this is the first report, the
     amount should be zero.
     Attach photocopies of IRS Form 6123 or payment receipt to verify payment or deposit of federal payroll taxes.
     Attach photocopies of any tax returns filed during the reporting period.

                                                              Amount
                                                              Withheld
                                            Beginning          and/or          Amount                          Check # or
     Federal                                  Tax             Accrued           Paid           Date Paid         EFT      Ending Tax
     Withholding                           NA
     FICA-Employee                         NA
     FICA-Employer                         NA
     Unemployment                          NA
     Income                                NA
     Other:_____________                   NA
       Total Federal Taxes                 NA
     State and Local
     Withholding                           NA
     Sales                                 NA
     Excise                                NA
     Unemployment                          NA
     Real Property                         NA
     Personal Property                     NA
     Other:_____________                   NA
      Total State and Local                NA


     Total Taxes                           NA


                                    SUMMARY OF UNPAID POST-PETITION DEBTS

     Attach aged listing of accounts payable.
                                                                              Number of Days Past Due
                                                Current          0-30            31-60            61-90           Over 91    Total
     Accounts Payable                                     0
     Wages Payable                                        0
     Taxes Payable                                        0
     Rent/Leases-Building                                 0
     Rent/Leases-Equipment                                0
     Secured Debt/Adequate
     Protection Payments                                  0
     Professional Fees                                    0
     Amounts Due to Insiders                              0
     Other:______________                                 0
     Other:______________                                 0
     Total Post-petition Debts                            0

     Explain how and when the Debtor intends to pay any past due post-petition debts.



                                                                                                                                       FORM MOR-4
                                                                                                                                             2/2008
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In re Jarub Trans Corp                                                                         Case No. 17-46639
      Debtor                                                                          Reporting Period: 2/1/2018 - 2/28/2018


                                            ACCOUNTS RECEIVABLE RECONCILIATION AND AGING

                        Accounts Receivable Reconciliation                                 Amount
     Total Accounts Receivable at the beginning of the reporting period               $             -
     Plus: Amounts billed during the period                                           $        3,000.00
     Less: Amounts collected during the period                                        $        3,000.00
     Total Accounts Receivable at the end of the reporting period                     $             -


     Accounts Receivable Aging                                    0-30 Days               31-60 Days        61-90 Days         91+ Days           Total
     0 - 30 days old                                          $               -                                                               $           -
     31 - 60 days old                                                             0                                                           $           -
     61 - 90 days old                                                             0                                                           $           -
     91+ days old                                                                 0                                                           $           -
     Total Accounts Receivable                                $               -                                                               $           -

     Less: Bad Debts (Amount considered uncollectible)                            0                                                                           0

     Net Accounts Receivable                                  $               -                                                               $           -


                                                          TAXES RECONCILIATION AND AGING

     Taxes Payable                                                0-30 Days               31-60 Days        61-90 Days         91+ Days           Total
     0 - 30 days old                                                              0                    0                 0
     31 - 60 days old                                                             0                    0                 0                0                   0
     61 - 90 days old                                                             0                    0                 0                0                   0
     91+ days old                                                                 0                    0                 0                0                   0
     Total Taxes Payable                                                          0                    0                 0                0                   0
     Total Accounts Payable                                                       0                    0                 0                0                   0



                                                                                                                                                     FORM MOR-5
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In re Jarub Trans Corp                                                     Case No. 17-46639
      Debtor                                                      Reporting Period: 2/1/2018 - 2/28/2018


                                            PAYMENTS TO INSIDERS AND PROFESSIONALS

     Of the total disbursements shown on the Cash Receipts and Disbursements Report (MOR-1) list the amount paid to insiders (as defined in
     Section 101(31) (A)-(F) of the U.S. Bankruptcy Code) and to professionals. For payments to insiders, identify the type of compensation paid
     (e.g. Salary, Bonus, Commissions, Insurance, Housing Allowance, Travel, Car Allowance, Etc.). Attach additional sheets if necessary.


                                                     INSIDERS

                  NAME                  TYPE OF PAYMENT              AMOUNT PAID            TOTAL PAID TO DATE
     NONE                                                     0                         0                          0




                           TOTAL PAYMENTS TO INSIDERS




                                                                          PROFESSIONALS
                                          DATE OF COURT
                                             ORDER
                                           AUTHORIZING                                                                                             TOTAL INCURRED &
                  NAME                      PAYMENT               AMOUNT APPROVED              AMOUNT PAID             TOTAL PAID TO DATE              UNPAID*
     NONE                              NA




                   TOTAL PAYMENTS TO PROFESSIONALS
     * INCLUDE ALL FEES INCURRED, BOTH APPROVED AND UNAPPROVED



          POST-PETITION STATUS OF SECURED NOTES, LEASES PAYABLE
                   AND ADEQUATE PROTECTION PAYMENTS

                                          SCHEDULED
                                       MONTHLY PAYMENT               AMOUNT PAID            TOTAL UNPAID POST-
         NAME OF CREDITOR                    DUE                    DURING MONTH                PETITION
     None




                                          TOTAL PAYMENTS




                                                                                                                                                            FORM MOR-6
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In re Jarub Trans Corp                                                                   Case No. 17-46639
       Debtor                                                                   Reporting Period: 2/1/2018 - 2/28/2018



                                          DEBTOR QUESTIONNAIRE
       Must be completed each month. If the answer to any of the                       Yes                No
       questions is “Yes”, provide a detailed explanation of each item.
       Attach additional sheets if necessary.
       Have any assets been sold or transferred outside the normal course of
   1   business this reporting period?                                                                     X
       Have any funds been disbursed from any account other than a debtor in
   2   possession account this reporting period?                                       X
       Is the Debtor delinquent in the timely filing of any post-petition tax
   3   returns?                                                                                            X
       Are workers compensation, general liability or other necessary
   4   insurance coverages expired or cancelled, or has the debtor received
       notice of expiration or cancellation of such policies?                                              X

   5 Is the Debtor delinquent in paying any insurance premium payment?                                     X
     Have any payments been made on pre-petition liabilities this reporting
   6 period?                                                                                               X
     Are any post petition receivables (accounts, notes or loans) due from
   7 related parties?                                                                                     X
   8 Are any post petition payroll taxes past due?                                                        X
   9 Are any post petition State or Federal income taxes past due?                                        X
  10 Are any post petition real estate taxes past due?                                                    X
  11 Are any other post petition taxes past due?                                                          X
  12 Have any pre-petition taxes been paid during this reporting period?                                  X
  13 Are any amounts owed to post petition creditors delinquent?                                          X
  14 Are any wage payments past due?                                                                      X
     Have any post petition loans been been received by the Debtor from any
  15 party?                                                                                               X
  16 Is the Debtor delinquent in paying any U.S. Trustee fees?                                            X
     Is the Debtor delinquent with any court ordered payments to attorneys or
  17 other professionals?                                                                                 X
     Have the owners or shareholders received any compensation outside of
  18 the normal course of business?                                                                       X

 #2 Bank Service Charge for account that cannot be closed- Capital One




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In re Lechaim Cab Corp                                                                         Case No. 17-46647
      Debtor                                                                          Reporting Period: 2/1/2018-2/28/2018

                                 SCHEDULE OF CASH RECEIPTS AND DISBURSEMENTS

    Amounts reported should be from the debtor’s books and not the bank statement. The beginning cash should be the ending cash from the prior month
    or, if this is the first report, the amount should be the balance on the date the petition was filed. The amounts reported in the "CURRENT MONTH -
    ACTUAL” column must equal the sum of the four bank account columns. Attach copies of the bank statements and the cash disbursements journal.
    The total disbursements listed in the disbursements journal must equal the total disbursements reported on this page. A bank reconciliation must be
    attached for each account. [See MOR-1 (CON’T)]

                                                                                                            BANK ACCOUNTS
                                                                                           PAYROLL                    TAX                  OTHER           CURRENT MONTH
                                                                                                                                                          ACTUAL (TOTAL OF
                                                                 OPERATING
                                                                                                                                                            ALL ACCOUNTS)
    ACCOUNT NUMBER (LAST 4)                                         2196

     CASH BEGINNING OF MONTH                             $          11,566.57                                                                             $     11,566.57
     RECEIPTS
     CASH SALES                                          $            3,000.00                                                                            $      3,000.00
     ACCOUNTS RECEIVABLE -
     PREPETITION                                         $                    -                                                                           $             -
     ACCOUNTS RECEIVABLE -
     POSTPETITION                                            $                 -                                                                          $             -
     LOANS AND ADVANCES                                                       0                                                                                             0
     SALE OF ASSETS                                                           0                                                                                             0
     OTHER (ATTACH LIST)                                                      0                                                                                             0
     TRANSFERS (FROM DIP ACCTS)                                               0
       TOTAL RECEIPTS                                    $            3,000.00                                                                            $      3,000.00
     DISBURSEMENTS
     NET PAYROLL                                                                  0                                                                                         0
     PAYROLL TAXES                                                                0                                                                                         0
     SALES, USE, & OTHER TAXES                                                    0                                                                                         0
     INVENTORY PURCHASES                                                          0                                                                                         0
     SECURED/ RENTAL/ LEASES                                                      0                                                                                         0
     INSURANCE                                                                    0                                                                                         0
     ADMINISTRATIVE                                                               0                                                                                         0
     SELLING                                                                      0                                                                                         0
     OTHER (ATTACH LIST)                                                          0                                                                                         0
     OWNER DRAW *                                                                 0                                                                                         0
     TRANSFERS (TO DIP ACCTS)                                                     0                                                                                         0
     PROFESSIONAL FEES                                                            0                                                                                         0
     U.S. TRUSTEE QUARTERLY FEES                         $                    -                                                                           $             -
     COURT COSTS                                                                  0                                                                                         0
     TOTAL DISBURSEMENTS                                 $                    -                                                                           $             -

     NET CASH FLOW
     (RECEIPTS LESS DISBURSEMENTS) $                                  3,000.00                                                                            $      3,000.00

     CASH – END OF MONTH                                 $          14,566.57                                                                             $     14,566.57
    * COMPENSATION TO SOLE PROPRIETORS FOR SERVICES RENDERED TO BANKRUPTCY ESTATE


                                         THE FOLLOWI NG SECTI ON MUST BE COMPLETED
    DISBURSEMENTS FOR CALCULATING U.S. TRUSTEE QUARTERLY FEES: (FROM CURRENT MONTH ACTUAL COLUMN)

     TOTAL DISBURSEMENTS
       LESS: TRANSFERS TO OTHER DEBTOR IN
     POSSESSION ACCOUNTS                                                               $                                       -
       PLUS: ESTATE DISBURSEMENTS MADE BY
     OUTSIDE SOURCES (i.e. from escrow accounts)                                       $                                       -
     TOTAL DISBURSEMENTS FOR CALCULATING U.S.
     TRUSTEE QUARTERLY FEES                                                            $                                       -


                                                                                                                                                                FORM MOR-1
                                                                                                                                                                      2/2008
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In re Lechaim Cab Corp                                                      Case No. 17-46647
      Debtor                                                       Reporting Period: 2/1/2018-2/28/2018

                                                     BANK RECONCILIATIONS
     Continuation Sheet for MOR-1
    A bank reconciliation must be included for each bank account. The debtor's bank reconciliation may be substituted for this page.
    (Bank account numbers may be redacted to last four numbers.)


                                             Operating                      Payroll                     Tax                        Other
                                                #2196              # - NA                    # - NA                     # - NA
     BALANCE PER
     BOOKS

     BANK BALANCE                     $             14,566.57
     (+) DEPOSITS IN                  $                    -
     TRANSIT (ATTACH
     LIST)
     (-) OUTSTANDING                  $                      -
     CHECKS (ATTACH
     LIST) :
     OTHER (ATTACH                    $                      -
     EXPLANATION)

     ADJUSTED BANK
     BALANCE *                          $            14,566.57
    *"Adjusted Bank Balance" must equal "Balance per Books"


    DEPOSITS IN TRANSIT                          Date                       Amount                      Date                      Amount
    None




    CHECKS OUTSTANDING                           Ck. #                      Amount                      Ck. #                     Amount
    None




    OTHER




                                                                                                                                           FORM MOR-1 (CONT.)
                                                                                                                                                        2/2008
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In re Lechaim Cab Corp                                                                            Case No. 17-46647
      Debtor                                                                             Reporting Period: 2/1/2018-2/28/2018


                                    STATEMENT OF OPERATIONS (Income Statement)
    The Statement of Operations is to be prepared on an accrual basis. The accrual basis of accounting recognizes revenue
    when it is realized and expenses when they are incurred, regardless of when cash is actually received or paid.

                                        REVENUES                                                 MONTH               CUMULATIVE -FILING
                                                                                                                         TO DATE
    Gross Revenues                                                                       $              3,000.00 $             9,000.00
    Less: Returns and Allowances                                                                                0                      0
    Net Revenue                                                                          $              3,000.00 $             9,000.00
    COST OF GOODS SOLD
    Beginning Inventory                                                                             NA
    Add: Purchases                                                                                  NA
    Add: Cost of Labor                                                                              NA
    Add: Other Costs (attach schedule)                                                              NA
    Less: Ending Inventory                                                                          NA
    Cost of Goods Sold                                                                              NA
    Gross Profit                                                                                    NA
    OPERATING EXPENSES
    Advertising                                                                                     NA
    Auto and Truck Expense                                                                          NA
    Bad Debts                                                                                       NA
    Contributions                                                                                   NA
    Employee Benefits Programs                                                                      NA
    Officer/Insider Compensation*                                                                   NA
    Insurance                                                                                       NA
    Management Fees/Bonuses                                                                         NA
    Office Expense                                                                                  NA
    Pension & Profit-Sharing Plans                                                                  NA
    Repairs and Maintenance                                                                         NA
    Rent and Lease Expense                                                                          NA
    Salaries/Commissions/Fees                                                                       NA
    Supplies                                                                                        NA
    Taxes - Payroll                                                                                 NA
    Taxes - Real Estate                                                                             NA
    Taxes - Other                                                                                   NA
    Travel and Entertainment                                                                        NA
    Utilities                                                                                       NA
    Other (attach schedule)                                                                         NA
    Total Operating Expenses Before Depreciation                                           $                     - $                 -
    Depreciation/Depletion/Amortization                                                             NA
    Net Profit (Loss) Before Other Income & Expenses                                      $              3,000.00 $            9,000.00
    OTHER INCOME AND EXPENSES
    Other Income (attach schedule)                                                                              0                      0
    Interest Expense                                                                                            0                      0
    Other Expense (attach schedule)                                                                             0                      0
    Net Profit (Loss) Before Reorganization Items                                        $              3,000.00 $             9,000.00




                                                                                                                                         FORM MOR-2
                                                                                                                                               2/2008
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In re Lechaim Cab Corp                                                                 Case No. 17-46647
      Debtor                                                                  Reporting Period: 2/1/2018-2/28/2018

    REORGANIZATION ITEMS
    Professional Fees                                                                                0                    0
    U. S. Trustee Quarterly Fees                                              $                  -       $          325.00
    Interest Earned on Accumulated Cash from Chapter 11 (see continuation
    sheet)                                                                                           0                    0
    Gain (Loss) from Sale of Equipment                                                               0                     0
    Other Reorganization Expenses (attach schedule)                           $                  -       $           208.44
    Total Reorganization Expenses                                             $                  -       $           533.44
    Income Taxes                                                                                  0                        0
    Net Profit (Loss)                                                         $           3,000.00 $               8,466.56
    *"Insider" is defined in 11 U.S.C. Section 101(31).


    BREAKDOWN OF “OTHER” CATEGORY

    OTHER COSTS
    NONE




    OTHER OPERATIONAL EXPENSES
    NONE




    OTHER INCOME
    NONE



    OTHER EXPENSES
    NONE



    OTHER REORGANIZATION EXPENSES
    Checks - New DIP Accounts                                                 $                  -       $          208.44




    Reorganization Items - Interest Earned on Accumulated Cash from Chapter 11:
    Interest earned on cash accumulated during the chapter 11 case, which would not have been earned but for the
    bankruptcy proceeding, should be reported as a reorganization item.




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In re Lechaim Cab Corp                                                                        Case No.                        17-46647
      Debtor                                                                         Reporting Period:               2/1/2018-2/28/2018

                                                                             BALANCE SHEET
    The Balance Sheet is to be completed on an accrual basis only. Pre-petition liabilities must be classified separately from post-petition obligations.

                                     ASSETS                                      BOOK VALUE AT END OF            BOOK VALUE AT END OF           BOOK VALUE ON PETITION
                                                                                  CURRENT REPORTING                PRIOR REPORTING                DATE OR SCHEDULED
                                                                                        MONTH                           MONTH
    CURRENT ASSETS
     Unrestricted Cash and Equivalents                                           $              14,566.57        $               11,566.57       $              6,100.01
     Restricted Cash and Cash Equivalents (see continuation                                                                                                             0
     sheet)                                                                                              0
     Accounts Receivable (Net)                                                  $                     -    $                          -         $              3,000.00
     Notes Receivable                                                           $              923,025.00 $                    923,025.00       $            923,025.00
     Inventories                                                                NA                                                              NA
     Prepaid Expenses                                                           NA                                                              NA
     Professional Retainers                                                                             0                               0                               0
     Other Current Assets (attach schedule)                                      $            750,000.00 $                    750,000.00 $                    750,000.00
     TOTAL CURRENT ASSETS                                                        $          1,687,591.57 $                  1,684,591.57 $                  1,682,125.01
    PROPERTY & EQUIPMENT
     Real Property and Improvements                                                                          0                                                           0
     Machinery and Equipment                                                                                 0                                                           0
     Furniture, Fixtures and Office Equipment                                                                0                                                           0
     Leasehold Improvements                                                                                  0                                                           0
     Vehicles                                                                                                0                                                           0
     Less: Accumulated Depreciation                                                                          0                                                           0
     TOTAL PROPERTY & EQUIPMENT                                                                              0                                                           0
    OTHER ASSETS
     Amounts due from Insiders*                                                                              0                                                           0
     Other Assets (attach schedule)                                                                                                              $                   -
     TOTAL OTHER ASSETS                                                                                 0                                                               0
     TOTAL ASSETS                                                                $          1,687,591.57 $                  1,684,591.57         $          1,682,125.01
                     LIABILITIES AND OWNER EQUITY                                BOOK VALUE AT END OF            BOOK VALUE AT END OF           BOOK VALUE ON PETITION
                                                                                  CURRENT REPORTING                PRIOR REPORTING                      DATE
                                                                                        MONTH                           MONTH
    LIABILITIES NOT SUBJECT TO COMPROMISE (Postpetition)
     Accounts Payable                                                                                        0                                                           0
     Taxes Payable (refer to FORM MOR-4)                                                                     0                                                           0
     Wages Payable                                                                                           0                                                           0
     Notes Payable                                                                                           0                                                           0
     Rent / Leases - Building/Equipment                                                                      0                                                           0
     Secured Debt / Adequate Protection Payments                                                             0                                                           0
     Professional Fees                                                                                       0                                                           0
     Amounts Due to Insiders*                                                                                0                                                           0
     Other Post-petition Liabilities (attach schedule)                                                       0                                                           0
     TOTAL POST-PETITION LIABILITIES                                                                         0                                                           0
    LIABILITIES SUBJECT TO COMPROMISE (Pre-Petition)
     Secured Debt                                                                $          1,210,000.00         $          1,210,000.00         $          1,210,000.00
     Priority Debt
     Unsecured Debt
     TOTAL PRE-PETITION LIABILITIES                                              $          1,210,000.00         $          1,210,000.00         $          1,210,000.00
     TOTAL LIABILITIES                                                           $          1,210,000.00         $          1,210,000.00         $          1,210,000.00
    OWNERS' EQUITY
     Capital Stock
     Additional Paid-In Capital
     Partners' Capital Account
     Owner's Equity Account
     Retained Earnings - Pre-Petition
     Retained Earnings - Post-petition
     Adjustments to Owner Equity (attach schedule)
     Post-petition Contributions (attach schedule)
     NET OWNERS’ EQUITY
     TOTAL LIABILITIES AND OWNERS' EQUITY                                       $            1,687,591.57 $                  1,684,591.57 $                 1,682,125.01
    * "Insider" is defined in 11 U.S.C. Section 101(31).


                                                                                                                                                                             FORM MOR-3
                                                                                                                                                                                   2/2008
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In re Lechaim Cab Corp                                                           Case No.                 17-46647
      Debtor                                                            Reporting Period:        2/1/2018-2/28/2018


     BALANCE SHEET - continuation section
                               ASSETS                                 BOOK VALUE AT END      BOOK VALUE AT END             BOOK VALUE ON
                                                                         OF CURRENT          OF PRIOR REPORTING            PETITION DATE
                                                                      REPORTING MONTH              MONTH
     Other Current Assets
    NYC Medallions - 1K66 & 1K67                                  $             750,000.00   $            750,000.00   $           750,000.00




     Other Assets
    NA




                  LIABILITIES AND OWNER EQUITY                        BOOK VALUE AT END                                    BOOK VALUE ON
                                                                         OF CURRENT                                        PETITION DATE
                                                                      REPORTING MONTH
     Other Post-petition Liabilities
    NA




     Adjustments to Owner’s Equity
    NA



     Post-Petition Contributions
    NA




     Restricted Cash: Cash that is restricted for a specific use and not available to fund operations.
     Typically, restricted cash is segregated into a separate account, such as an escrow account.




                                                                                                                                                FORM MOR-3
                                                                                                                                                      2/2008
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In re Lechaim Cab Corp                                                                    Case No. 17-46647
      Debtor                                                                     Reporting Period: 2/1/2018-2/28/2018

                                            STATUS OF POST-PETITION TAXES

    The beginning tax liability should be the ending liability from the prior month or, if this is the first report, the
    amount should be zero.
    Attach photocopies of IRS Form 6123 or payment receipt to verify payment or deposit of federal payroll taxes.
    Attach photocopies of any tax returns filed during the reporting period.

                                                             Amount
                                                             Withheld
                                           Beginning          and/or          Amount                          Check # or
    Federal                                  Tax             Accrued           Paid           Date Paid         EFT      Ending Tax
    Withholding                           NA
    FICA-Employee                         NA
    FICA-Employer                         NA
    Unemployment                          NA
    Income                                NA
    Other:_____________                   NA
      Total Federal Taxes                 NA
    State and Local
    Withholding                           NA
    Sales                                 NA
    Excise                                NA
    Unemployment                          NA
    Real Property                         NA
    Personal Property                     NA
    Other:_____________                   NA
     Total State and Local                NA


    Total Taxes                           NA


                                   SUMMARY OF UNPAID POST-PETITION DEBTS

    Attach aged listing of accounts payable.
                                                                             Number of Days Past Due
                                               Current          0-30            31-60            61-90           Over 91    Total
    Accounts Payable                                     0
    Wages Payable                                        0
    Taxes Payable                                        0
    Rent/Leases-Building                                 0
    Rent/Leases-Equipment                                0
    Secured Debt/Adequate
    Protection Payments                                  0
    Professional Fees                                    0
    Amounts Due to Insiders                              0
    Other:______________                                 0
    Other:______________                                 0
    Total Post-petition Debts                            0

    Explain how and when the Debtor intends to pay any past due post-petition debts.



                                                                                                                                      FORM MOR-4
                                                                                                                                            2/2008
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In re Lechaim Cab Corp                                                                        Case No. 17-46647
      Debtor                                                                         Reporting Period: 2/1/2018-2/28/2018


                                           ACCOUNTS RECEIVABLE RECONCILIATION AND AGING

                       Accounts Receivable Reconciliation                                 Amount
    Total Accounts Receivable at the beginning of the reporting period               $             -
    Plus: Amounts billed during the period                                           $        3,000.00
    Less: Amounts collected during the period                                        $        3,000.00
    Total Accounts Receivable at the end of the reporting period                     $             -


    Accounts Receivable Aging                                    0-30 Days               31-60 Days        61-90 Days       91+ Days           Total
    0 - 30 days old                                          $               -                                                             $           -
    31 - 60 days old                                                             0                                                         $           -
    61 - 90 days old                                                             0                                                         $           -
    91+ days old                                                                 0                                                         $           -
    Total Accounts Receivable                                $               -                                                             $           -

    Less: Bad Debts (Amount considered uncollectible)                            0                                                                         0

    Net Accounts Receivable                                  $               -                                                             $           -


                                                         TAXES RECONCILIATION AND AGING

    Taxes Payable                                                0-30 Days               31-60 Days        61-90 Days       91+ Days           Total
    0 - 30 days old                                                              0                    0                 0
    31 - 60 days old                                                             0                    0                 0              0                   0
    61 - 90 days old                                                             0                    0                 0              0                   0
    91+ days old                                                                 0                    0                 0              0                   0
    Total Taxes Payable                                                          0                    0                 0              0                   0
    Total Accounts Payable                                                       0                    0                 0              0                   0



                                                                                                                                                  FORM MOR-5
                                                                                                                                                        2/2008
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In re Lechaim Cab Corp                                                    Case No. 17-46647
      Debtor                                                     Reporting Period: 2/1/2018-2/28/2018


                                           PAYMENTS TO INSIDERS AND PROFESSIONALS

    Of the total disbursements shown on the Cash Receipts and Disbursements Report (MOR-1) list the amount paid to insiders (as defined in
    Section 101(31) (A)-(F) of the U.S. Bankruptcy Code) and to professionals. For payments to insiders, identify the type of compensation paid
    (e.g. Salary, Bonus, Commissions, Insurance, Housing Allowance, Travel, Car Allowance, Etc.). Attach additional sheets if necessary.


                                                    INSIDERS

                 NAME                  TYPE OF PAYMENT              AMOUNT PAID            TOTAL PAID TO DATE
     NONE                                                    0                         0                          0




                          TOTAL PAYMENTS TO INSIDERS




                                                                         PROFESSIONALS
                                         DATE OF COURT
                                            ORDER
                                          AUTHORIZING                                                                                             TOTAL INCURRED &
                 NAME                      PAYMENT               AMOUNT APPROVED              AMOUNT PAID             TOTAL PAID TO DATE              UNPAID*
     NONE                             NA




                  TOTAL PAYMENTS TO PROFESSIONALS
    * INCLUDE ALL FEES INCURRED, BOTH APPROVED AND UNAPPROVED



         POST-PETITION STATUS OF SECURED NOTES, LEASES PAYABLE
                  AND ADEQUATE PROTECTION PAYMENTS

                                         SCHEDULED
                                      MONTHLY PAYMENT               AMOUNT PAID            TOTAL UNPAID POST-
        NAME OF CREDITOR                    DUE                    DURING MONTH                PETITION
     None




                                         TOTAL PAYMENTS




                                                                                                                                                           FORM MOR-6
                                                                                                                                                                 2/2008
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In re Lechaim Cab Corp                                                                   Case No. 17-46647
      Debtor                                                                    Reporting Period: 2/1/2018-2/28/2018



                                          DEBTOR QUESTIONNAIRE
       Must be completed each month. If the answer to any of the                      Yes                No
       questions is “Yes”, provide a detailed explanation of each item.
       Attach additional sheets if necessary.
       Have any assets been sold or transferred outside the normal course of
   1   business this reporting period?                                                                    X
       Have any funds been disbursed from any account other than a debtor in
   2   possession account this reporting period?                                                          X
       Is the Debtor delinquent in the timely filing of any post-petition tax
   3   returns?                                                                                           X
       Are workers compensation, general liability or other necessary
   4   insurance coverages expired or cancelled, or has the debtor received
       notice of expiration or cancellation of such policies?                                             X

   5 Is the Debtor delinquent in paying any insurance premium payment?                                    X
     Have any payments been made on pre-petition liabilities this reporting
   6 period?                                                                                              X
     Are any post petition receivables (accounts, notes or loans) due from
   7 related parties?                                                                                    X
   8 Are any post petition payroll taxes past due?                                                       X
   9 Are any post petition State or Federal income taxes past due?                                       X
  10 Are any post petition real estate taxes past due?                                                   X
  11 Are any other post petition taxes past due?                                                         X
  12 Have any pre-petition taxes been paid during this reporting period?                                 X
  13 Are any amounts owed to post petition creditors delinquent?                                         X
  14 Are any wage payments past due?                                                                     X
     Have any post petition loans been been received by the Debtor from any
  15 party?                                                                                              X
  16 Is the Debtor delinquent in paying any U.S. Trustee fees?                                           X
     Is the Debtor delinquent with any court ordered payments to attorneys or
  17 other professionals?                                                                                X
     Have the owners or shareholders received any compensation outside of
  18 the normal course of business?                                                                      X




                                                                                                               FORM MOR-7
                                                                                                                     2/2008
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In re Merab Cab Corp                                                                           Case No. 17-46619
      Debtor                                                                          Reporting Period: 2/1/2018-2/28/2018

                                 SCHEDULE OF CASH RECEIPTS AND DISBURSEMENTS

    Amounts reported should be from the debtor’s books and not the bank statement. The beginning cash should be the ending cash from the prior month
    or, if this is the first report, the amount should be the balance on the date the petition was filed. The amounts reported in the "CURRENT MONTH -
    ACTUAL” column must equal the sum of the four bank account columns. Attach copies of the bank statements and the cash disbursements journal.
    The total disbursements listed in the disbursements journal must equal the total disbursements reported on this page. A bank reconciliation must be
    attached for each account. [See MOR-1 (CON’T)]

                                                                                                            BANK ACCOUNTS
                                                                                           PAYROLL                    TAX                  OTHER           CURRENT MONTH
                                                                                                                                                          ACTUAL (TOTAL OF
                                                               OPERATING
                                                                                                                                                            ALL ACCOUNTS)
    ACCOUNT NUMBER (LAST 4)                                       2253

     CASH BEGINNING OF MONTH                             $          11,166.56                                                                             $     11,166.56
     RECEIPTS
     CASH SALES                                          $            2,800.00                                                                            $      2,800.00
     ACCOUNTS RECEIVABLE -
     PREPETITION                                                                                                                                          $             -
     ACCOUNTS RECEIVABLE -
     POSTPETITION                                         $              600.00                                                                           $        600.00
     LOANS AND ADVANCES                                                       0                                                                                          0
     SALE OF ASSETS                                                           0                                                                                          0
     OTHER (ATTACH LIST)                                                      0                                                                                          0
     TRANSFERS (FROM DIP ACCTS)                                               0
       TOTAL RECEIPTS                                    $            2,800.00                                                                            $      2,800.00
     DISBURSEMENTS
     NET PAYROLL                                                                  0                                                                                         0
     PAYROLL TAXES                                                                0                                                                                         0
     SALES, USE, & OTHER TAXES                                                    0                                                                                         0
     INVENTORY PURCHASES                                                          0                                                                                         0
     SECURED/ RENTAL/ LEASES                                                      0                                                                                         0
     INSURANCE                                                                    0                                                                                         0
     ADMINISTRATIVE                                                               0                                                                                         0
     SELLING                                                                      0                                                                                         0
     OTHER (ATTACH LIST)                                 $                    -                                                                           $             -
     OWNER DRAW *                                                                 0                                                                                         0
     TRANSFERS (TO DIP ACCTS)                                                     0                                                                                         0
     PROFESSIONAL FEES                                                            0                                                                                         0
     U.S. TRUSTEE QUARTERLY FEES                         $                    -                                                                           $             -
     COURT COSTS                                                                  0                                                                                         0
     TOTAL DISBURSEMENTS                                 $                    -                                                                           $             -

     NET CASH FLOW
     (RECEIPTS LESS DISBURSEMENTS) $                                  2,800.00                                                                            $      2,800.00

     CASH – END OF MONTH                                 $          13,966.56                                                                             $     13,966.56
    * COMPENSATION TO SOLE PROPRIETORS FOR SERVICES RENDERED TO BANKRUPTCY ESTATE


                                         THE FOLLOWI NG SECTI ON MUST BE COMPLETED
    DISBURSEMENTS FOR CALCULATING U.S. TRUSTEE QUARTERLY FEES: (FROM CURRENT MONTH ACTUAL COLUMN)

     TOTAL DISBURSEMENTS
       LESS: TRANSFERS TO OTHER DEBTOR IN
     POSSESSION ACCOUNTS                                                               $                                       -
       PLUS: ESTATE DISBURSEMENTS MADE BY
     OUTSIDE SOURCES (i.e. from escrow accounts)                                       $                                       -
     TOTAL DISBURSEMENTS FOR CALCULATING U.S.
     TRUSTEE QUARTERLY FEES                                                            $                                       -


                                                                                                                                                                FORM MOR-1
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In re Merab Cab Corp                                                        Case No. 17-46619
      Debtor                                                       Reporting Period: 2/1/2018-2/28/2018

                                                     BANK RECONCILIATIONS
    Continuation Sheet for MOR-1
    A bank reconciliation must be included for each bank account. The debtor's bank reconciliation may be substituted for this page.
    (Bank account numbers may be redacted to last four numbers.)


                                             Operating                      Payroll                     Tax                        Other
                                                #2253              # - NA                    # - NA                     # - NA
    BALANCE PER
    BOOKS

    BANK BALANCE                      $             13,966.56
    (+) DEPOSITS IN
    TRANSIT (ATTACH
    LIST)
    (-) OUTSTANDING                   $                      -
    CHECKS (ATTACH
    LIST) :
    OTHER (ATTACH                     $                      -
    EXPLANATION)

    ADJUSTED BANK
    BALANCE *                           $            13,966.56
    *"Adjusted Bank Balance" must equal "Balance per Books"


    DEPOSITS IN TRANSIT                          Date                       Amount                      Date                      Amount
    None




    CHECKS OUTSTANDING                           Ck. #                      Amount                      Ck. #                     Amount
    None




    OTHER




                                                                                                                                           FORM MOR-1 (CONT.)
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In re Merab Cab Corp                                                                              Case No. 17-46619
      Debtor                                                                             Reporting Period: 2/1/2018-2/28/2018


                                    STATEMENT OF OPERATIONS (Income Statement)
    The Statement of Operations is to be prepared on an accrual basis. The accrual basis of accounting recognizes revenue
    when it is realized and expenses when they are incurred, regardless of when cash is actually received or paid.

                                        REVENUES                                                 MONTH               CUMULATIVE -FILING
                                                                                                                         TO DATE
    Gross Revenues                                                                       $              2,800.00 $             8,400.00
    Less: Returns and Allowances                                                         $                    - $                    -
    Net Revenue                                                                          $              2,800.00 $             8,400.00
    COST OF GOODS SOLD
    Beginning Inventory                                                                             NA
    Add: Purchases                                                                                  NA
    Add: Cost of Labor                                                                              NA
    Add: Other Costs (attach schedule)                                                              NA
    Less: Ending Inventory                                                                          NA
    Cost of Goods Sold                                                                              NA
    Gross Profit                                                                                    NA
    OPERATING EXPENSES
    Advertising                                                                                     NA
    Auto and Truck Expense                                                                          NA
    Bad Debts                                                                                       NA
    Contributions                                                                                   NA
    Employee Benefits Programs                                                                      NA
    Officer/Insider Compensation*                                                                   NA
    Insurance                                                                                       NA
    Management Fees/Bonuses                                                                         NA
    Office Expense                                                                                  NA
    Pension & Profit-Sharing Plans                                                                  NA
    Repairs and Maintenance                                                                         NA
    Rent and Lease Expense                                                                          NA
    Salaries/Commissions/Fees                                                                       NA
    Supplies                                                                                        NA
    Taxes - Payroll                                                                                 NA
    Taxes - Real Estate                                                                             NA
    Taxes - Other                                                                                   NA
    Travel and Entertainment                                                                        NA
    Utilities                                                                                       NA
    Other (attach schedule)                                                                         NA
    Total Operating Expenses Before Depreciation                                                    NA
    Depreciation/Depletion/Amortization                                                             NA
    Net Profit (Loss) Before Other Income & Expenses                                      $              2,800.00 $            8,400.00
    OTHER INCOME AND EXPENSES
    Other Income (attach schedule)                                                                              0                      0
    Interest Expense                                                                                            0                      0
    Other Expense (attach schedule)                                                                             0                      0
    Net Profit (Loss) Before Reorganization Items                                        $              2,800.00 $             8,400.00




                                                                                                                                      FORM MOR-2
                                                                                                                                            2/2008
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In re Merab Cab Corp                                                                   Case No. 17-46619
      Debtor                                                                  Reporting Period: 2/1/2018-2/28/2018

    REORGANIZATION ITEMS
    Professional Fees                                                         $                  -    $                 -
    U. S. Trustee Quarterly Fees                                                                      $             325.00
    Interest Earned on Accumulated Cash from Chapter 11 (see continuation
    sheet)                                                                        $                  - $                 -
    Gain (Loss) from Sale of Equipment                                        $                 -     $                  -
    Other Reorganization Expenses (attach schedule)                           $                 -     $              208.44
    Total Reorganization Expenses                                             $                 -     $              533.44
    Income Taxes                                                              $                 -     $                  -
    Net Profit (Loss)                                                         $           2,800.00    $            7,866.56
    *"Insider" is defined in 11 U.S.C. Section 101(31).


    BREAKDOWN OF “OTHER” CATEGORY

    OTHER COSTS
    NONE




    OTHER OPERATIONAL EXPENSES
    NONE




    OTHER INCOME
    NONE



    OTHER EXPENSES
    NONE



    OTHER REORGANIZATION EXPENSES
    Checks - New DIP Account                                                  $                  -    $             208.44




    Reorganization Items - Interest Earned on Accumulated Cash from Chapter 11:
    Interest earned on cash accumulated during the chapter 11 case, which would not have been earned but for the
    bankruptcy proceeding, should be reported as a reorganization item.




                                                                                                                             FORM MOR-2
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In re Merab Cab Corp                                                                          Case No.                        17-46619
      Debtor                                                                         Reporting Period:               2/1/2018-2/28/2018

                                                                             BALANCE SHEET
    The Balance Sheet is to be completed on an accrual basis only. Pre-petition liabilities must be classified separately from post-petition obligations.

                                     ASSETS                                      BOOK VALUE AT END OF            BOOK VALUE AT END OF           BOOK VALUE ON PETITION
                                                                                  CURRENT REPORTING                PRIOR REPORTING                DATE OR SCHEDULED
                                                                                        MONTH                           MONTH
    CURRENT ASSETS
     Unrestricted Cash and Equivalents                                           $              13,966.56        $               11,166.56       $              6,100.00
     Restricted Cash and Cash Equivalents (see continuation
     sheet)                                                                                             0 $                          -           $                   -
     Accounts Receivable (Net)                                                  $                 600.00 $                        400.00         $              3,000.00
     Notes Receivable                                                           $           1,138,008.00 $                  1,138,008.00         $          1,138,008.00
     Inventories                                                                NA                                                               NA
     Prepaid Expenses                                                           NA                                                               NA
     Professional Retainers                                                                             0                                        $                   -
     Other Current Assets (attach schedule)                                                             0                                        $                   -
     TOTAL CURRENT ASSETS                                                        $          1,152,574.56 $                  1,149,574.56         $          1,147,108.00
    PROPERTY & EQUIPMENT
     Real Property and Improvements                                                                          0                                                           0
     Machinery and Equipment                                                                                 0                                                           0
     Furniture, Fixtures and Office Equipment                                                                0                                                           0
     Leasehold Improvements                                                                                  0                                                           0
     Vehicles                                                                                                0                                                           0
     Less: Accumulated Depreciation                                                                          0                                                           0
     TOTAL PROPERTY & EQUIPMENT                                                                              0                                                           0
    OTHER ASSETS
     Amounts due from Insiders*                                                                         0                                                               0
     Other Assets (attach schedule)                                                                     0                                                               0
     TOTAL OTHER ASSETS                                                                                 0                                                               0
     TOTAL ASSETS                                                                $          1,152,574.56 $                  1,149,574.56         $          1,147,108.00
                     LIABILITIES AND OWNER EQUITY                                BOOK VALUE AT END OF            BOOK VALUE AT END OF           BOOK VALUE ON PETITION
                                                                                  CURRENT REPORTING                PRIOR REPORTING                      DATE
                                                                                        MONTH                           MONTH
    LIABILITIES NOT SUBJECT TO COMPROMISE (Postpetition)
     Accounts Payable                                                            $                       -       $                       -       $                   -
     Taxes Payable (refer to FORM MOR-4)                                         $                       -       $                       -       $                   -
     Wages Payable                                                               $                       -       $                       -       $                   -
     Notes Payable                                                               $                       -       $                       -       $                   -
     Rent / Leases - Building/Equipment                                          $                       -       $                       -       $                   -
     Secured Debt / Adequate Protection Payments                                 $                       -       $                       -       $                   -
     Professional Fees                                                           $                       -       $                       -       $                   -
     Amounts Due to Insiders*                                                    $                       -       $                       -       $                   -
     Other Post-petition Liabilities (attach schedule)                           $                       -       $                       -       $                   -
     TOTAL POST-PETITION LIABILITIES                                             $                       -       $                       -       $                   -
    LIABILITIES SUBJECT TO COMPROMISE (Pre-Petition)
     Secured Debt                                                                $          1,210,000.00         $          1,210,000.00         $          1,210,000.00
     Priority Debt
     Unsecured Debt
     TOTAL PRE-PETITION LIABILITIES                                              $          1,210,000.00         $          1,210,000.00         $          1,210,000.00
     TOTAL LIABILITIES                                                           $          1,210,000.00         $          1,210,000.00         $          1,210,000.00
    OWNERS' EQUITY
     Capital Stock
     Additional Paid-In Capital
     Partners' Capital Account
     Owner's Equity Account
     Retained Earnings - Pre-Petition
     Retained Earnings - Post-petition
     Adjustments to Owner Equity (attach schedule)
     Post-petition Contributions (attach schedule)
     NET OWNERS’ EQUITY
     TOTAL LIABILITIES AND OWNERS' EQUITY                                       $            1,152,574.56 $                  1,149,574.56 $                 1,147,108.00
    * "Insider" is defined in 11 U.S.C. Section 101(31).


                                                                                                                                                                             FORM MOR-3
                                                                                                                                                                                   2/2008
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In re Merab Cab Corp                                                             Case No.                 17-46619
      Debtor                                                            Reporting Period:        2/1/2018-2/28/2018


     BALANCE SHEET - continuation section
                                   ASSETS                             BOOK VALUE AT END      BOOK VALUE AT END             BOOK VALUE ON
                                                                         OF CURRENT          OF PRIOR REPORTING            PETITION DATE
                                                                      REPORTING MONTH              MONTH
     Other Current Assets
    NYC Medallions - 7J22 & 7J25                                  $             750,000.00   $            750,000.00   $           750,000.00




     Other Assets
    NA




                  LIABILITIES AND OWNER EQUITY                        BOOK VALUE AT END                                    BOOK VALUE ON
                                                                         OF CURRENT                                        PETITION DATE
                                                                      REPORTING MONTH
     Other Post-petition Liabilities
    NA




     Adjustments to Owner’s Equity
    NA



     Post-Petition Contributions
    NA




     Restricted Cash: Cash that is restricted for a specific use and not available to fund operations.
     Typically, restricted cash is segregated into a separate account, such as an escrow account.




                                                                                                                                                FORM MOR-3
                                                                                                                                                      2/2008
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In re Merab Cab Corp                                                                      Case No. 17-46619
      Debtor                                                                     Reporting Period: 2/1/2018-2/28/2018

                                            STATUS OF POST-PETITION TAXES

    The beginning tax liability should be the ending liability from the prior month or, if this is the first report, the
    amount should be zero.
    Attach photocopies of IRS Form 6123 or payment receipt to verify payment or deposit of federal payroll taxes.
    Attach photocopies of any tax returns filed during the reporting period.

                                                             Amount
                                                             Withheld
                                           Beginning          and/or          Amount                          Check # or
    Federal                                  Tax             Accrued           Paid           Date Paid         EFT      Ending Tax
    Withholding                           NA
    FICA-Employee                         NA
    FICA-Employer                         NA
    Unemployment                          NA
    Income                                NA
    Other:_____________                   NA
      Total Federal Taxes                 NA
    State and Local
    Withholding                           NA
    Sales                                 NA
    Excise                                NA
    Unemployment                          NA
    Real Property                         NA
    Personal Property                     NA
    Other:_____________                   NA
     Total State and Local                NA


    Total Taxes                           NA


                                   SUMMARY OF UNPAID POST-PETITION DEBTS

    Attach aged listing of accounts payable.
                                                                             Number of Days Past Due
                                               Current          0-30            31-60            61-90           Over 91    Total
    Accounts Payable                                     0
    Wages Payable                                        0
    Taxes Payable                                        0
    Rent/Leases-Building                                 0
    Rent/Leases-Equipment                                0
    Secured Debt/Adequate                                0
    Protection Payments
    Professional Fees                                    0
    Amounts Due to Insiders                              0
    Other:______________                                 0
    Other:______________                                 0
    Total Post-petition Debts                            0

    Explain how and when the Debtor intends to pay any past due post-petition debts.



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In re Merab Cab Corp                                                                       Case No. 17-46619
      Debtor                                                                      Reporting Period: 2/1/2018-2/28/2018


                                           ACCOUNTS RECEIVABLE RECONCILIATION AND AGING

                       Accounts Receivable Reconciliation                              Amount
    Total Accounts Receivable at the beginning of the reporting period            $         400.00
    Plus: Amounts billed during the period                                        $       3,000.00
    Less: Amounts collected during the period                                     $       2,800.00
    Total Accounts Receivable at the end of the reporting period                  $         600.00


    Accounts Receivable Aging                                    0-30 Days            31-60 Days        61-90 Days       91+ Days           Total
    0 - 30 days old                                          $         200.00                                                           $       200.00
    31 - 60 days old                                         $         400.00                                                           $       400.00
    61 - 90 days old                                                         0                                                          $          -
    91+ days old                                                             0                                                          $          -
    Total Accounts Receivable                                $         600.00                                                           $       600.00

    Less: Bad Debts (Amount considered uncollectible)                         0                                                                         0

    Net Accounts Receivable                                  $           600.00                                                         $      600.00


                                                         TAXES RECONCILIATION AND AGING

    Taxes Payable                                                0-30 Days            31-60 Days        61-90 Days       91+ Days           Total
    0 - 30 days old                                                           0                    0                 0
    31 - 60 days old                                                          0                    0                 0              0                   0
    61 - 90 days old                                                          0                    0                 0              0                   0
    91+ days old                                                              0                    0                 0              0                   0
    Total Taxes Payable                                                       0                    0                 0              0                   0
    Total Accounts Payable                                                    0                    0                 0              0                   0



                                                                                                                                               FORM MOR-5
                                                                                                                                                     2/2008
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In re Merab Cab Corp                                                      Case No. 17-46619
      Debtor                                                     Reporting Period: 2/1/2018-2/28/2018


                                           PAYMENTS TO INSIDERS AND PROFESSIONALS

    Of the total disbursements shown on the Cash Receipts and Disbursements Report (MOR-1) list the amount paid to insiders (as defined in
    Section 101(31) (A)-(F) of the U.S. Bankruptcy Code) and to professionals. For payments to insiders, identify the type of compensation paid
    (e.g. Salary, Bonus, Commissions, Insurance, Housing Allowance, Travel, Car Allowance, Etc.). Attach additional sheets if necessary.


                                                    INSIDERS

                 NAME                  TYPE OF PAYMENT              AMOUNT PAID            TOTAL PAID TO DATE
    NONE                                                     0                         0                          0




                          TOTAL PAYMENTS TO INSIDERS




                                                                         PROFESSIONALS
                                         DATE OF COURT
                                            ORDER
                                          AUTHORIZING                                                                                             TOTAL INCURRED &
                 NAME                      PAYMENT               AMOUNT APPROVED              AMOUNT PAID             TOTAL PAID TO DATE              UNPAID*
    NONE                              NA




                  TOTAL PAYMENTS TO PROFESSIONALS
    * INCLUDE ALL FEES INCURRED, BOTH APPROVED AND UNAPPROVED



         POST-PETITION STATUS OF SECURED NOTES, LEASES PAYABLE
                  AND ADEQUATE PROTECTION PAYMENTS

                                         SCHEDULED
                                      MONTHLY PAYMENT               AMOUNT PAID            TOTAL UNPAID POST-
        NAME OF CREDITOR                    DUE                    DURING MONTH                PETITION
    None




                                         TOTAL PAYMENTS




                                                                                                                                                           FORM MOR-6
                                                                                                                                                                 2/2008
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In re Merab Cab Corp                                                                     Case No. 17-46619
      Debtor                                                                    Reporting Period: 2/1/2018-2/28/2018



                                          DEBTOR QUESTIONNAIRE
       Must be completed each month. If the answer to any of the                      Yes                No
       questions is “Yes”, provide a detailed explanation of each item.
       Attach additional sheets if necessary.
       Have any assets been sold or transferred outside the normal course of
   1   business this reporting period?                                                                    X
       Have any funds been disbursed from any account other than a debtor in
   2   possession account this reporting period?                                                          X
       Is the Debtor delinquent in the timely filing of any post-petition tax
   3   returns?                                                                                           X
       Are workers compensation, general liability or other necessary
   4   insurance coverages expired or cancelled, or has the debtor received
       notice of expiration or cancellation of such policies?                                             X

   5 Is the Debtor delinquent in paying any insurance premium payment?                                    X
     Have any payments been made on pre-petition liabilities this reporting
   6 period?                                                                                              X
     Are any post petition receivables (accounts, notes or loans) due from
   7 related parties?                                                                                    X
   8 Are any post petition payroll taxes past due?                                                       X
   9 Are any post petition State or Federal income taxes past due?                                       X
  10 Are any post petition real estate taxes past due?                                                   X
  11 Are any other post petition taxes past due?                                                         X
  12 Have any pre-petition taxes been paid during this reporting period?                                 X
  13 Are any amounts owed to post petition creditors delinquent?                                         X
  14 Are any wage payments past due?                                                                     X
     Have any post petition loans been been received by the Debtor from any
  15 party?                                                                                              X
  16 Is the Debtor delinquent in paying any U.S. Trustee fees?                                           X
     Is the Debtor delinquent with any court ordered payments to attorneys or
  17 other professionals?                                                                                X
     Have the owners or shareholders received any compensation outside of
  18 the normal course of business?                                                                      X




                                                                                                               FORM MOR-7
                                                                                                                     2/2008
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n re   NY Canteen Taxi Corp                                                                    Case No.         17-46644
       Debtor                                                                         Reporting Period:         2/1/2018-2/28/2018

                                   SCHEDULE OF CASH RECEIPTS AND DISBURSEMENTS

       Amounts reported should be from the debtor’s books and not the bank statement. The beginning cash should be the ending cash from the prior month
       or, if this is the first report, the amount should be the balance on the date the petition was filed. The amounts reported in the "CURRENT MONTH -
       ACTUAL” column must equal the sum of the four bank account columns. Attach copies of the bank statements and the cash disbursements journal.
       The total disbursements listed in the disbursements journal must equal the total disbursements reported on this page. A bank reconciliation must be
       attached for each account. [See MOR-1 (CON’T)]

                                                                                                             BANK ACCOUNTS
                                                                                             PAYROLL                   TAX                   OTHER            CURRENT MONTH
                                                                                                                                                             ACTUAL (TOTAL OF
                                                                 OPERATING
                                                                                                                                                              ALL ACCOUNTS)
       ACCOUNT NUMBER (LAST 4)                                      2170

       CASH BEGINNING OF MONTH                             $          11,566.57                                                                              $     11,566.57
       RECEIPTS
       CASH SALES                                          $           2,500.00                                                                              $      2,500.00
       ACCOUNTS RECEIVABLE -
       PREPETITION                                         $                  -                                                                              $            -
       ACCOUNTS RECEIVABLE -
       POSTPETITION                                        $                  -                                                                              $            -
       LOANS AND ADVANCES                                  $                 -                                                                               $                -
       SALE OF ASSETS                                      $                 -                                                                               $                -
       OTHER (ATTACH LIST)                                 $                 -                                                                               $                -
        TRANSFERS (FROM DIP ACCTS)                         $                 -
         TOTAL RECEIPTS                                    $           2,500.00                                                                              $      2,500.00
       DISBURSEMENTS
       NET PAYROLL                                         $                      -                                                                          $                -
       PAYROLL TAXES                                       $                      -                                                                          $                -
       SALES, USE, & OTHER TAXES                           $                      -                                                                          $                -
       INVENTORY PURCHASES                                 $                      -                                                                          $                -
       SECURED/ RENTAL/ LEASES                             $                      -                                                                          $                -
       INSURANCE                                           $                      -                                                                          $                -
       ADMINISTRATIVE                                      $                      -                                                                          $                -
       SELLING                                             $                      -                                                                          $                -
       OTHER (ATTACH LIST)                                 $                      -                                                                          $            -
       OWNER DRAW *                                        $                      -                                                                          $                -
       TRANSFERS (TO DIP ACCTS)                            $                      -                                                                          $                -
       PROFESSIONAL FEES                                   $                      -                                                                          $                -
       U.S. TRUSTEE QUARTERLY FEES                         $                  -                                                                              $            -
       COURT COSTS                                         $                      -                                                                          $                -
       TOTAL DISBURSEMENTS                                 $                      -                                                                          $                -

       NET CASH FLOW
       (RECEIPTS LESS DISBURSEMENTS) $                                 2,500.00                                                                              $      2,500.00

       CASH – END OF MONTH                                 $          14,066.57                                                                              $     14,066.57
       * COMPENSATION TO SOLE PROPRIETORS FOR SERVICES RENDERED TO BANKRUPTCY ESTATE


                                           THE FOLLOWI NG SECTI ON M UST BE COM PLETED
       DISBURSEMENTS FOR CALCULATING U.S. TRUSTEE QUARTERLY FEES: (FROM CURRENT MONTH ACTUAL COLUMN)

       TOTAL DISBURSEMENTS
         LESS: TRANSFERS TO OTHER DEBTOR IN
       POSSESSION ACCOUNTS                                                             $                                         -
         PLUS: ESTATE DISBURSEMENTS MADE BY
       OUTSIDE SOURCES (i.e. from escrow accounts)                                     $                                         -
       TOTAL DISBURSEMENTS FOR CALCULATING U.S.
       TRUSTEE QUARTERLY FEES                                                          $                                     -


                                                                                                                                                                 FORM MOR-1
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n re   NY Canteen Taxi Corp                                                   Case No. 17-46644
       Debtor                                                        Reporting Period: 2/1/2018-2/28/2018

                                                       BANK RECONCILIATIONS
       Continuation Sheet for MOR-1
       A bank reconciliation must be included for each bank account. The debtor's bank reconciliation may be substituted for this page.
       (Bank account numbers may be redacted to last four numbers.)


                                                Operating                      Payroll                    Tax                        Other
                                                   #2170              # - NA                    # - NA                     # - NA
       BALANCE PER
       BOOKS

       BANK BALANCE                      $            14,066.57
       (+) DEPOSITS IN                   $                   -
       TRANSIT (ATTACH
       LIST)
       (-) OUTSTANDING                   $                      -
       CHECKS (ATTACH
       LIST):
       OTHER (ATTACH                     $                      -
       EXPLANATION)

       ADJUSTED BANK
       BALANCE *                         $            14,066.57
       *"Adjusted Bank Balance" must equal "Balance per Books"


       DEPOSITS IN TRANSIT                          Date                       Amount                     Date                       Amount
       None




       CHECKS OUTSTANDING                          Ck. #                       Amount                     Ck. #                      Amount
       None




       OTHER




                                                                                                                                              FORM MOR-1 (CONT.)
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n re   NY Canteen Taxi Corp                                                                         Case No.            17-46644
       Debtor                                                                              Reporting Period:            2/1/2018-2/28/2018


                                      STATEMENT OF OPERATIONS (Income Statement)
       The Statement of Operations is to be prepared on an accrual basis. The accrual basis of accounting recognizes revenue
       when it is realized and expenses when they are incurred, regardless of when cash is actually received or paid.

                                          REVENUES                                                  MONTH               CUMULATIVE -FILING
                                                                                                                            TO DATE
       Gross Revenues                                                                       $             2,500.00 $              8,500.00
       Less: Returns and Allowances                                                         $                   - $                     -
       Net Revenue                                                                          $             2,500.00 $              8,500.00
       COST OF GOODS SOLD
       Beginning Inventory                                                                            NA
       Add: Purchases                                                                                 NA
       Add: Cost of Labor                                                                             NA
       Add: Other Costs (attach schedule)                                                             NA
       Less: Ending Inventory                                                                         NA
       Cost of Goods Sold                                                                             NA
       Gross Profit                                                                                   NA
       OPERATING EXPENSES
       Advertising                                                                                    NA
       Auto and Truck Expense                                                                         NA
       Bad Debts                                                                                      NA
       Contributions                                                                                  NA
       Employee Benefits Programs                                                                     NA
       Officer/Insider Compensation*                                                                  NA
       Insurance                                                                                      NA
       Management Fees/Bonuses                                                                        NA
       Office Expense                                                                                 NA
       Pension & Profit-Sharing Plans                                                                 NA
       Repairs and Maintenance                                                                        NA
       Rent and Lease Expense                                                                         NA
       Salaries/Commissions/Fees                                                                      NA
       Supplies                                                                                       NA
       Taxes - Payroll                                                                                NA
       Taxes - Real Estate                                                                            NA
       Taxes - Other                                                                                  NA
       Travel and Entertainment                                                                       NA
       Utilities                                                                                      NA
       Other (attach schedule)
       Total Operating Expenses Before Depreciation                                          $                     - $                  -
       Depreciation/Depletion/Amortization                                                            NA
       Net Profit (Loss) Before Other Income & Expenses                                     $              2,500.00 $             8,500.00
       OTHER INCOME AND EXPENSES
       Other Income (attach schedule)                                                       $                   -       $               -
       Interest Expense                                                                     $                   -       $               -
       Other Expense (attach schedule)                                                      $                   -       $               -
       Net Profit (Loss) Before Reorganization Items                                        $             2,500.00      $         8,500.00




                                                                                                                                            FORM MOR-2
                                                                                                                                                  2/2008
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n re   NY Canteen Taxi Corp                                                               Case No.       17-46644
       Debtor                                                                    Reporting Period:       2/1/2018-2/28/2018

        REORGANIZATION ITEMS
        Professional Fees                                                        $                 -    $                  -
        U. S. Trustee Quarterly Fees                                             $                 -    $              325.00
        Interest Earned on Accumulated Cash from Chapter 11 (see continuation
       sheet)                                                                        $                 - $                  -
        Gain (Loss) from Sale of Equipment                                       $                -     $                   -
        Other Reorganization Expenses (attach schedule)                          $                -     $               208.44
        Total Reorganization Expenses                                            $                -     $               533.44
        Income Taxes                                                             $                -     $                   -
        Net Profit (Loss)                                                        $          2,500.00    $             7,966.56
       *"Insider" is defined in 11 U.S.C. Section 101(31).


       BREAKDOWN OF “OTHER” CATEGORY

       OTHER COSTS
       NONE




       OTHER OPERATIONAL EXPENSES




       OTHER INCOME
       NONE



       OTHER EXPENSES
       NONE



       OTHER REORGANIZATION EXPENSES
       Checks - New DIP Accounts                                                 $                 -    $              208.44




       Reorganization Items - Interest Earned on Accumulated Cash from Chapter 11:
       Interest earned on cash accumulated during the chapter 11 case, which would not have been earned but for the
       bankruptcy proceeding, should be reported as a reorganization item.




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n re   NY Canteen Taxi Corp                                                                     Case No.                        17-46644
       Debtor                                                                          Reporting Period:               2/1/2018-2/28/2018

                                                                               BALANCE SHEET
       The Balance Sheet is to be completed on an accrual basis only. Pre-petition liabilities must be classified separately from post-petition obligations.

                                       ASSETS                                      BOOK VALUE AT END OF            BOOK VALUE AT END OF                 BOOK VALUE ON
                                                                                    CURRENT REPORTING                PRIOR REPORTING                   PETITION DATE OR
                                                                                         MONTH                           MONTH                           SCHEDULED
       CURRENT ASSETS
        Unrestricted Cash and Equivalents                                          $               14,066.57       $               11,566.57       $               6,100.01
        Restricted Cash and Cash Equivalents (see continuation                                                                                     $                    -
       sheet)                                                                      $                    -
        Accounts Receivable (Net)                                                  $                    -          $                    -          $              3,000.00
        Notes Receivable                                                           $             923,025.00        $             923,025.00        $            923,025.00
        Inventories                                                                NA                                                              NA
        Prepaid Expenses                                                           NA                                                              NA
        Professional Retainers                                                     $                    -                                          $                    -
        Other Current Assets (attach schedule)                                     $             750,000.00        $             750,000.00        $             750,000.00
        TOTAL CURRENT ASSETS                                                       $           1,687,091.57        $           1,684,591.57        $           1,682,125.01
       PROPERTY & EQUIPMENT
       Real Property and Improvements                                              $                       -       $                       -       $                    -
       Machinery and Equipment                                                     $                       -       $                       -       $                    -
       Furniture, Fixtures and Office Equipment                                    $                       -       $                       -       $                    -
       Leasehold Improvements                                                      $                       -       $                       -       $                    -
       Vehicles                                                                    $                       -       $                       -       $                    -
       Less: Accumulated Depreciation                                              $                       -       $                       -       $                    -
       TOTAL PROPERTY & EQUIPMENT                                                  $                       -       $                       -       $                    -
       OTHER ASSETS
       Amounts due from Insiders*                                                  $                       -       $                    -          $                    -
       Other Assets (attach schedule)                                                                              $                    -          $                    -
       TOTAL OTHER ASSETS                                                          $                    -          $                    -          $                    -
       TOTAL ASSETS                                                                $           1,687,091.57        $           1,684,591.57        $           1,682,125.01
                       LIABILITIES AND OWNER EQUITY                                BOOK VALUE AT END OF            BOOK VALUE AT END OF                 BOOK VALUE ON
                                                                                    CURRENT REPORTING                PRIOR REPORTING                    PETITION DATE
                                                                                         MONTH                           MONTH
       LIABILITIES NOT SUBJECT TO COMPROMISE (Postpetition)
       Accounts Payable                                                            $                       -       $                       -       $                    -
       Taxes Payable (refer to FORM MOR-4)                                         $                       -       $                       -       $                    -
       Wages Payable                                                               $                       -       $                       -       $                    -
       Notes Payable                                                               $                       -       $                       -       $                    -
       Rent / Leases - Building/Equipment                                          $                       -       $                       -       $                    -
       Secured Debt / Adequate Protection Payments                                 $                       -       $                       -       $                    -
       Professional Fees                                                           $                       -       $                       -       $                    -
       Amounts Due to Insiders*                                                    $                       -       $                       -       $                    -
       Other Post-petition Liabilities (attach schedule)                           $                       -       $                       -       $                    -
       TOTAL POST-PETITION LIABILITIES                                             $                       -       $                       -       $                    -
       LIABILITIES SUBJECT TO COMPROMISE (Pre-Petition)
       Secured Debt                                                                $           1,210,000.00        $           1,210,000.00        $           1,210,000.00
       Priority Debt
       Unsecured Debt
       TOTAL PRE-PETITION LIABILITIES                                              $           1,210,000.00        $           1,210,000.00        $           1,210,000.00
       TOTAL LIABILITIES                                                           $           1,210,000.00        $           1,210,000.00        $           1,210,000.00
       OWNERS' EQUITY
       Capital Stock
       Additional Paid-In Capital
       Partners' Capital Account
       Owner's Equity Account
       Retained Earnings - Pre-Petition
       Retained Earnings - Post-petition
       Adjustments to Owner Equity (attach schedule)
       Post-petition Contributions (attach schedule)
       NET OWNERS’ EQUITY
       TOTAL LIABILITIES AND OWNERS' EQUITY                                        $           1,687,091.57 $                  1,684,591.57 $                  1,682,125.01
       * "Insider" is defined in 11 U.S.C. Section 101(31).


                                                                                                                                                                              FORM MOR-3
                                                                                                                                                                                    2/2008
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n re   NY Canteen Taxi Corp                                                      Case No.                  17-46644
       Debtor                                                           Reporting Period:         2/1/2018-2/28/2018


       BALANCE SHEET - continuation section
                                 ASSETS                                BOOK VALUE AT END      BOOK VALUE AT END              BOOK VALUE ON
                                                                          OF CURRENT          OF PRIOR REPORTING             PETITION DATE
                                                                       REPORTING MONTH              MONTH
       Other Current Assets
       NYC Medallions - 2Y37 & 2Y38                                $             750,000.00   $             750,000.00   $           750,000.00




       Other Assets
       NA




                    LIABILITIES AND OWNER EQUITY                       BOOK VALUE AT END                                     BOOK VALUE ON
                                                                          OF CURRENT                                         PETITION DATE
                                                                       REPORTING MONTH
       Other Post-petition Liabilities
       NA




       Adjustments to Owner’s Equity
       NA



       Post-Petition Contributions
       NA




       Restricted Cash: Cash that is restricted for a specific use and not available to fund operations.
       Typically, restricted cash is segregated into a separate account, such as an escrow account.




                                                                                                                                                  FORM MOR-3
                                                                                                                                                        2/2008
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n re   NY Canteen Taxi Corp                                                                 Case No.            17-46644
       Debtor                                                                      Reporting Period:            2/1/2018-2/28/2018

                                                STATUS OF POST-PETITION TAXES

       The beginning tax liability should be the ending liability from the prior month or, if this is the first report, the
       amount should be zero.
       Attach photocopies of IRS Form 6123 or payment receipt to verify payment or deposit of federal payroll taxes.
       Attach photocopies of any tax returns filed during the reporting period.

                                                               Amount
                                                               Withheld
                                                Beginning       and/or           Amount                         Check # or    Ending
       Federal                                    Tax          Accrued            Paid          Date Paid         EFT          Tax
       Withholding                           NA
       FICA-Employee                         NA
       FICA-Employer                         NA
       Unemployment                          NA
       Income                                NA
       Other:_____________                   NA
         Total Federal Taxes                 NA
       State and Local
       Withholding                           NA
       Sales                                 NA
       Excise                                NA
       Unemployment                          NA
       Real Property                         NA
       Personal Property                     NA
       Other:_____________                   NA
        Total State and Local                NA


       Total Taxes                           NA


                                     SUMMARY OF UNPAID POST-PETITION DEBTS

       Attach aged listing of accounts payable.
                                                                                Number of Days Past Due
                                                 Current           0-30            31-60            61-90          Over 91     Total
       Accounts Payable                     $              -
       Wages Payable                        $              -
       Taxes Payable                        $              -
       Rent/Leases-Building                 $              -
       Rent/Leases-Equipment                $              -
       Secured Debt/Adequate
       Protection Payments                  $              -
       Professional Fees                    $              -
        Amounts Due to Insiders             $              -
       Other:______________                 $              -
       Other:______________                 $              -
        Total Post-petition Debts           $              -

       Explain how and when the Debtor intends to pay any past due post-petition debts.



                                                                                                                                       FORM MOR-4
                                                                                                                                             2/2008
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n re   NY Canteen Taxi Corp                                                                      Case No.    17-46644
       Debtor                                                                           Reporting Period:    2/1/2018-2/28/2018


                                              ACCOUNTS RECEIVABLE RECONCILIATION AND AGING

                          Accounts Receivable Reconciliation                                  Amount
       Total Accounts Receivable at the beginning of the reporting period                $             -
       Plus: Amounts billed during the period                                            $        2,500.00
       Less: Amounts collected during the period                                         $        2,500.00
       Total Accounts Receivable at the end of the reporting period                      $             -


       Accounts Receivable Aging                                    0-30 Days                31-60 Days          61-90 Days           91+ Days           Total
       0 - 30 days old                                         $                    -                                                                $           -
       31 - 60 days old                                        $                    -                                                                $           -
       61 - 90 days old                                        $                    -                                                                $           -
       91+ days old                                            $                    -                                                                $           -
       Total Accounts Receivable                               $                -                                                                    $           -

       Less: Bad Debts (Amount considered uncollectible)       $                    -                                                                $           -

       Net Accounts Receivable                                 $                    -                                                                $           -


                                                           TAXES RECONCILIATION AND AGING

       Taxes Payable                                                0-30 Days                31-60 Days          61-90 Days           91+ Days           Total
       0 - 30 days old                                         $                    -    $             -     $                -
       31 - 60 days old                                        $                    -    $             -     $                -   $              -   $           -
       61 - 90 days old                                        $                    -    $             -     $                -   $              -   $           -
       91+ days old                                            $                    -    $             -     $                -   $              -   $           -
       Total Taxes Payable                                     $                    -    $             -     $                -   $              -   $           -
       Total Accounts Payable                                  $                    -    $             -     $                -   $              -   $           -




                                                                                                                                                            FORM MOR-5
                                                                                                                                                                  2/2008
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n re   NY Canteen Taxi Corp                                                Case No.           17-46644
       Debtor                                                     Reporting Period:           2/1/2018-2/28/2018


                                              PAYMENTS TO INSIDERS AND PROFESSIONALS

       Of the total disbursements shown on the Cash Receipts and Disbursements Report (MOR-1) list the amount paid to insiders (as defined in
       Section 101(31) (A)-(F) of the U.S. Bankruptcy Code) and to professionals. For payments to insiders, identify the type of compensation paid
       (e.g. Salary, Bonus, Commissions, Insurance, Housing Allowance, Travel, Car Allowance, Etc.). Attach additional sheets if necessary.


                                                       INSIDERS
                                                                                                  TOTAL PAID TO
                   NAME                   TYPE OF PAYMENT              AMOUNT PAID                   DATE
       NONE                              $                  -      $                  -       $                 -




                           TOTAL PAYMENTS TO INSIDERS




                                                                           PROFESSIONALS
                                             DATE OF COURT
                                                ORDER
                                             AUTHORIZING                                                                   TOTAL PAID TO             TOTAL INCURRED &
                   NAME                        PAYMENT             AMOUNT APPROVED                AMOUNT PAID                 DATE                       UNPAID*
       NONE                              NA




                   TOTAL PAYMENTS TO PROFESSIONALS
       * INCLUDE ALL FEES INCURRED, BOTH APPROVED AND UNAPPROVED



           POST-PETITION STATUS OF SECURED NOTES, LEASES PAYABLE
                    AND ADEQUATE PROTECTION PAYMENTS

                                           SCHEDULED
                                        MONTHLY PAYMENT                 AMOUNT PAID          TOTAL UNPAID POST-
           NAME OF CREDITOR                   DUE                      DURING MONTH              PETITION
       None




                                           TOTAL PAYMENTS




                                                                                                                                                              FORM MOR-6
                                                                                                                                                                    2/2008
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n re    NY Canteen Taxi Corp                                                               Case No.   17-46644
        Debtor                                                                    Reporting Period:   2/1/2018-2/28/2018



                                            DEBTOR QUESTIONNAIRE
         Must be completed each month. If the answer to any of the                       Yes                 No
        questions is “Yes”, provide a detailed explanation of each item.
        Attach additional sheets if necessary.
         Have any assets been sold or transferred outside the normal course of
  ###   business this reporting period?                                                                      X
         Have any funds been disbursed from any account other than a debtor in
  ###   possession account this reporting period?                                                            X
         Is the Debtor delinquent in the timely filing of any post-petition tax
  ###   returns?                                                                                             X
         Are workers compensation, general liability or other necessary
  ###   insurance coverages expired or cancelled, or has the debtor received
        notice of expiration or cancellation of such policies?                                               X

  ### Is the Debtor delinquent in paying any insurance premium payment?                                      X
       Have any payments been made on pre-petition liabilities this reporting
  ### period?                                                                                                X
       Are any post petition receivables (accounts, notes or loans) due from
  ### related parties?                                                                                       X
  ### Are any post petition payroll taxes past due?                                                          X
  ### Are any post petition State or Federal income taxes past due?                                          X
  ### Are any post petition real estate taxes past due?                                                      X
  ### Are any other post petition taxes past due?                                                            X
  ### Have any pre-petition taxes been paid during this reporting period?                                    X
  ### Are any amounts owed to post petition creditors delinquent?                                            X
  ### Are any wage payments past due?                                                                        X
       Have any post petition loans been been received by the Debtor from
  ### any party?                                                                                             X
  ### Is the Debtor delinquent in paying any U.S. Trustee fees?                                              X
       Is the Debtor delinquent with any court ordered payments to attorneys
  ### or other professionals?                                                                                X
       Have the owners or shareholders received any compensation outside of
  ### the normal course of business?                                                                         X




                                                                                                                   FORM MOR-7
                                                                                                                         2/2008
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In re NY Energy Taxi Corp                                                                       Case No. 17-46645
      Debtor                                                                           Reporting Period: 2/1/2018-2/28/2018

                                  SCHEDULE OF CASH RECEIPTS AND DISBURSEMENTS

     Amounts reported should be from the debtor’s books and not the bank statement. The beginning cash should be the ending cash from the prior month
     or, if this is the first report, the amount should be the balance on the date the petition was filed. The amounts reported in the "CURRENT MONTH -
     ACTUAL” column must equal the sum of the four bank account columns. Attach copies of the bank statements and the cash disbursements journal.
     The total disbursements listed in the disbursements journal must equal the total disbursements reported on this page. A bank reconciliation must be
     attached for each account. [See MOR-1 (CON’T)]

                                                                                                             BANK ACCOUNTS
                                                                                            PAYROLL                    TAX                  OTHER           CURRENT MONTH
                                                                                                                                                           ACTUAL (TOTAL OF
                                                                OPERATING
                                                                                                                                                             ALL ACCOUNTS)
     ACCOUNT NUMBER (LAST 4)                                       2261

     CASH BEGINNING OF MONTH                               $           9,558.57                                                                            $      9,558.57
     RECEIPTS
     CASH SALES                                           $            2,500.00                                                                            $      2,500.00
     ACCOUNTS RECEIVABLE -
     PREPETITION                                                                                                                                           $             -
     ACCOUNTS RECEIVABLE -                                                         0                                                                                         0
     POSTPETITION
     LOANS AND ADVANCES                                                        0                                                                                             0
     SALE OF ASSETS                                                            0                                                                                             0
     OTHER (ATTACH LIST)                                                       0                                                                                             0
     TRANSFERS (FROM DIP ACCTS)                                                0
       TOTAL RECEIPTS                                     $            2,500.00                                                                            $      2,500.00
     DISBURSEMENTS
     NET PAYROLL                                                                   0                                                                                         0
     PAYROLL TAXES                                                                 0                                                                                         0
     SALES, USE, & OTHER TAXES                                                     0                                                                                         0
     INVENTORY PURCHASES                                                           0                                                                                         0
     SECURED/ RENTAL/ LEASES                                                       0                                                                                         0
     INSURANCE                                                                     0                                                                                         0
     ADMINISTRATIVE                                                                0                                                                                         0
     SELLING                                                                       0                                                                                         0
     OTHER (ATTACH LIST)                                  $                    -                                                                           $             -
     OWNER DRAW *                                                                  0                                                                                         0
     TRANSFERS (TO DIP ACCTS)                                                      0                                                                                         0
     PROFESSIONAL FEES                                                             0                                                                                         0
     U.S. TRUSTEE QUARTERLY FEES                          $                    -                                                                           $             -
     COURT COSTS                                                                   0                                                                                         0
     TOTAL DISBURSEMENTS                                  $                    -                                                                           $             -

     NET CASH FLOW
     (RECEIPTS LESS DISBURSEMENTS) $                                   2,500.00                                                                                              0

     CASH – END OF MONTH                                  $          12,058.57                                                                             $     12,058.57
     * COMPENSATION TO SOLE PROPRIETORS FOR SERVICES RENDERED TO BANKRUPTCY ESTATE


                                          THE FOLLOWI NG SECTI ON MUST BE COMPLETED
     DISBURSEMENTS FOR CALCULATING U.S. TRUSTEE QUARTERLY FEES: (FROM CURRENT MONTH ACTUAL COLUMN)

     TOTAL DISBURSEMENTS
       LESS: TRANSFERS TO OTHER DEBTOR IN
     POSSESSION ACCOUNTS                                                                $                                       -
       PLUS: ESTATE DISBURSEMENTS MADE BY
     OUTSIDE SOURCES (i.e. from escrow accounts)                                        $                                       -
     TOTAL DISBURSEMENTS FOR CALCULATING U.S.
     TRUSTEE QUARTERLY FEES                                                             $                                       -


                                                                                                                                                                 FORM MOR-1
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In re NY Energy Taxi Corp                                                    Case No. 17-46645
      Debtor                                                        Reporting Period: 2/1/2018-2/28/2018

                                                      BANK RECONCILIATIONS
     Continuation Sheet for MOR-1
     A bank reconciliation must be included for each bank account. The debtor's bank reconciliation may be substituted for this page.
     (Bank account numbers may be redacted to last four numbers.)


                                              Operating                      Payroll                     Tax                        Other
                                                 #2261              # - NA                    # - NA                     # - NA
     BALANCE PER
     BOOKS

     BANK BALANCE                      $             12,058.57
     (+) DEPOSITS IN                   $                    -
     TRANSIT (ATTACH
     LIST)
     (-) OUTSTANDING                   $                      -
     CHECKS (ATTACH
     LIST) :
     OTHER (ATTACH                     $                      -
     EXPLANATION)

     ADJUSTED BANK
     BALANCE *                           $            12,058.57
     *"Adjusted Bank Balance" must equal "Balance per Books"


     DEPOSITS IN TRANSIT                          Date                       Amount                      Date                      Amount
     None




     CHECKS OUTSTANDING                           Ck. #                      Amount                      Ck. #                     Amount
     None




     OTHER




                                                                                                                                            FORM MOR-1 (CONT.)
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NY Energy Taxi Corp                                                                           Case No. 17-46645
Debtor                                                                               Reporting Period: 2/1/2018-2/28/2018


                                STATEMENT OF OPERATIONS (Income Statement)
The Statement of Operations is to be prepared on an accrual basis. The accrual basis of accounting recognizes revenue
when it is realized and expenses when they are incurred, regardless of when cash is actually received or paid.

                                    REVENUES                                                 MONTH               CUMULATIVE -FILING
                                                                                                                     TO DATE
Gross Revenues                                                                       $              2,500.00 $             5,000.00
Less: Returns and Allowances                                                                                0                      0
Net Revenue                                                                          $              2,500.00 $             5,000.00
COST OF GOODS SOLD
Beginning Inventory                                                                             NA
Add: Purchases                                                                                  NA
Add: Cost of Labor                                                                              NA
Add: Other Costs (attach schedule)                                                              NA
Less: Ending Inventory                                                                          NA
Cost of Goods Sold                                                                              NA
Gross Profit                                                                                    NA
OPERATING EXPENSES
Advertising                                                                                     NA
Auto and Truck Expense                                                                          NA
Bad Debts                                                                                       NA
Contributions                                                                                   NA
Employee Benefits Programs                                                                      NA
Officer/Insider Compensation*                                                                   NA
Insurance                                                                                       NA
Management Fees/Bonuses                                                                         NA
Office Expense                                                                                  NA
Pension & Profit-Sharing Plans                                                                  NA
Repairs and Maintenance                                                                         NA
Rent and Lease Expense                                                                          NA
Salaries/Commissions/Fees                                                                       NA
Supplies                                                                                        NA
Taxes - Payroll                                                                                 NA
Taxes - Real Estate                                                                             NA
Taxes - Other                                                                                   NA
Travel and Entertainment                                                                        NA
Utilities                                                                                       NA
Other (attach schedule)                                                                         NA
Total Operating Expenses Before Depreciation                                                    NA
Depreciation/Depletion/Amortization                                                             NA
Net Profit (Loss) Before Other Income & Expenses                                                NA
OTHER INCOME AND EXPENSES
Other Income (attach schedule)                                                                               0                    0
Interest Expense                                                                                             0                    0
Other Expense (attach schedule)                                                                              0                    0
Net Profit (Loss) Before Reorganization Items                                                                0                    0




                                                                                                                                       FORM MOR-2
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NY Energy Taxi Corp                                                                Case No. 17-46645
Debtor                                                                    Reporting Period: 2/1/2018-2/28/2018

REORGANIZATION ITEMS
Professional Fees                                                                                0                    0
U. S. Trustee Quarterly Fees                                              $                  -       $          325.00
Interest Earned on Accumulated Cash from Chapter 11 (see continuation
sheet)                                                                                           .                    0
Gain (Loss) from Sale of Equipment                                                               0                     0
Other Reorganization Expenses (attach schedule)                           $                  -       $           208.44
Total Reorganization Expenses                                             $                  -                    533.44
Income Taxes                                                                                  0                        0
Net Profit (Loss)                                                         $           2,500.00 $               4,466.56
*"Insider" is defined in 11 U.S.C. Section 101(31).


BREAKDOWN OF “OTHER” CATEGORY

OTHER COSTS
NONE




OTHER OPERATIONAL EXPENSES
NONE




OTHER INCOME
NONE



OTHER EXPENSES
NONE



OTHER REORGANIZATION EXPENSES
Checks - New DIP Account                                                  $                  -                   208.44




Reorganization Items - Interest Earned on Accumulated Cash from Chapter 11:
Interest earned on cash accumulated during the chapter 11 case, which would not have been earned but for the
bankruptcy proceeding, should be reported as a reorganization item.




                                                                                                                           FORM MOR-2
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In re NY Energy Taxi Corp                                                                      Case No.                        17-46645
      Debtor                                                                          Reporting Period:               2/1/2018-2/28/2018

                                                                              BALANCE SHEET
     The Balance Sheet is to be completed on an accrual basis only. Pre-petition liabilities must be classified separately from post-petition obligations.

                                      ASSETS                                      BOOK VALUE AT END OF            BOOK VALUE AT END OF            BOOK VALUE ON PETITION
                                                                                   CURRENT REPORTING                PRIOR REPORTING                 DATE OR SCHEDULED
                                                                                         MONTH                           MONTH
     CURRENT ASSETS
     Unrestricted Cash and Equivalents                                            $              12,058.57        $                9,558.57       $              7,592.01
     Restricted Cash and Cash Equivalents (see continuation
     sheet)                                                                                              0                                    0                          0
     Accounts Receivable (Net)                                                   $                    -                                   $                           -
     Notes Receivable                                                            $           1,067,902.00 $                  1,067,902.00 $                  1,067,902.00
     Inventories                                                                 NA                                                       NA
     Prepaid Expenses                                                            NA                                                       NA
     Professional Retainers                                                                              0                                                               0
     Other Current Assets (attach schedule)                                       $            750,000.00 $                    750,000.00         $            750,000.00
     TOTAL CURRENT ASSETS                                                         $          1,829,960.57 $                  1,827,460.57         $          1,825,494.01
     PROPERTY & EQUIPMENT
     Real Property and Improvements                                                                           0                                                         0
     Machinery and Equipment                                                                                  0                                                         0
     Furniture, Fixtures and Office Equipment                                                                 0                                                         0
     Leasehold Improvements                                                                                   0                                                         0
     Vehicles                                                                                                 0                                                         0
     Less: Accumulated Depreciation                                                                           0                                                         0
     TOTAL PROPERTY & EQUIPMENT                                                                               0                                                         0
     OTHER ASSETS
     Amounts due from Insiders*                                                                          0                                                               0
     Other Assets (attach schedule)                                                                      0                                                               0
     TOTAL OTHER ASSETS                                                                                  0                                                               0
     TOTAL ASSETS                                                                 $          1,829,960.57 $                  1,827,460.57         $          1,825,494.01
                      LIABILITIES AND OWNER EQUITY                                BOOK VALUE AT END OF            BOOK VALUE AT END OF            BOOK VALUE ON PETITION
                                                                                   CURRENT REPORTING                PRIOR REPORTING                       DATE
                                                                                         MONTH                           MONTH
     LIABILITIES NOT SUBJECT TO COMPROMISE (Postpetition)
     Accounts Payable                                                                                         0                                                         0
     Taxes Payable (refer to FORM MOR-4)                                                                      0                                                         0
     Wages Payable                                                                                            0                                                         0
     Notes Payable                                                                                            0                                                         0
     Rent / Leases - Building/Equipment                                                                       0                                                         0
     Secured Debt / Adequate Protection Payments                                                              0                                                         0
     Professional Fees                                                                                        0                                                         0
     Amounts Due to Insiders*                                                                                 0                                                         0
     Other Post-petition Liabilities (attach schedule)                                                        0                                                         0
     TOTAL POST-PETITION LIABILITIES                                                                          0                                                         0
     LIABILITIES SUBJECT TO COMPROMISE (Pre-Petition)
     Secured Debt                                                                 $          1,210,000.00         $          1,210,000.00         $          1,210,000.00
     Priority Debt
     Unsecured Debt
     TOTAL PRE-PETITION LIABILITIES                                               $          1,210,000.00         $          1,210,000.00         $          1,210,000.00
     TOTAL LIABILITIES                                                            $          1,210,000.00         $          1,210,000.00         $          1,210,000.00
     OWNERS' EQUITY
     Capital Stock
     Additional Paid-In Capital
     Partners' Capital Account
     Owner's Equity Account
     Retained Earnings - Pre-Petition
     Retained Earnings - Post-petition
     Adjustments to Owner Equity (attach schedule)
     Post-petition Contributions (attach schedule)
     NET OWNERS’ EQUITY
     TOTAL LIABILITIES AND OWNERS' EQUITY                                        $            1,829,960.57 $                  1,827,460.57 $                 1,825,494.01
     * "Insider" is defined in 11 U.S.C. Section 101(31).


                                                                                                                                                                             FORM MOR-3
                                                                                                                                                                                   2/2008
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In re NY Energy Taxi Corp                                                        Case No.                 17-46645
      Debtor                                                            Reporting Period:        2/1/2018-2/28/2018


     BALANCE SHEET - continuation section
                                  ASSETS                              BOOK VALUE AT END      BOOK VALUE AT END             BOOK VALUE ON
                                                                         OF CURRENT          OF PRIOR REPORTING            PETITION DATE
                                                                      REPORTING MONTH              MONTH
     Other Current Assets
     NYC Medallions 2Y39 & 2Y43                                   $             750,000.00   $            750,000.00   $           750,000.00




     Other Assets
     NA




                  LIABILITIES AND OWNER EQUITY                        BOOK VALUE AT END                                    BOOK VALUE ON
                                                                         OF CURRENT                                        PETITION DATE
                                                                      REPORTING MONTH
     Other Post-petition Liabilities
     NA




     Adjustments to Owner’s Equity
     NA



     Post-Petition Contributions
     NA




     Restricted Cash: Cash that is restricted for a specific use and not available to fund operations.
     Typically, restricted cash is segregated into a separate account, such as an escrow account.




                                                                                                                                                FORM MOR-3
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In re NY Energy Taxi Corp                                                                  Case No. 17-46645
      Debtor                                                                      Reporting Period: 2/1/2018-2/28/2018

                                             STATUS OF POST-PETITION TAXES

     The beginning tax liability should be the ending liability from the prior month or, if this is the first report, the
     amount should be zero.
     Attach photocopies of IRS Form 6123 or payment receipt to verify payment or deposit of federal payroll taxes.
     Attach photocopies of any tax returns filed during the reporting period.

                                                              Amount
                                                              Withheld
                                            Beginning          and/or          Amount                           Check # or
     Federal                                  Tax             Accrued           Paid           Date Paid          EFT      Ending Tax
     Withholding                           NA
     FICA-Employee                         NA
     FICA-Employer                         NA
     Unemployment                          NA
     Income                                NA
     Other:_____________                   NA
       Total Federal Taxes                 NA
     State and Local
     Withholding                           NA
     Sales                                 NA
     Excise                                NA
     Unemployment                          NA
     Real Property                         NA
     Personal Property                     NA
     Other:_____________                   NA
      Total State and Local                NA


     Total Taxes                           NA


                                    SUMMARY OF UNPAID POST-PETITION DEBTS

     Attach aged listing of accounts payable.
                                                                              Number of Days Past Due
                                                Current          0-30            31-60            61-90           Over 91       Total
     Accounts Payable                                     0               0                0                0               0           0
     Wages Payable                                        0               0                0                0               0           0
     Taxes Payable                                        0               0                0                0               0           0
     Rent/Leases-Building                                 0               0                0                0               0           0
     Rent/Leases-Equipment                                0               0                0                0               0           0
     Secured Debt/Adequate
     Protection Payments                                  0               0                0                0               0           0
     Professional Fees                                    0               0                0                0               0           0
     Amounts Due to Insiders                              0               0                0                0               0           0
     Other:______________                                 0               0                0                0               0           0
     Other:______________                                 0               0                0                0               0           0
     Total Post-petition Debts                            0               0                0                0               0           0

     Explain how and when the Debtor intends to pay any past due post-petition debts.



                                                                                                                                            FORM MOR-4
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In re NY Energy Taxi Corp                                                                      Case No. 17-46645
      Debtor                                                                          Reporting Period: 2/1/2018-2/28/2018


                                            ACCOUNTS RECEIVABLE RECONCILIATION AND AGING

                        Accounts Receivable Reconciliation                                 Amount
     Total Accounts Receivable at the beginning of the reporting period               $             -
     Plus: Amounts billed during the period                                           $        2,500.00
     Less: Amounts collected during the period                                        $        2,500.00
     Total Accounts Receivable at the end of the reporting period                     $             -


     Accounts Receivable Aging                                    0-30 Days               31-60 Days        61-90 Days       91+ Days           Total
     0 - 30 days old                                          $               -                                                             $           -
     31 - 60 days old                                                             0                                                         $           -
     61 - 90 days old                                                             0                                                         $           -
     91+ days old                                                                 0                                                         $           -
     Total Accounts Receivable                                $               -                                                             $           -
                                                              $               -
     Less: Bad Debts (Amount considered uncollectible)                            0                                                                         0

     Net Accounts Receivable                                  $               -                                                             $           -


                                                          TAXES RECONCILIATION AND AGING

     Taxes Payable                                                0-30 Days               31-60 Days        61-90 Days       91+ Days           Total
     0 - 30 days old                                                              0                    0                 0
     31 - 60 days old                                                             0                    0                 0              0                   0
     61 - 90 days old                                                             0                    0                 0              0                   0
     91+ days old                                                                 0                    0                 0              0                   0
     Total Taxes Payable                                                          0                    0                 0              0                   0
     Total Accounts Payable                                                       0                    0                 0              0                   0



                                                                                                                                                   FORM MOR-5
                                                                                                                                                         2/2008
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In re NY Energy Taxi Corp                                                  Case No. 17-46645
      Debtor                                                      Reporting Period: 2/1/2018-2/28/2018


                                            PAYMENTS TO INSIDERS AND PROFESSIONALS

     Of the total disbursements shown on the Cash Receipts and Disbursements Report (MOR-1) list the amount paid to insiders (as defined in
     Section 101(31) (A)-(F) of the U.S. Bankruptcy Code) and to professionals. For payments to insiders, identify the type of compensation paid
     (e.g. Salary, Bonus, Commissions, Insurance, Housing Allowance, Travel, Car Allowance, Etc.). Attach additional sheets if necessary.


                                                     INSIDERS

                  NAME                  TYPE OF PAYMENT              AMOUNT PAID            TOTAL PAID TO DATE
     NONE                                                     0                         0                          0




                           TOTAL PAYMENTS TO INSIDERS




                                                                          PROFESSIONALS
                                          DATE OF COURT
                                             ORDER
                                           AUTHORIZING                                                                                             TOTAL INCURRED &
                  NAME                      PAYMENT               AMOUNT APPROVED              AMOUNT PAID             TOTAL PAID TO DATE              UNPAID*
     NONE                              NA




                   TOTAL PAYMENTS TO PROFESSIONALS
     * INCLUDE ALL FEES INCURRED, BOTH APPROVED AND UNAPPROVED



          POST-PETITION STATUS OF SECURED NOTES, LEASES PAYABLE
                   AND ADEQUATE PROTECTION PAYMENTS

                                          SCHEDULED
                                       MONTHLY PAYMENT               AMOUNT PAID            TOTAL UNPAID POST-
         NAME OF CREDITOR                    DUE                    DURING MONTH                PETITION
     None




                                          TOTAL PAYMENTS




                                                                                                                                                            FORM MOR-6
                                                                                                                                                                  2/2008
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In re NY Energy Taxi Corp                                                                Case No. 17-46645
      Debtor                                                                    Reporting Period: 2/1/2018-2/28/2018



                                          DEBTOR QUESTIONNAIRE
       Must be completed each month. If the answer to any of the                      Yes                No
       questions is “Yes”, provide a detailed explanation of each item.
       Attach additional sheets if necessary.
       Have any assets been sold or transferred outside the normal course of
   1   business this reporting period?                                                                    X
       Have any funds been disbursed from any account other than a debtor in
   2   possession account this reporting period?                                                          X
       Is the Debtor delinquent in the timely filing of any post-petition tax
   3   returns?                                                                                           X
       Are workers compensation, general liability or other necessary
   4   insurance coverages expired or cancelled, or has the debtor received
       notice of expiration or cancellation of such policies?                                             X

   5 Is the Debtor delinquent in paying any insurance premium payment?                                    X
     Have any payments been made on pre-petition liabilities this reporting
   6 period?                                                                                              X
     Are any post petition receivables (accounts, notes or loans) due from
   7 related parties?                                                                                    X
   8 Are any post petition payroll taxes past due?                                                       X
   9 Are any post petition State or Federal income taxes past due?                                       X
  10 Are any post petition real estate taxes past due?                                                   X
  11 Are any other post petition taxes past due?                                                         X
  12 Have any pre-petition taxes been paid during this reporting period?                                 X
  13 Are any amounts owed to post petition creditors delinquent?                                         X
  14 Are any wage payments past due?                                                                     X
     Have any post petition loans been been received by the Debtor from any
  15 party?                                                                                              X
  16 Is the Debtor delinquent in paying any U.S. Trustee fees?                                           X
     Is the Debtor delinquent with any court ordered payments to attorneys or
  17 other professionals?                                                                                X
     Have the owners or shareholders received any compensation outside of
  18 the normal course of business?                                                                      X




                                                                                                               FORM MOR-7
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In re NY Genesis Taxi Corp                                                                      Case No. 17-46617
      Debtor                                                                           Reporting Period: 2/1/2018-2/28/2018

                                  SCHEDULE OF CASH RECEIPTS AND DISBURSEMENTS

     Amounts reported should be from the debtor’s books and not the bank statement. The beginning cash should be the ending cash from the prior month
     or, if this is the first report, the amount should be the balance on the date the petition was filed. The amounts reported in the "CURRENT MONTH -
     ACTUAL” column must equal the sum of the four bank account columns. Attach copies of the bank statements and the cash disbursements journal.
     The total disbursements listed in the disbursements journal must equal the total disbursements reported on this page. A bank reconciliation must be
     attached for each account. [See MOR-1 (CON’T)]

                                                                                                             BANK ACCOUNTS
                                                                                            PAYROLL                    TAX                  OTHER           CURRENT MONTH
                                                                                                                                                           ACTUAL (TOTAL OF
                                                                OPERATING
                                                                                                                                                             ALL ACCOUNTS)
     ACCOUNT NUMBER (LAST 4)                                       2310

     CASH BEGINNING OF MONTH                               $           3,366.56                                                                            $      3,366.56
     RECEIPTS
     CASH SALES                                           $            1,400.00                                                                            $      1,400.00
     ACCOUNTS RECEIVABLE -
     PREPETITION                                          $                    -                                                                           $             -
     ACCOUNTS RECEIVABLE -
     POSTPETITION                                         $            2,000.00                                                                            $      2,000.00
     LOANS AND ADVANCES                                                        0                                                                                          0
     SALE OF ASSETS                                                            0                                                                                          0
     OTHER (ATTACH LIST)                                                       0                                                                                          0
     TRANSFERS (FROM DIP ACCTS)                                                0
       TOTAL RECEIPTS                                     $            1,400.00                                                                            $      1,400.00
     DISBURSEMENTS
     NET PAYROLL                                                                   0                                                                                         0
     PAYROLL TAXES                                                                 0                                                                                         0
     SALES, USE, & OTHER TAXES                                                     0                                                                                         0
     INVENTORY PURCHASES                                                           0                                                                                         0
     SECURED/ RENTAL/ LEASES                                                       0                                                                                         0
     INSURANCE                                                                     0                                                                                         0
     ADMINISTRATIVE                                                                0                                                                                         0
     SELLING                                                                       0                                                                                         0
     OTHER (ATTACH LIST)                                  $                    -                                                                           $             -
     OWNER DRAW *                                                                  0                                                                                         0
     TRANSFERS (TO DIP ACCTS)                                                      0                                                                                         0
     PROFESSIONAL FEES                                                             0                                                                                         0
     U.S. TRUSTEE QUARTERLY FEES                          $                    -                                                                           $             -
     COURT COSTS                                                                   0                                                                                         0
     TOTAL DISBURSEMENTS                                  $                    -                                                                           $             -

     NET CASH FLOW
     (RECEIPTS LESS DISBURSEMENTS) $                                   1,400.00                                                                            $      1,400.00

     CASH – END OF MONTH                                  $            4,766.56                                                                            $      4,766.56
     * COMPENSATION TO SOLE PROPRIETORS FOR SERVICES RENDERED TO BANKRUPTCY ESTATE


                                          THE FOLLOWI NG SECTI ON MUST BE COMPLETED
     DISBURSEMENTS FOR CALCULATING U.S. TRUSTEE QUARTERLY FEES: (FROM CURRENT MONTH ACTUAL COLUMN)

     TOTAL DISBURSEMENTS
       LESS: TRANSFERS TO OTHER DEBTOR IN
     POSSESSION ACCOUNTS                                                                $                                       -
       PLUS: ESTATE DISBURSEMENTS MADE BY
     OUTSIDE SOURCES (i.e. from escrow accounts)                                        $                                       -
     TOTAL DISBURSEMENTS FOR CALCULATING U.S.
     TRUSTEE QUARTERLY FEES                                                             $                                       -


                                                                                                                                                                 FORM MOR-1
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In re NY Genesis Taxi Corp                                                    Case No. 17-46617
      Debtor                                                         Reporting Period: 2/1/2018-2/28/2018

                                                      BANK RECONCILIATIONS
     Continuation Sheet for MOR-1
     A bank reconciliation must be included for each bank account. The debtor's bank reconciliation may be substituted for this page.
     (Bank account numbers may be redacted to last four numbers.)


                                              Operating                       Payroll                    Tax                        Other
                                                 #2310               # - NA                   # - NA                     # - NA
     BALANCE PER
     BOOKS

     BANK BALANCE                      $               4,766.56
     (+) DEPOSITS IN                   $                     -
     TRANSIT (ATTACH
     LIST)
     (-) OUTSTANDING                   $                       -
     CHECKS (ATTACH
     LIST) :
     OTHER (ATTACH                     $                       -
     EXPLANATION)

     ADJUSTED BANK
     BALANCE *                          $                 4,766.56
     *"Adjusted Bank Balance" must equal "Balance per Books"


     DEPOSITS IN TRANSIT                          Date                        Amount                     Date                      Amount
     None




     CHECKS OUTSTANDING                           Ck. #                       Amount                     Ck. #                     Amount
     None




     OTHER




                                                                                                                                            FORM MOR-1 (CONT.)
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In re NY Genesis Taxi Corp                                                                         Case No. 17-46617
      Debtor                                                                              Reporting Period: 2/1/2018-2/28/2018


                                     STATEMENT OF OPERATIONS (Income Statement)
     The Statement of Operations is to be prepared on an accrual basis. The accrual basis of accounting recognizes revenue
     when it is realized and expenses when they are incurred, regardless of when cash is actually received or paid.

                                         REVENUES                                                 MONTH               CUMULATIVE -FILING
                                                                                                                          TO DATE
     Gross Revenues                                                                       $              1,400.00 $             2,800.00
     Less: Returns and Allowances                                                         $                    - $                    -
     Net Revenue                                                                          $              1,400.00 $             2,800.00
     COST OF GOODS SOLD
     Beginning Inventory                                                                             NA
     Add: Purchases                                                                                  NA
     Add: Cost of Labor                                                                              NA
     Add: Other Costs (attach schedule)                                                              NA
     Less: Ending Inventory                                                                          NA
     Cost of Goods Sold                                                                              NA
     Gross Profit                                                                                    NA
     OPERATING EXPENSES
     Advertising                                                                                     NA
     Auto and Truck Expense                                                                          NA
     Bad Debts                                                                                       NA
     Contributions                                                                                   NA
     Employee Benefits Programs                                                                      NA
     Officer/Insider Compensation*                                                                   NA
     Insurance                                                                                       NA
     Management Fees/Bonuses                                                                         NA
     Office Expense                                                                                  NA
     Pension & Profit-Sharing Plans                                                                  NA
     Repairs and Maintenance                                                                         NA
     Rent and Lease Expense                                                                          NA
     Salaries/Commissions/Fees                                                                       NA
     Supplies                                                                                        NA
     Taxes - Payroll                                                                                 NA
     Taxes - Real Estate                                                                             NA
     Taxes - Other                                                                                   NA
     Travel and Entertainment                                                                        NA
     Utilities                                                                                       NA
     Other (attach schedule)                                                                         NA
     Total Operating Expenses Before Depreciation                                                    NA
     Depreciation/Depletion/Amortization                                                             NA
     Net Profit (Loss) Before Other Income & Expenses                                      $              1,400.00 $            2,800.00
     OTHER INCOME AND EXPENSES
     Other Income (attach schedule)                                                                              0                      0
     Interest Expense                                                                                            0                      0
     Other Expense (attach schedule)                                                                             0                      0
     Net Profit (Loss) Before Reorganization Items                                        $              1,400.00 $             2,800.00




                                                                                                                                       FORM MOR-2
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In re NY Genesis Taxi Corp                                                              Case No. 17-46617
      Debtor                                                                   Reporting Period: 2/1/2018-2/28/2018

     REORGANIZATION ITEMS
     Professional Fees                                                                                0                    0
     U. S. Trustee Quarterly Fees                                              $                  -       $          325.00
     Interest Earned on Accumulated Cash from Chapter 11 (see continuation
     sheet)                                                                                           0                    0
     Gain (Loss) from Sale of Equipment                                                               0                     0
     Other Reorganization Expenses (attach schedule)                                                  0                208.44
     Total Reorganization Expenses                                             $                  -                    533.44
     Income Taxes                                                                                  0                        0
     Net Profit (Loss)                                                         $           1,400.00 $               3,666.56
     *"Insider" is defined in 11 U.S.C. Section 101(31).


     BREAKDOWN OF “OTHER” CATEGORY

     OTHER COSTS
     NONE




     OTHER OPERATIONAL EXPENSES
     NONE




     OTHER INCOME
     NONE



     OTHER EXPENSES
     NONE



     OTHER REORGANIZATION EXPENSES
     Checks - New DIP Account                                                  $                  -       $          208.44




     Reorganization Items - Interest Earned on Accumulated Cash from Chapter 11:
     Interest earned on cash accumulated during the chapter 11 case, which would not have been earned but for the
     bankruptcy proceeding, should be reported as a reorganization item.




                                                                                                                           FORM MOR-2
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In re NY Genesis Taxi Corp                                                                     Case No.                        17-46617
      Debtor                                                                          Reporting Period:               2/1/2018-2/28/2018

                                                                              BALANCE SHEET
     The Balance Sheet is to be completed on an accrual basis only. Pre-petition liabilities must be classified separately from post-petition obligations.

                                      ASSETS                                      BOOK VALUE AT END OF            BOOK VALUE AT END OF           BOOK VALUE ON PETITION
                                                                                   CURRENT REPORTING                PRIOR REPORTING                DATE OR SCHEDULED
                                                                                         MONTH                           MONTH
     CURRENT ASSETS
     Unrestricted Cash and Equivalents                                            $                4,766.56       $                3,366.56       $              2,500.00
     Restricted Cash and Cash Equivalents (see continuation                                                                                                              0
     sheet)                                                                                              0
     Accounts Receivable (Net)                                                   $                    -                                          $                    -
     Notes Receivable                                                            $           1,077,959.00 $                  1,077,959.00        $           1,077,959.00
     Inventories                                                                 NA                                                              NA
     Prepaid Expenses                                                            NA                                                              NA
     Professional Retainers                                                                              0                                                               0
     Other Current Assets (attach schedule)                                       $            750,000.00 $                    750,000.00         $            750,000.00
     TOTAL CURRENT ASSETS                                                         $          1,832,725.56 $                  1,831,325.56         $          1,830,459.00
     PROPERTY & EQUIPMENT
     Real Property and Improvements                                                                           0                                                         0
     Machinery and Equipment                                                                                  0                                                         0
     Furniture, Fixtures and Office Equipment                                                                 0                                                         0
     Leasehold Improvements                                                                                   0                                                         0
     Vehicles                                                                                                 0                                                         0
     Less: Accumulated Depreciation                                                                           0                                                         0
     TOTAL PROPERTY & EQUIPMENT                                                                               0                                                         0
     OTHER ASSETS
     Amounts due from Insiders*                                                                          0                                                               0
     Other Assets (attach schedule)                                                                      0                                                               0
     TOTAL OTHER ASSETS                                                                                  0                                                               0
     TOTAL ASSETS                                                                 $          1,832,725.56 $                  1,831,325.56         $          1,830,459.00
                      LIABILITIES AND OWNER EQUITY                                BOOK VALUE AT END OF            BOOK VALUE AT END OF           BOOK VALUE ON PETITION
                                                                                   CURRENT REPORTING                PRIOR REPORTING                      DATE
                                                                                         MONTH                           MONTH
     LIABILITIES NOT SUBJECT TO COMPROMISE (Postpetition)
     Accounts Payable                                                                                         0                                                         0
     Taxes Payable (refer to FORM MOR-4)                                                                      0                                                         0
     Wages Payable                                                                                            0                                                         0
     Notes Payable                                                                                            0                                                         0
     Rent / Leases - Building/Equipment                                                                       0                                                         0
     Secured Debt / Adequate Protection Payments                                                              0                                                         0
     Professional Fees                                                                                        0                                                         0
     Amounts Due to Insiders*                                                                                 0                                                         0
     Other Post-petition Liabilities (attach schedule)                                                        0                                                         0
     TOTAL POST-PETITION LIABILITIES                                                                          0                                                         0
     LIABILITIES SUBJECT TO COMPROMISE (Pre-Petition)
     Secured Debt                                                                 $          1,210,000.00         $          1,210,000.00         $          1,210,000.00
     Priority Debt
     Unsecured Debt
     TOTAL PRE-PETITION LIABILITIES                                               $          1,210,000.00         $          1,210,000.00         $          1,210,000.00
     TOTAL LIABILITIES                                                            $          1,210,000.00         $          1,210,000.00         $          1,210,000.00
     OWNERS' EQUITY
     Capital Stock
     Additional Paid-In Capital
     Partners' Capital Account
     Owner's Equity Account
     Retained Earnings - Pre-Petition
     Retained Earnings - Post-petition
     Adjustments to Owner Equity (attach schedule)
     Post-petition Contributions (attach schedule)
     NET OWNERS’ EQUITY
     TOTAL LIABILITIES AND OWNERS' EQUITY                                        $            1,832,725.56 $                  1,831,325.56 $                 1,830,459.00
     * "Insider" is defined in 11 U.S.C. Section 101(31).


                                                                                                                                                                             FORM MOR-3
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In re NY Genesis Taxi Corp                                                    Case No.                   17-46617
      Debtor                                                         Reporting Period:          2/1/2018-2/28/2018


     BALANCE SHEET - continuation section
                                  ASSETS                           BOOK VALUE AT END        BOOK VALUE AT END         BOOK VALUE ON
                                                                      OF CURRENT            OF PRIOR REPORTING        PETITION DATE
                                                                   REPORTING MONTH                MONTH
     Other Current Assets
     NYC Medallions 2Y44 & 2Y45                                                  750,000.00 $            750,000.00            750,000.00




     Other Assets
     NA




                  LIABILITIES AND OWNER EQUITY                     BOOK VALUE AT END                                  BOOK VALUE ON
                                                                      OF CURRENT                                      PETITION DATE
                                                                   REPORTING MONTH
     Other Post-petition Liabilities
     NA




     Adjustments to Owner’s Equity
     NA



     Post-Petition Contributions
     NA




     Restricted Cash: Cash that is restricted for a specific use and not available to fund operations.
     Typically, restricted cash is segregated into a separate account, such as an escrow account.




                                                                                                                                            FORM MOR-3
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In re NY Genesis Taxi Corp                                                                 Case No. 17-46617
      Debtor                                                                      Reporting Period: 2/1/2018-2/28/2018

                                             STATUS OF POST-PETITION TAXES

     The beginning tax liability should be the ending liability from the prior month or, if this is the first report, the
     amount should be zero.
     Attach photocopies of IRS Form 6123 or payment receipt to verify payment or deposit of federal payroll taxes.
     Attach photocopies of any tax returns filed during the reporting period.

                                                              Amount
                                                              Withheld
                                            Beginning          and/or          Amount                           Check # or
     Federal                                  Tax             Accrued           Paid           Date Paid          EFT      Ending Tax
     Withholding                           NA
     FICA-Employee                         NA
     FICA-Employer                         NA
     Unemployment                          NA
     Income                                NA
     Other:_____________                   NA
       Total Federal Taxes                 NA
     State and Local
     Withholding                           NA
     Sales                                 NA
     Excise                                NA
     Unemployment                          NA
     Real Property                         NA
     Personal Property                     NA
     Other:_____________                   NA
      Total State and Local                NA


     Total Taxes                           NA


                                    SUMMARY OF UNPAID POST-PETITION DEBTS

     Attach aged listing of accounts payable.
                                                                              Number of Days Past Due
                                                Current          0-30            31-60            61-90           Over 91       Total
     Accounts Payable                                     0               0                0                0               0           0
     Wages Payable                                        0               0                0                0               0           0
     Taxes Payable                                        0               0                0                0               0           0
     Rent/Leases-Building                                 0               0                0                0               0           0
     Rent/Leases-Equipment                                0               0                0                0               0           0
     Secured Debt/Adequate
     Protection Payments                                  0               0                0                0               0           0
     Professional Fees                                    0               0                0                0               0           0
     Amounts Due to Insiders                              0               0                0                0               0           0
     Other:______________                                 0               0                0                0               0           0
     Other:______________                                 0               0                0                0               0           0
     Total Post-petition Debts                            0               0                0                0               0           0

     Explain how and when the Debtor intends to pay any past due post-petition debts.



                                                                                                                                            FORM MOR-4
                                                                                                                                                  2/2008
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In re NY Genesis Taxi Corp                                                                    Case No. 17-46617
      Debtor                                                                         Reporting Period: 2/1/2018-2/28/2018


                                            ACCOUNTS RECEIVABLE RECONCILIATION AND AGING

                        Accounts Receivable Reconciliation                                Amount
     Total Accounts Receivable at the beginning of the reporting period              $             -
     Plus: Amounts billed during the period                                          $        3,400.00
     Less: Amounts collected during the period                                       $        1,400.00
     Total Accounts Receivable at the end of the reporting period                    $        2,000.00


     Accounts Receivable Aging                                    0-30 Days              31-60 Days        61-90 Days       91+ Days           Total
     0 - 30 days old                                          $        2,000.00                                                            $     2,000.00
     31 - 60 days old                                                           0                                                          $          -
     61 - 90 days old                                                           0                                                          $          -
     91+ days old                                                               0                                                          $          -
     Total Accounts Receivable                                $               -                                                            $          -
                                                              $        2,000.00
     Less: Bad Debts (Amount considered uncollectible)                          0                                                                          0

     Net Accounts Receivable                                  $           2,000.00                                                         $     2,000.00


                                                          TAXES RECONCILIATION AND AGING

     Taxes Payable                                                0-30 Days              31-60 Days        61-90 Days       91+ Days           Total
     0 - 30 days old                                                             0                    0                 0
     31 - 60 days old                                                            0                    0                 0              0                   0
     61 - 90 days old                                                            0                    0                 0              0                   0
     91+ days old                                                                0                    0                 0              0                   0
     Total Taxes Payable                                                         0                    0                 0              0                   0
     Total Accounts Payable                                                      0                    0                 0              0                   0



                                                                                                                                                  FORM MOR-5
                                                                                                                                                        2/2008
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In re NY Genesis Taxi Corp                                                 Case No. 17-46617
      Debtor                                                      Reporting Period: 2/1/2018-2/28/2018


                                            PAYMENTS TO INSIDERS AND PROFESSIONALS

     Of the total disbursements shown on the Cash Receipts and Disbursements Report (MOR-1) list the amount paid to insiders (as defined in
     Section 101(31) (A)-(F) of the U.S. Bankruptcy Code) and to professionals. For payments to insiders, identify the type of compensation paid
     (e.g. Salary, Bonus, Commissions, Insurance, Housing Allowance, Travel, Car Allowance, Etc.). Attach additional sheets if necessary.


                                                     INSIDERS

                  NAME                  TYPE OF PAYMENT              AMOUNT PAID            TOTAL PAID TO DATE
     NONE                                                     0                         0                          0




                           TOTAL PAYMENTS TO INSIDERS




                                                                          PROFESSIONALS
                                          DATE OF COURT
                                             ORDER
                                           AUTHORIZING                                                                                             TOTAL INCURRED &
                  NAME                      PAYMENT               AMOUNT APPROVED              AMOUNT PAID             TOTAL PAID TO DATE              UNPAID*
     NONE                              NA




                   TOTAL PAYMENTS TO PROFESSIONALS
     * INCLUDE ALL FEES INCURRED, BOTH APPROVED AND UNAPPROVED



          POST-PETITION STATUS OF SECURED NOTES, LEASES PAYABLE
                   AND ADEQUATE PROTECTION PAYMENTS

                                          SCHEDULED
                                       MONTHLY PAYMENT               AMOUNT PAID            TOTAL UNPAID POST-
         NAME OF CREDITOR                    DUE                    DURING MONTH                PETITION
     None




                                          TOTAL PAYMENTS




                                                                                                                                                            FORM MOR-6
                                                                                                                                                                  2/2008
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In re NY Genesis Taxi Corp                                                               Case No. 17-46617
      Debtor                                                                    Reporting Period: 2/1/2018-2/28/2018



                                          DEBTOR QUESTIONNAIRE
       Must be completed each month. If the answer to any of the                      Yes                No
       questions is “Yes”, provide a detailed explanation of each item.
       Attach additional sheets if necessary.
       Have any assets been sold or transferred outside the normal course of
   1   business this reporting period?                                                                    X
       Have any funds been disbursed from any account other than a debtor in
   2   possession account this reporting period?                                                          X
       Is the Debtor delinquent in the timely filing of any post-petition tax
   3   returns?                                                                                           X
       Are workers compensation, general liability or other necessary
   4   insurance coverages expired or cancelled, or has the debtor received
       notice of expiration or cancellation of such policies?                                             X

   5 Is the Debtor delinquent in paying any insurance premium payment?                                    X
     Have any payments been made on pre-petition liabilities this reporting
   6 period?                                                                                              X
     Are any post petition receivables (accounts, notes or loans) due from
   7 related parties?                                                                                    X
   8 Are any post petition payroll taxes past due?                                                       X
   9 Are any post petition State or Federal income taxes past due?                                       X
  10 Are any post petition real estate taxes past due?                                                   X
  11 Are any other post petition taxes past due?                                                         X
  12 Have any pre-petition taxes been paid during this reporting period?                                 X
  13 Are any amounts owed to post petition creditors delinquent?                                         X
  14 Are any wage payments past due?                                                                     X
     Have any post petition loans been been received by the Debtor from any
  15 party?                                                                                              X
  16 Is the Debtor delinquent in paying any U.S. Trustee fees?                                           X
     Is the Debtor delinquent with any court ordered payments to attorneys or
  17 other professionals?                                                                                X
     Have the owners or shareholders received any compensation outside of
  18 the normal course of business?                                                                      X




                                                                                                               FORM MOR-7
                                                                                                                     2/2008
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In re NY Stance Taxi Corp                                                                       Case No. 17-46642
      Debtor                                                                           Reporting Period: 2/1/2018-2/28/2018

                                  SCHEDULE OF CASH RECEIPTS AND DISBURSEMENTS

     Amounts reported should be from the debtor’s books and not the bank statement. The beginning cash should be the ending cash from the prior month
     or, if this is the first report, the amount should be the balance on the date the petition was filed. The amounts reported in the "CURRENT MONTH -
     ACTUAL” column must equal the sum of the four bank account columns. Attach copies of the bank statements and the cash disbursements journal.
     The total disbursements listed in the disbursements journal must equal the total disbursements reported on this page. A bank reconciliation must be
     attached for each account. [See MOR-1 (CON’T)]

                                                                                                             BANK ACCOUNTS
                                                                                            PAYROLL                    TAX                  OTHER           CURRENT MONTH
                                                                                                                                                           ACTUAL (TOTAL OF
                                                                  OPERATING
                                                                                                                                                             ALL ACCOUNTS)
     ACCOUNT NUMBER (LAST 4)                                         2279

     CASH BEGINNING OF MONTH                              $            9,566.57                                                                            $      9,566.57
     RECEIPTS
     CASH SALES                                           $            2,500.00                                                                            $      2,500.00
     ACCOUNTS RECEIVABLE -
     PREPETITION                                          $                    -                                                                           $             -
     ACCOUNTS RECEIVABLE -
     POSTPETITION                                             $                 -                                                                          $             -
     LOANS AND ADVANCES                                                        0                                                                                             0
     SALE OF ASSETS                                                            0                                                                                             0
     OTHER (ATTACH LIST)                                                       0                                                                                             0
     TRANSFERS (FROM DIP ACCTS)                                                0
       TOTAL RECEIPTS                                     $            2,500.00                                                                            $      2,500.00
     DISBURSEMENTS
     NET PAYROLL                                                                   0                                                                                         0
     PAYROLL TAXES                                                                 0                                                                                         0
     SALES, USE, & OTHER TAXES                                                     0                                                                                         0
     INVENTORY PURCHASES                                                           0                                                                                         0
     SECURED/ RENTAL/ LEASES                                                       0                                                                                         0
     INSURANCE                                                                     0                                                                                         0
     ADMINISTRATIVE                                                                0                                                                                         0
     SELLING                                                                       0                                                                                         0
     OTHER (ATTACH LIST)                                  $                    -                                                                           $             -
     OWNER DRAW *                                                                  0                                                                                         0
     TRANSFERS (TO DIP ACCTS)                                                      0                                                                                         0
     PROFESSIONAL FEES                                                             0                                                                                         0
     U.S. TRUSTEE QUARTERLY FEES                          $                    -                                                                           $             -
     COURT COSTS                                                                   0                                                                                         0
     TOTAL DISBURSEMENTS                                  $                    -                                                                           $             -

     NET CASH FLOW
     (RECEIPTS LESS DISBURSEMENTS) $                                   2,500.00                                                                            $      2,500.00

     CASH – END OF MONTH                                  $          12,066.57                                                                             $     12,066.57
     * COMPENSATION TO SOLE PROPRIETORS FOR SERVICES RENDERED TO BANKRUPTCY ESTATE


                                          THE FOLLOWI NG SECTI ON MUST BE COMPLETED
     DISBURSEMENTS FOR CALCULATING U.S. TRUSTEE QUARTERLY FEES: (FROM CURRENT MONTH ACTUAL COLUMN)

     TOTAL DISBURSEMENTS
       LESS: TRANSFERS TO OTHER DEBTOR IN
     POSSESSION ACCOUNTS                                                                $                                       -
       PLUS: ESTATE DISBURSEMENTS MADE BY
     OUTSIDE SOURCES (i.e. from escrow accounts)                                        $                                       -
     TOTAL DISBURSEMENTS FOR CALCULATING U.S.
     TRUSTEE QUARTERLY FEES                                                             $                                       -


                                                                                                                                                                 FORM MOR-1
                                                                                                                                                                       2/2008
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In re NY Stance Taxi Corp                                                    Case No. 17-46642
      Debtor                                                        Reporting Period: 2/1/2018-2/28/2018

                                                      BANK RECONCILIATIONS
     Continuation Sheet for MOR-1
     A bank reconciliation must be included for each bank account. The debtor's bank reconciliation may be substituted for this page.
     (Bank account numbers may be redacted to last four numbers.)


                                              Operating                      Payroll                     Tax                        Other
                                                 #2279              # - NA                    # - NA                     # - NA
     BALANCE PER
     BOOKS

     BANK BALANCE                      $             12,066.57
     (+) DEPOSITS IN                   $                    -
     TRANSIT (ATTACH
     LIST)
     (-) OUTSTANDING                   $                      -
     CHECKS (ATTACH
     LIST) :
     OTHER (ATTACH                     $                      -
     EXPLANATION)

     ADJUSTED BANK
     BALANCE *                           $            12,066.57
     *"Adjusted Bank Balance" must equal "Balance per Books"


     DEPOSITS IN TRANSIT                          Date                       Amount                      Date                      Amount
     None




     CHECKS OUTSTANDING                           Ck. #                      Amount                      Ck. #                     Amount
     None




     OTHER




                                                                                                                                            FORM MOR-1 (CONT.)
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In re NY Stance Taxi Corp                                                                          Case No. 17-46642
      Debtor                                                                              Reporting Period: 2/1/2018-2/28/2018


                                     STATEMENT OF OPERATIONS (Income Statement)
     The Statement of Operations is to be prepared on an accrual basis. The accrual basis of accounting recognizes revenue
     when it is realized and expenses when they are incurred, regardless of when cash is actually received or paid.

                                         REVENUES                                                 MONTH               CUMULATIVE -FILING
                                                                                                                          TO DATE
     Gross Revenues                                                                       $              2,500.00 $             7,500.00
     Less: Returns and Allowances                                                                                0                      0
     Net Revenue                                                                          $              2,500.00 $             7,500.00
     COST OF GOODS SOLD
     Beginning Inventory                                                                             NA
     Add: Purchases                                                                                  NA
     Add: Cost of Labor                                                                              NA
     Add: Other Costs (attach schedule)                                                              NA
     Less: Ending Inventory                                                                          NA
     Cost of Goods Sold                                                                              NA
     Gross Profit                                                                                    NA
     OPERATING EXPENSES
     Advertising                                                                                     NA
     Auto and Truck Expense                                                                          NA
     Bad Debts                                                                                       NA
     Contributions                                                                                   NA
     Employee Benefits Programs                                                                      NA
     Officer/Insider Compensation*                                                                   NA
     Insurance                                                                                       NA
     Management Fees/Bonuses                                                                         NA
     Office Expense                                                                                  NA
     Pension & Profit-Sharing Plans                                                                  NA
     Repairs and Maintenance                                                                         NA
     Rent and Lease Expense                                                                          NA
     Salaries/Commissions/Fees                                                                       NA
     Supplies                                                                                        NA
     Taxes - Payroll                                                                                 NA
     Taxes - Real Estate                                                                             NA
     Taxes - Other                                                                                   NA
     Travel and Entertainment                                                                        NA
     Utilities                                                                                       NA
     Other (attach schedule)                                                                         NA
     Total Operating Expenses Before Depreciation                                                    NA
     Depreciation/Depletion/Amortization                                                             NA
     Net Profit (Loss) Before Other Income & Expenses                                      $              2,500.00 $            7,500.00
     OTHER INCOME AND EXPENSES
     Other Income (attach schedule)                                                                              0                      0
     Interest Expense                                                                                            0                      0
     Other Expense (attach schedule)                                                                             0                      0
     Net Profit (Loss) Before Reorganization Items                                        $              2,500.00 $             7,500.00




                                                                                                                                       FORM MOR-2
                                                                                                                                             2/2008
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In re NY Stance Taxi Corp                                                               Case No. 17-46642
      Debtor                                                                   Reporting Period: 2/1/2018-2/28/2018

     REORGANIZATION ITEMS
     Professional Fees                                                                                0                    0
     U. S. Trustee Quarterly Fees                                              $                  -       $          325.00
     Interest Earned on Accumulated Cash from Chapter 11 (see continuation
     sheet)                                                                                           0                    0
     Gain (Loss) from Sale of Equipment                                                               0                     0
     Other Reorganization Expenses (attach schedule)                           $                  -       $           208.44
     Total Reorganization Expenses                                             $                  -       $           533.44
     Income Taxes                                                                                  0                        0
     Net Profit (Loss)                                                         $           2,500.00 $               6,966.56
     *"Insider" is defined in 11 U.S.C. Section 101(31).


     BREAKDOWN OF “OTHER” CATEGORY

     OTHER COSTS
     NONE




     OTHER OPERATIONAL EXPENSES
     NONE




     OTHER INCOME
     NONE



     OTHER EXPENSES
     NONE



     OTHER REORGANIZATION EXPENSES
     Checks - New DIP Account                                                  $                  -       $          208.44




     Reorganization Items - Interest Earned on Accumulated Cash from Chapter 11:
     Interest earned on cash accumulated during the chapter 11 case, which would not have been earned but for the
     bankruptcy proceeding, should be reported as a reorganization item.




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In re NY Stance Taxi Corp                                                                      Case No.                        17-46642
      Debtor                                                                          Reporting Period:               2/1/2018-2/28/2018

                                                                              BALANCE SHEET
     The Balance Sheet is to be completed on an accrual basis only. Pre-petition liabilities must be classified separately from post-petition obligations.

                                      ASSETS                                      BOOK VALUE AT END OF            BOOK VALUE AT END OF           BOOK VALUE ON PETITION
                                                                                   CURRENT REPORTING                PRIOR REPORTING                DATE OR SCHEDULED
                                                                                         MONTH                           MONTH
     CURRENT ASSETS
     Unrestricted Cash and Equivalents                                            $              12,066.57        $                9,566.57       $              5,100.01
     Restricted Cash and Cash Equivalents (see continuation                                                                                                              0
     sheet)                                                                                               0
     Accounts Receivable (Net)                                                   $                     -    $                          -         $              2,500.00
     Notes Receivable                                                            $              925,045.00 $                    925,045.00       $            925,045.00
     Inventories                                                                 NA                                                              NA
     Prepaid Expenses                                                            NA                                                              NA
     Professional Retainers                                                                              0                                                               0
     Other Current Assets (attach schedule)                                       $            750,000.00 $                    750,000.00         $            750,000.00
     TOTAL CURRENT ASSETS                                                         $          1,687,111.57 $                  1,684,611.57         $          1,682,645.01
     PROPERTY & EQUIPMENT
     Real Property and Improvements                                                                           0                                                           0
     Machinery and Equipment                                                                                  0                                                           0
     Furniture, Fixtures and Office Equipment                                                                 0                                                           0
     Leasehold Improvements                                                                                   0                                                           0
     Vehicles                                                                                                 0                                                           0
     Less: Accumulated Depreciation                                                                           0                                                           0
     TOTAL PROPERTY & EQUIPMENT                                                                               0                                                           0
     OTHER ASSETS
     Amounts due from Insiders*                                                                               0                                                           0
     Other Assets (attach schedule)                                                                                                               $                   -
     TOTAL OTHER ASSETS                                                                                  0                                                               0
     TOTAL ASSETS                                                                 $          1,687,111.57 $                  1,684,611.57         $          1,682,645.01
                      LIABILITIES AND OWNER EQUITY                                BOOK VALUE AT END OF            BOOK VALUE AT END OF           BOOK VALUE ON PETITION
                                                                                   CURRENT REPORTING                PRIOR REPORTING                      DATE
                                                                                         MONTH                           MONTH
     LIABILITIES NOT SUBJECT TO COMPROMISE (Postpetition)
     Accounts Payable                                                                                         0                                                           0
     Taxes Payable (refer to FORM MOR-4)                                                                      0                                                           0
     Wages Payable                                                                                            0                                                           0
     Notes Payable                                                                                            0                                                           0
     Rent / Leases - Building/Equipment                                                                       0                                                           0
     Secured Debt / Adequate Protection Payments                                                              0                                                           0
     Professional Fees                                                                                        0                                                           0
     Amounts Due to Insiders*                                                                                 0                                                           0
     Other Post-petition Liabilities (attach schedule)                                                        0                                                           0
     TOTAL POST-PETITION LIABILITIES                                                                          0                                                           0
     LIABILITIES SUBJECT TO COMPROMISE (Pre-Petition)
     Secured Debt                                                                 $          1,210,000.00         $          1,210,000.00         $          1,210,000.00
     Priority Debt
     Unsecured Debt
     TOTAL PRE-PETITION LIABILITIES                                               $          1,210,000.00         $          1,210,000.00         $          1,210,000.00
     TOTAL LIABILITIES                                                            $          1,210,000.00         $          1,210,000.00         $          1,210,000.00
     OWNERS' EQUITY
     Capital Stock
     Additional Paid-In Capital
     Partners' Capital Account
     Owner's Equity Account
     Retained Earnings - Pre-Petition
     Retained Earnings - Post-petition
     Adjustments to Owner Equity (attach schedule)
     Post-petition Contributions (attach schedule)
     NET OWNERS’ EQUITY
     TOTAL LIABILITIES AND OWNERS' EQUITY                                        $            1,687,111.57 $                  1,684,611.57 $                 1,682,645.01
     * "Insider" is defined in 11 U.S.C. Section 101(31).


                                                                                                                                                                              FORM MOR-3
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In re NY Stance Taxi Corp                                                        Case No.                 17-46642
      Debtor                                                            Reporting Period:        2/1/2018-2/28/2018


     BALANCE SHEET - continuation section
                                ASSETS                                BOOK VALUE AT END      BOOK VALUE AT END             BOOK VALUE ON
                                                                         OF CURRENT          OF PRIOR REPORTING            PETITION DATE
                                                                      REPORTING MONTH              MONTH
     Other Current Assets
     NYC Medallions - 5P15 & 5P16                                 $             750,000.00   $            750,000.00   $           750,000.00




     Other Assets
     NA




                  LIABILITIES AND OWNER EQUITY                        BOOK VALUE AT END                                    BOOK VALUE ON
                                                                         OF CURRENT                                        PETITION DATE
                                                                      REPORTING MONTH
     Other Post-petition Liabilities
     NA




     Adjustments to Owner’s Equity
     NA



     Post-Petition Contributions
     NA




     Restricted Cash: Cash that is restricted for a specific use and not available to fund operations.
     Typically, restricted cash is segregated into a separate account, such as an escrow account.




                                                                                                                                                FORM MOR-3
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In re NY Stance Taxi Corp                                                                  Case No. 17-46642
      Debtor                                                                      Reporting Period: 2/1/2018-2/28/2018

                                             STATUS OF POST-PETITION TAXES

     The beginning tax liability should be the ending liability from the prior month or, if this is the first report, the
     amount should be zero.
     Attach photocopies of IRS Form 6123 or payment receipt to verify payment or deposit of federal payroll taxes.
     Attach photocopies of any tax returns filed during the reporting period.

                                                              Amount
                                                              Withheld
                                            Beginning          and/or          Amount                          Check # or
     Federal                                  Tax             Accrued           Paid           Date Paid         EFT      Ending Tax
     Withholding                           NA
     FICA-Employee                         NA
     FICA-Employer                         NA
     Unemployment                          NA
     Income                                NA
     Other:_____________                   NA
       Total Federal Taxes                 NA
     State and Local
     Withholding                           NA
     Sales                                 NA
     Excise                                NA
     Unemployment                          NA
     Real Property                         NA
     Personal Property                     NA
     Other:_____________                   NA
      Total State and Local                NA


     Total Taxes                           NA


                                    SUMMARY OF UNPAID POST-PETITION DEBTS

     Attach aged listing of accounts payable.
                                                                              Number of Days Past Due
                                                Current          0-30            31-60            61-90           Over 91    Total
     Accounts Payable                                     0
     Wages Payable                                        0
     Taxes Payable                                        0
     Rent/Leases-Building                                 0
     Rent/Leases-Equipment                                0
     Secured Debt/Adequate
     Protection Payments                                  0
     Professional Fees                                    0
     Amounts Due to Insiders                              0
     Other:______________                                 0
     Other:______________                                 0
     Total Post-petition Debts                            0

     Explain how and when the Debtor intends to pay any past due post-petition debts.



                                                                                                                                       FORM MOR-4
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In re NY Stance Taxi Corp                                                                      Case No. 17-46642
      Debtor                                                                          Reporting Period: 2/1/2018-2/28/2018


                                            ACCOUNTS RECEIVABLE RECONCILIATION AND AGING

                        Accounts Receivable Reconciliation                                 Amount
     Total Accounts Receivable at the beginning of the reporting period               $             -
     Plus: Amounts billed during the period                                           $        2,500.00
     Less: Amounts collected during the period                                        $        2,500.00
     Total Accounts Receivable at the end of the reporting period                     $             -


     Accounts Receivable Aging                                    0-30 Days               31-60 Days        61-90 Days       91+ Days           Total
     0 - 30 days old                                          $               -                                                             $           -
     31 - 60 days old                                                             0                                                         $           -
     61 - 90 days old                                                             0                                                         $           -
     91+ days old                                                                 0                                                         $           -
     Total Accounts Receivable                                $               -                                                             $           -

     Less: Bad Debts (Amount considered uncollectible)                            0                                                                         0

     Net Accounts Receivable                                  $               -                                                             $           -


                                                          TAXES RECONCILIATION AND AGING

     Taxes Payable                                                0-30 Days               31-60 Days        61-90 Days       91+ Days           Total
     0 - 30 days old                                                              0                    0                 0
     31 - 60 days old                                                             0                    0                 0              0                   0
     61 - 90 days old                                                             0                    0                 0              0                   0
     91+ days old                                                                 0                    0                 0              0                   0
     Total Taxes Payable                                                          0                    0                 0              0                   0
     Total Accounts Payable                                                       0                    0                 0              0                   0



                                                                                                                                                   FORM MOR-5
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In re NY Stance Taxi Corp                                                  Case No. 17-46642
      Debtor                                                      Reporting Period: 2/1/2018-2/28/2018


                                            PAYMENTS TO INSIDERS AND PROFESSIONALS

     Of the total disbursements shown on the Cash Receipts and Disbursements Report (MOR-1) list the amount paid to insiders (as defined in
     Section 101(31) (A)-(F) of the U.S. Bankruptcy Code) and to professionals. For payments to insiders, identify the type of compensation paid
     (e.g. Salary, Bonus, Commissions, Insurance, Housing Allowance, Travel, Car Allowance, Etc.). Attach additional sheets if necessary.


                                                     INSIDERS

                  NAME                  TYPE OF PAYMENT              AMOUNT PAID            TOTAL PAID TO DATE
     NONE                                                     0                         0                          0




                           TOTAL PAYMENTS TO INSIDERS




                                                                          PROFESSIONALS
                                          DATE OF COURT
                                             ORDER
                                           AUTHORIZING                                                                                             TOTAL INCURRED &
                  NAME                      PAYMENT               AMOUNT APPROVED              AMOUNT PAID             TOTAL PAID TO DATE              UNPAID*
     NONE                              NA




                   TOTAL PAYMENTS TO PROFESSIONALS
     * INCLUDE ALL FEES INCURRED, BOTH APPROVED AND UNAPPROVED



          POST-PETITION STATUS OF SECURED NOTES, LEASES PAYABLE
                   AND ADEQUATE PROTECTION PAYMENTS

                                          SCHEDULED
                                       MONTHLY PAYMENT               AMOUNT PAID            TOTAL UNPAID POST-
         NAME OF CREDITOR                    DUE                    DURING MONTH                PETITION
     None




                                          TOTAL PAYMENTS




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In re NY Stance Taxi Corp                                                                Case No. 17-46642
      Debtor                                                                    Reporting Period: 2/1/2018-2/28/2018



                                          DEBTOR QUESTIONNAIRE
       Must be completed each month. If the answer to any of the                      Yes                No
       questions is “Yes”, provide a detailed explanation of each item.
       Attach additional sheets if necessary.
       Have any assets been sold or transferred outside the normal course of
   1   business this reporting period?                                                                    X
       Have any funds been disbursed from any account other than a debtor in
   2   possession account this reporting period?                                                          X
       Is the Debtor delinquent in the timely filing of any post-petition tax
   3   returns?                                                                                           X
       Are workers compensation, general liability or other necessary
   4   insurance coverages expired or cancelled, or has the debtor received
       notice of expiration or cancellation of such policies?                                             X

   5 Is the Debtor delinquent in paying any insurance premium payment?                                    X
     Have any payments been made on pre-petition liabilities this reporting
   6 period?                                                                                              X
     Are any post petition receivables (accounts, notes or loans) due from
   7 related parties?                                                                                    X
   8 Are any post petition payroll taxes past due?                                                       X
   9 Are any post petition State or Federal income taxes past due?                                       X
  10 Are any post petition real estate taxes past due?                                                   X
  11 Are any other post petition taxes past due?                                                         X
  12 Have any pre-petition taxes been paid during this reporting period?                                 X
  13 Are any amounts owed to post petition creditors delinquent?                                         X
  14 Are any wage payments past due?                                                                     X
     Have any post petition loans been been received by the Debtor from any
  15 party?                                                                                              X
  16 Is the Debtor delinquent in paying any U.S. Trustee fees?                                           X
     Is the Debtor delinquent with any court ordered payments to attorneys or
  17 other professionals?                                                                                X
     Have the owners or shareholders received any compensation outside of
  18 the normal course of business?                                                                      X




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In re NY Tint Taxi Corp                                                                         Case No. 17-46641
      Debtor                                                                           Reporting Period: 2/1/2018 - 2/28/2018

                                  SCHEDULE OF CASH RECEIPTS AND DISBURSEMENTS

     Amounts reported should be from the debtor’s books and not the bank statement. The beginning cash should be the ending cash from the prior month
     or, if this is the first report, the amount should be the balance on the date the petition was filed. The amounts reported in the "CURRENT MONTH -
     ACTUAL” column must equal the sum of the four bank account columns. Attach copies of the bank statements and the cash disbursements journal.
     The total disbursements listed in the disbursements journal must equal the total disbursements reported on this page. A bank reconciliation must be
     attached for each account. [See MOR-1 (CON’T)]

                                                                                                             BANK ACCOUNTS
                                                                                            PAYROLL                    TAX                  OTHER           CURRENT MONTH
                                                                                                                                                           ACTUAL (TOTAL OF
                                                                OPERATING
                                                                                                                                                             ALL ACCOUNTS)
     ACCOUNT NUMBER (LAST 4)                                       2287

     CASH BEGINNING OF MONTH                              $            9,566.57                                                                            $      9,566.57
     RECEIPTS
     CASH SALES                                           $                    -                                                                           $             -
     ACCOUNTS RECEIVABLE -
     PREPETITION                                                                                                                                           $             -
     ACCOUNTS RECEIVABLE -
     POSTPETITION                                          $            2,500.00                                                                           $      2,500.00
     LOANS AND ADVANCES                                                        0                                                                                          0
     SALE OF ASSETS                                                            0                                                                                          0
     OTHER (ATTACH LIST)                                                       0                                                                                          0
     TRANSFERS (FROM DIP ACCTS)                                                0
       TOTAL RECEIPTS                                     $                  -                                                                             $             -
     DISBURSEMENTS
     NET PAYROLL                                                                   0                                                                                         0
     PAYROLL TAXES                                                                 0                                                                                         0
     SALES, USE, & OTHER TAXES                                                     0                                                                                         0
     INVENTORY PURCHASES                                                           0                                                                                         0
     SECURED/ RENTAL/ LEASES                                                       0                                                                                         0
     INSURANCE                                                                     0                                                                                         0
     ADMINISTRATIVE                                                                0                                                                                         0
     SELLING                                                                       0                                                                                         0
     OTHER (ATTACH LIST)                                  $                    -                                                                           $             -
     OWNER DRAW *                                                                  0                                                                                         0
     TRANSFERS (TO DIP ACCTS)                                                      0                                                                                         0
     PROFESSIONAL FEES                                                             0                                                                                         0
     U.S. TRUSTEE QUARTERLY FEES                          $                    -                                                                           $             -
     COURT COSTS                                                                   0                                                                                         0
     TOTAL DISBURSEMENTS                                  $                    -                                                                           $             -

     NET CASH FLOW
     (RECEIPTS LESS DISBURSEMENTS) $                                           -                                                                                             0

     CASH – END OF MONTH                                  $            9,566.57                                                                            $      9,566.57
     * COMPENSATION TO SOLE PROPRIETORS FOR SERVICES RENDERED TO BANKRUPTCY ESTATE


                                          THE FOLLOWI NG SECTI ON MUST BE COMPLETED
     DISBURSEMENTS FOR CALCULATING U.S. TRUSTEE QUARTERLY FEES: (FROM CURRENT MONTH ACTUAL COLUMN)

     TOTAL DISBURSEMENTS
       LESS: TRANSFERS TO OTHER DEBTOR IN
     POSSESSION ACCOUNTS                                                                $                                       -
       PLUS: ESTATE DISBURSEMENTS MADE BY
     OUTSIDE SOURCES (i.e. from escrow accounts)                                        $                                       -
     TOTAL DISBURSEMENTS FOR CALCULATING U.S.
     TRUSTEE QUARTERLY FEES                                                             $                                       -


                                                                                                                                                                 FORM MOR-1
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In re NY Tint Taxi Corp                                                       Case No. 17-46641
      Debtor                                                         Reporting Period: 2/1/2018 - 2/28/2018

                                                      BANK RECONCILIATIONS
     Continuation Sheet for MOR-1
     A bank reconciliation must be included for each bank account. The debtor's bank reconciliation may be substituted for this page.
     (Bank account numbers may be redacted to last four numbers.)


                                              Operating                       Payroll                    Tax                        Other
                                                 #2287               # - NA                   # - NA                     # - NA
     BALANCE PER
     BOOKS

     BANK BALANCE                      $               9,566.57
     (+) DEPOSITS IN                   $                     -
     TRANSIT (ATTACH
     LIST)
     (-) OUTSTANDING                   $                       -
     CHECKS (ATTACH
     LIST) :
     OTHER (ATTACH                     $                       -
     EXPLANATION)

     ADJUSTED BANK
     BALANCE *                          $                 9,566.57
     *"Adjusted Bank Balance" must equal "Balance per Books"


     DEPOSITS IN TRANSIT                          Date                        Amount                     Date                      Amount
     None




     CHECKS OUTSTANDING                           Ck. #                       Amount                     Ck. #                     Amount
     None




     OTHER




                                                                                                                                            FORM MOR-1 (CONT.)
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In re NY Tint Taxi Corp                                                                            Case No. 17-46641
      Debtor                                                                              Reporting Period: 2/1/2018 - 2/28/2018


                                      STATEMENT OF OPERATIONS (Income Statement)
     The Statement of Operations is to be prepared on an accrual basis. The accrual basis of accounting recognizes revenue
     when it is realized and expenses when they are incurred, regardless of when cash is actually received or paid.

                                         REVENUES                                                 MONTH                  CUMULATIVE -FILING
                                                                                                                             TO DATE
     Gross Revenues                                                                       $                      -       $          5,000.00
     Less: Returns and Allowances                                                                                    0                      0
     Net Revenue                                                                          $                      -       $          5,000.00
     COST OF GOODS SOLD
     Beginning Inventory                                                                             NA
     Add: Purchases                                                                                  NA
     Add: Cost of Labor                                                                              NA
     Add: Other Costs (attach schedule)                                                              NA
     Less: Ending Inventory                                                                          NA
     Cost of Goods Sold                                                                              NA
     Gross Profit                                                                                    NA
     OPERATING EXPENSES
     Advertising                                                                                     NA
     Auto and Truck Expense                                                                          NA
     Bad Debts                                                                                       NA
     Contributions                                                                                   NA
     Employee Benefits Programs                                                                      NA
     Officer/Insider Compensation*                                                                   NA
     Insurance                                                                                       NA
     Management Fees/Bonuses                                                                         NA
     Office Expense                                                                                  NA
     Pension & Profit-Sharing Plans                                                                  NA
     Repairs and Maintenance                                                                         NA
     Rent and Lease Expense                                                                          NA
     Salaries/Commissions/Fees                                                                       NA
     Supplies                                                                                        NA
     Taxes - Payroll                                                                                 NA
     Taxes - Real Estate                                                                             NA
     Taxes - Other                                                                                   NA
     Travel and Entertainment                                                                        NA
     Utilities                                                                                       NA
     Other (attach schedule)                                                                         NA
     Total Operating Expenses Before Depreciation                                                    NA
     Depreciation/Depletion/Amortization                                                             NA
     Net Profit (Loss) Before Other Income & Expenses                                       $                        - $            5,000.00
     OTHER INCOME AND EXPENSES
     Other Income (attach schedule)                                                                                  0                      0
     Interest Expense                                                                                                0                      0
     Other Expense (attach schedule)                                                                                 0                      0
     Net Profit (Loss) Before Reorganization Items                                        $                      -       $          5,000.00




                                                                                                                                          FORM MOR-2
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In re NY Tint Taxi Corp                                                                 Case No. 17-46641
      Debtor                                                                   Reporting Period: 2/1/2018 - 2/28/2018

     REORGANIZATION ITEMS
     Professional Fees                                                                                0                    0
     U. S. Trustee Quarterly Fees                                              $                  -       $          325.00
     Interest Earned on Accumulated Cash from Chapter 11 (see continuation
     sheet)                                                                                           0                    0
     Gain (Loss) from Sale of Equipment                                        $                  -       $               -
     Other Reorganization Expenses (attach schedule)                           $                  -       $           208.44
     Total Reorganization Expenses                                                                                     533.44
     Income Taxes                                                                                     0                     0
     Net Profit (Loss)                                                         $                  -       $         4,466.56
     *"Insider" is defined in 11 U.S.C. Section 101(31).


     BREAKDOWN OF “OTHER” CATEGORY

     OTHER COSTS
     NONE




     OTHER OPERATIONAL EXPENSES
     NONE




     OTHER INCOME
     NONE



     OTHER EXPENSES
     NONE



     OTHER REORGANIZATION EXPENSES
     Checks - New DIP Account                                                                             $          208.44




     Reorganization Items - Interest Earned on Accumulated Cash from Chapter 11:
     Interest earned on cash accumulated during the chapter 11 case, which would not have been earned but for the
     bankruptcy proceeding, should be reported as a reorganization item.




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In re NY Tint Taxi Corp                                                                        Case No.                          17-46641
      Debtor                                                                          Reporting Period:               2/1/2018 - 2/28/2018

                                                                              BALANCE SHEET
     The Balance Sheet is to be completed on an accrual basis only. Pre-petition liabilities must be classified separately from post-petition obligations.

                                      ASSETS                                      BOOK VALUE AT END OF            BOOK VALUE AT END OF            BOOK VALUE ON PETITION
                                                                                   CURRENT REPORTING                PRIOR REPORTING                 DATE OR SCHEDULED
                                                                                         MONTH                           MONTH
     CURRENT ASSETS
     Unrestricted Cash and Equivalents                                            $                9,566.57       $                9,566.57       $              5,100.01
     Restricted Cash and Cash Equivalents (see continuation
     sheet)                                                                       $                    -          $                    -          $                  -
     Accounts Receivable (Net)                                                   $                     -          $                    -          $             2,500.00
     Notes Receivable                                                            $              914,136.00        $             914,136.00        $           914,136.00
     Inventories                                                                 NA                                                               NA
     Prepaid Expenses                                                            NA                                                               NA
     Professional Retainers                                                                              0                                                               0
     Other Current Assets (attach schedule)                                       $            750,000.00 $                    750,000.00         $            750,000.00
     TOTAL CURRENT ASSETS                                                         $          1,673,702.57 $                  1,673,702.57         $          1,671,736.01
     PROPERTY & EQUIPMENT
     Real Property and Improvements                                                                           0                                                           0
     Machinery and Equipment                                                                                  0                                                           0
     Furniture, Fixtures and Office Equipment                                                                 0                                                           0
     Leasehold Improvements                                                                                   0                                                           0
     Vehicles                                                                                                 0                                                           0
     Less: Accumulated Depreciation                                                                           0                                                           0
     TOTAL PROPERTY & EQUIPMENT                                                                               0                                                           0
     OTHER ASSETS
     Amounts due from Insiders*                                                                               0                                                           0
     Other Assets (attach schedule)                                                                                                               $                   -
     TOTAL OTHER ASSETS                                                                                  0                                                               0
     TOTAL ASSETS                                                                 $          1,673,702.57 $                  1,673,702.57         $          1,671,736.01
                      LIABILITIES AND OWNER EQUITY                                BOOK VALUE AT END OF            BOOK VALUE AT END OF            BOOK VALUE ON PETITION
                                                                                   CURRENT REPORTING                PRIOR REPORTING                       DATE
                                                                                         MONTH                           MONTH
     LIABILITIES NOT SUBJECT TO COMPROMISE (Postpetition)
     Accounts Payable                                                                                         0                               0                           0
     Taxes Payable (refer to FORM MOR-4)                                                                      0                               0                           0
     Wages Payable                                                                                            0                               0                           0
     Notes Payable                                                                                            0                               0                           0
     Rent / Leases - Building/Equipment                                                                       0                               0                           0
     Secured Debt / Adequate Protection Payments                                                              0                               0                           0
     Professional Fees                                                                                        0                               0                           0
     Amounts Due to Insiders*                                                                                 0                               0                           0
     Other Post-petition Liabilities (attach schedule)                                                        0                               0                           0
     TOTAL POST-PETITION LIABILITIES                                                                          0                               0                           0
     LIABILITIES SUBJECT TO COMPROMISE (Pre-Petition)
     Secured Debt                                                                 $          1,210,000.00         $          1,210,000.00         $          1,210,000.00
     Priority Debt
     Unsecured Debt
     TOTAL PRE-PETITION LIABILITIES                                               $          1,210,000.00         $          1,210,000.00         $          1,210,000.00
     TOTAL LIABILITIES                                                            $          1,210,000.00         $          1,210,000.00         $          1,210,000.00
     OWNERS' EQUITY
     Capital Stock
     Additional Paid-In Capital
     Partners' Capital Account
     Owner's Equity Account
     Retained Earnings - Pre-Petition
     Retained Earnings - Post-petition
     Adjustments to Owner Equity (attach schedule)
     Post-petition Contributions (attach schedule)
     NET OWNERS’ EQUITY
     TOTAL LIABILITIES AND OWNERS' EQUITY                                        $            1,673,702.57 $                  1,673,702.57 $                 1,671,736.01
     * "Insider" is defined in 11 U.S.C. Section 101(31).


                                                                                                                                                                              FORM MOR-3
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In re NY Tint Taxi Corp                                                          Case No.                   17-46641
      Debtor                                                            Reporting Period:        2/1/2018 - 2/28/2018


     BALANCE SHEET - continuation section
                               ASSETS                                 BOOK VALUE AT END      BOOK VALUE AT END               BOOK VALUE ON
                                                                         OF CURRENT          OF PRIOR REPORTING              PETITION DATE
                                                                      REPORTING MONTH              MONTH
     Other Current Assets
     NYC Medallions - 8M46 & 8M47                                 $             750,000.00   $              750,000.00   $           750,000.00




     Other Assets
     NA




                  LIABILITIES AND OWNER EQUITY                        BOOK VALUE AT END                                      BOOK VALUE ON
                                                                         OF CURRENT                                          PETITION DATE
                                                                      REPORTING MONTH
     Other Post-petition Liabilities
     NA




     Adjustments to Owner’s Equity
     NA



     Post-Petition Contributions
     NA




     Restricted Cash: Cash that is restricted for a specific use and not available to fund operations.
     Typically, restricted cash is segregated into a separate account, such as an escrow account.




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In re NY Tint Taxi Corp                                                                    Case No. 17-46641
      Debtor                                                                      Reporting Period: 2/1/2018 - 2/28/2018

                                             STATUS OF POST-PETITION TAXES

     The beginning tax liability should be the ending liability from the prior month or, if this is the first report, the
     amount should be zero.
     Attach photocopies of IRS Form 6123 or payment receipt to verify payment or deposit of federal payroll taxes.
     Attach photocopies of any tax returns filed during the reporting period.

                                                              Amount
                                                              Withheld
                                            Beginning          and/or          Amount                          Check # or
     Federal                                  Tax             Accrued           Paid           Date Paid         EFT      Ending Tax
     Withholding                           NA
     FICA-Employee                         NA
     FICA-Employer                         NA
     Unemployment                          NA
     Income                                NA
     Other:_____________                   NA
       Total Federal Taxes                 NA
     State and Local
     Withholding                           NA
     Sales                                 NA
     Excise                                NA
     Unemployment                          NA
     Real Property                         NA
     Personal Property                     NA
     Other:_____________                   NA
      Total State and Local                NA


     Total Taxes                           NA


                                    SUMMARY OF UNPAID POST-PETITION DEBTS

     Attach aged listing of accounts payable.
                                                                              Number of Days Past Due
                                                Current          0-30            31-60            61-90           Over 91    Total
     Accounts Payable                                     0
     Wages Payable                                        0
     Taxes Payable                                        0
     Rent/Leases-Building                                 0
     Rent/Leases-Equipment                                0
     Secured Debt/Adequate
     Protection Payments                                  0
     Professional Fees                                    0
     Amounts Due to Insiders                              0
     Other:______________                                 0
     Other:______________                                 0
     Total Post-petition Debts                            0

     Explain how and when the Debtor intends to pay any past due post-petition debts.



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In re NY Tint Taxi Corp                                                                        Case No. 17-46641
      Debtor                                                                          Reporting Period: 2/1/2018 - 2/28/2018


                                            ACCOUNTS RECEIVABLE RECONCILIATION AND AGING

                        Accounts Receivable Reconciliation                                 Amount
     Total Accounts Receivable at the beginning of the reporting period               $             -
     Plus: Amounts billed during the period                                           $        2,500.00
     Less: Amounts collected during the period                                        $             -
     Total Accounts Receivable at the end of the reporting period                     $        2,500.00


     Accounts Receivable Aging                                    0-30 Days               31-60 Days        61-90 Days         91+ Days           Total
     0 - 30 days old                                          $        2,500.00                                                               $     2,500.00
     31 - 60 days old                                                           0                                                             $          -
     61 - 90 days old                                                           0                                                             $          -
     91+ days old                                                               0                                                             $          -
     Total Accounts Receivable                                $               -                                                               $          -

     Less: Bad Debts (Amount considered uncollectible)                            0                                                                           0

     Net Accounts Receivable                                  $               -                                                               $           -


                                                          TAXES RECONCILIATION AND AGING

     Taxes Payable                                                0-30 Days               31-60 Days        61-90 Days         91+ Days           Total
     0 - 30 days old                                                              0                    0                 0
     31 - 60 days old                                                             0                    0                 0                0                   0
     61 - 90 days old                                                             0                    0                 0                0                   0
     91+ days old                                                                 0                    0                 0                0                   0
     Total Taxes Payable                                                          0                    0                 0                0                   0
     Total Accounts Payable                                                       0                    0                 0                0                   0



                                                                                                                                                     FORM MOR-5
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In re NY Tint Taxi Corp                                                    Case No. 17-46641
      Debtor                                                      Reporting Period: 2/1/2018 - 2/28/2018


                                            PAYMENTS TO INSIDERS AND PROFESSIONALS

     Of the total disbursements shown on the Cash Receipts and Disbursements Report (MOR-1) list the amount paid to insiders (as defined in
     Section 101(31) (A)-(F) of the U.S. Bankruptcy Code) and to professionals. For payments to insiders, identify the type of compensation paid
     (e.g. Salary, Bonus, Commissions, Insurance, Housing Allowance, Travel, Car Allowance, Etc.). Attach additional sheets if necessary.


                                                     INSIDERS

                  NAME                  TYPE OF PAYMENT              AMOUNT PAID            TOTAL PAID TO DATE
     NONE                                                     0                         0                          0




                           TOTAL PAYMENTS TO INSIDERS




                                                                          PROFESSIONALS
                                          DATE OF COURT
                                             ORDER
                                           AUTHORIZING                                                                                             TOTAL INCURRED &
                  NAME                      PAYMENT               AMOUNT APPROVED              AMOUNT PAID             TOTAL PAID TO DATE              UNPAID*
     NONE                              NA




                   TOTAL PAYMENTS TO PROFESSIONALS
     * INCLUDE ALL FEES INCURRED, BOTH APPROVED AND UNAPPROVED



          POST-PETITION STATUS OF SECURED NOTES, LEASES PAYABLE
                   AND ADEQUATE PROTECTION PAYMENTS

                                          SCHEDULED
                                       MONTHLY PAYMENT               AMOUNT PAID            TOTAL UNPAID POST-
         NAME OF CREDITOR                    DUE                    DURING MONTH                PETITION
     None




                                          TOTAL PAYMENTS




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In re NY Tint Taxi Corp                                                                  Case No. 17-46641
      Debtor                                                                    Reporting Period: 2/1/2018 - 2/28/2018



                                          DEBTOR QUESTIONNAIRE
       Must be completed each month. If the answer to any of the                       Yes                No
       questions is “Yes”, provide a detailed explanation of each item.
       Attach additional sheets if necessary.
       Have any assets been sold or transferred outside the normal course of
   1   business this reporting period?                                                                     X
       Have any funds been disbursed from any account other than a debtor in
   2   possession account this reporting period?                                                           X
       Is the Debtor delinquent in the timely filing of any post-petition tax
   3   returns?                                                                                            X
       Are workers compensation, general liability or other necessary
   4   insurance coverages expired or cancelled, or has the debtor received
       notice of expiration or cancellation of such policies?                                              X

   5 Is the Debtor delinquent in paying any insurance premium payment?                                     X
     Have any payments been made on pre-petition liabilities this reporting
   6 period?                                                                                               X
     Are any post petition receivables (accounts, notes or loans) due from
   7 related parties?                                                                                     X
   8 Are any post petition payroll taxes past due?                                                        X
   9 Are any post petition State or Federal income taxes past due?                                        X
  10 Are any post petition real estate taxes past due?                                                    X
  11 Are any other post petition taxes past due?                                                          X
  12 Have any pre-petition taxes been paid during this reporting period?                                  X
  13 Are any amounts owed to post petition creditors delinquent?                                          X
  14 Are any wage payments past due?                                                                      X
     Have any post petition loans been been received by the Debtor from any
  15 party?                                                                                               X
  16 Is the Debtor delinquent in paying any U.S. Trustee fees?                                            X
     Is the Debtor delinquent with any court ordered payments to attorneys or
  17 other professionals?                                                                                 X
     Have the owners or shareholders received any compensation outside of
  18 the normal course of business?                                                                       X




                                                                                                                FORM MOR-7
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In re Somyash Taxi Inc.                                                                         Case No. 17-46640
      Debtor                                                                           Reporting Period: 2/1/2018 - 2/28/2018

                                  SCHEDULE OF CASH RECEIPTS AND DISBURSEMENTS

     Amounts reported should be from the debtor’s books and not the bank statement. The beginning cash should be the ending cash from the prior month
     or, if this is the first report, the amount should be the balance on the date the petition was filed. The amounts reported in the "CURRENT MONTH -
     ACTUAL” column must equal the sum of the four bank account columns. Attach copies of the bank statements and the cash disbursements journal.
     The total disbursements listed in the disbursements journal must equal the total disbursements reported on this page. A bank reconciliation must be
     attached for each account. [See MOR-1 (CON’T)]

                                                                                                             BANK ACCOUNTS
                                                                                            PAYROLL                    TAX                  OTHER           CURRENT MONTH
                                                                                                                                                           ACTUAL (TOTAL OF
                                                                  OPERATING
                                                                                                                                                             ALL ACCOUNTS)
     ACCOUNT NUMBER (LAST 4)                                         2295

     CASH BEGINNING OF MONTH                              $          11,504.57                                                                             $     11,504.57
     RECEIPTS
     CASH SALES                                           $            3,000.00                                                                            $      3,000.00
     ACCOUNTS RECEIVABLE -
     PREPETITION                                          $                    -                                                                           $             -
     ACCOUNTS RECEIVABLE -
     POSTPETITION                                             $                 -                                                                          $             -
     LOANS AND ADVANCES                                                        0                                                                                             0
     SALE OF ASSETS                                                            0                                                                                             0
     OTHER (ATTACH LIST)                                                       0                                                                                             0
     TRANSFERS (FROM DIP ACCTS)                                                0
       TOTAL RECEIPTS                                     $            3,000.00                                                                            $      3,000.00
     DISBURSEMENTS
     NET PAYROLL                                                                   0                                                                                         0
     PAYROLL TAXES                                                                 0                                                                                         0
     SALES, USE, & OTHER TAXES                                                     0                                                                                         0
     INVENTORY PURCHASES                                                           0                                                                                         0
     SECURED/ RENTAL/ LEASES                                                       0                                                                                         0
     INSURANCE                                                                     0                                                                                         0
     ADMINISTRATIVE                                                                0                                                                                         0
     SELLING                                                                       0                                                                                         0
     OTHER (ATTACH LIST)                                  $                    -                                                                           $             -
     OWNER DRAW *                                                                  0                                                                                      0
     TRANSFERS (TO DIP ACCTS)                                                      0                                                                                      0
     PROFESSIONAL FEES                                                             0                                                                                      0
     U.S. TRUSTEE QUARTERLY FEES                          $                    -                                                                           $        325.00
     COURT COSTS                                                                   0                                                                                      0
     TOTAL DISBURSEMENTS                                  $                    -                                                                           $            -

     NET CASH FLOW
     (RECEIPTS LESS DISBURSEMENTS) $                                   3,000.00                                                                            $      3,000.00

     CASH – END OF MONTH                                  $          14,504.57                                                                             $     14,504.57
     * COMPENSATION TO SOLE PROPRIETORS FOR SERVICES RENDERED TO BANKRUPTCY ESTATE


                                          THE FOLLOWI NG SECTI ON MUST BE COMPLETED
     DISBURSEMENTS FOR CALCULATING U.S. TRUSTEE QUARTERLY FEES: (FROM CURRENT MONTH ACTUAL COLUMN)

     TOTAL DISBURSEMENTS
       LESS: TRANSFERS TO OTHER DEBTOR IN
     POSSESSION ACCOUNTS                                                                $                                       -
       PLUS: ESTATE DISBURSEMENTS MADE BY
     OUTSIDE SOURCES (i.e. from escrow accounts)                                        $                                       -
     TOTAL DISBURSEMENTS FOR CALCULATING U.S.
     TRUSTEE QUARTERLY FEES                                                             $                                       -


                                                                                                                                                                 FORM MOR-1
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In re Somyash Taxi Inc.                                                      Case No. 17-46640
      Debtor                                                        Reporting Period: 2/1/2018 - 2/28/2018

                                                      BANK RECONCILIATIONS
     Continuation Sheet for MOR-1
     A bank reconciliation must be included for each bank account. The debtor's bank reconciliation may be substituted for this page.
     (Bank account numbers may be redacted to last four numbers.)


                                              Operating                      Payroll                     Tax                        Other
                                                 #2295              # - NA                    # - NA                     # - NA
     BALANCE PER
     BOOKS

     BANK BALANCE                      $             14,504.57
     (+) DEPOSITS IN                   $                    -
     TRANSIT (ATTACH
     LIST)
     (-) OUTSTANDING                   $                      -
     CHECKS (ATTACH
     LIST) :
     OTHER (ATTACH                     $                      -
     EXPLANATION)

     ADJUSTED BANK
     BALANCE *                           $            14,504.57
     *"Adjusted Bank Balance" must equal "Balance per Books"


     DEPOSITS IN TRANSIT                          Date                       Amount                      Date                      Amount
     None




     CHECKS OUTSTANDING                           Ck. #                      Amount                      Ck. #                     Amount
     None




     OTHER




                                                                                                                                            FORM MOR-1 (CONT.)
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In re Somyash Taxi Inc.                                                                            Case No. 17-46640
      Debtor                                                                              Reporting Period: 2/1/2018 - 2/28/201


                                     STATEMENT OF OPERATIONS (Income Statement)
     The Statement of Operations is to be prepared on an accrual basis. The accrual basis of accounting recognizes revenue
     when it is realized and expenses when they are incurred, regardless of when cash is actually received or paid.

                                         REVENUES                                                 MONTH               CUMULATIVE -FILING
                                                                                                                          TO DATE
     Gross Revenues                                                                       $              3,000.00 $             6,000.00
     Less: Returns and Allowances                                                                                0                      0
     Net Revenue                                                                          $              3,000.00 $             6,000.00
     COST OF GOODS SOLD
     Beginning Inventory                                                                             NA
     Add: Purchases                                                                                  NA
     Add: Cost of Labor                                                                              NA
     Add: Other Costs (attach schedule)                                                              NA
     Less: Ending Inventory                                                                          NA
     Cost of Goods Sold                                                                              NA
     Gross Profit                                                                                    NA
     OPERATING EXPENSES
     Advertising                                                                                     NA
     Auto and Truck Expense                                                                          NA
     Bad Debts                                                                                       NA
     Contributions                                                                                   NA
     Employee Benefits Programs                                                                      NA
     Officer/Insider Compensation*                                                                   NA
     Insurance                                                                                       NA
     Management Fees/Bonuses                                                                         NA
     Office Expense                                                                                  NA
     Pension & Profit-Sharing Plans                                                                  NA
     Repairs and Maintenance                                                                         NA
     Rent and Lease Expense                                                                          NA
     Salaries/Commissions/Fees                                                                       NA
     Supplies                                                                                        NA
     Taxes - Payroll                                                                                 NA
     Taxes - Real Estate                                                                             NA
     Taxes - Other                                                                                   NA
     Travel and Entertainment                                                                        NA
     Utilities                                                                                       NA
     Other (attach schedule)                                                                         NA
     Total Operating Expenses Before Depreciation                                                    NA
     Depreciation/Depletion/Amortization                                                             NA
     Net Profit (Loss) Before Other Income & Expenses                                      $              3,000.00 $            6,000.00
     OTHER INCOME AND EXPENSES
     Other Income (attach schedule)                                                                              0                      0
     Interest Expense                                                                                            0                      0
     Other Expense (attach schedule)                                                                             0                      0
     Net Profit (Loss) Before Reorganization Items                                        $              3,000.00 $             6,000.00




                                                                                                                                       FORM MOR-2
                                                                                                                                             2/2008
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In re Somyash Taxi Inc.                                                                 Case No. 17-46640
      Debtor                                                                   Reporting Period: 2/1/2018 - 2/28/201

     REORGANIZATION ITEMS
     Professional Fees                                                                                0                    0
     U. S. Trustee Quarterly Fees                                              $                  -       $          325.00
     Interest Earned on Accumulated Cash from Chapter 11 (see continuation
     sheet)                                                                                           0                    0
     Gain (Loss) from Sale of Equipment                                                               0                     0
     Other Reorganization Expenses (attach schedule)                           $                  -       $           208.44
     Total Reorganization Expenses                                             $                  -                    533.47
     Income Taxes                                                                                  0                        0
     Net Profit (Loss)                                                         $           3,000.00 $               5,466.53
     *"Insider" is defined in 11 U.S.C. Section 101(31).


     BREAKDOWN OF “OTHER” CATEGORY

     OTHER COSTS
     NONE




     OTHER OPERATIONAL EXPENSES
     NONE




     OTHER INCOME
     NONE



     OTHER EXPENSES
     NONE



     OTHER REORGANIZATION EXPENSES
     Checks - New DIP Account                                                  $                  -       $          208.44




     Reorganization Items - Interest Earned on Accumulated Cash from Chapter 11:
     Interest earned on cash accumulated during the chapter 11 case, which would not have been earned but for the
     bankruptcy proceeding, should be reported as a reorganization item.




                                                                                                                           FORM MOR-2
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In re Somyash Taxi Inc.                                                                        Case No.                          17-46640
      Debtor                                                                          Reporting Period:               2/1/2018 - 2/28/2018

                                                                              BALANCE SHEET
     The Balance Sheet is to be completed on an accrual basis only. Pre-petition liabilities must be classified separately from post-petition obligations.

                                      ASSETS                                      BOOK VALUE AT END OF            BOOK VALUE AT END OF           BOOK VALUE ON PETITION
                                                                                   CURRENT REPORTING                PRIOR REPORTING                DATE OR SCHEDULED
                                                                                         MONTH                           MONTH
     CURRENT ASSETS
     Unrestricted Cash and Equivalents                                            $              14,504.57        $               11,504.57       $              9,038.01
     Restricted Cash and Cash Equivalents (see continuation                                                                                                              0
     sheet)                                                                                              0
     Accounts Receivable (Net)                                                   $                    -                                          $                    -
     Notes Receivable                                                            $           1,066,869.00 $                  1,066,869.00        $           1,066,869.00
     Inventories                                                                 NA                                                              NA
     Prepaid Expenses                                                            NA                                                              NA
     Professional Retainers                                                                              0 $                          -                                  0
     Other Current Assets (attach schedule)                                       $            750,000.00 $                    750,000.00         $            750,000.00
     TOTAL CURRENT ASSETS                                                         $          1,831,373.57 $                  1,828,373.57         $          1,825,907.01
     PROPERTY & EQUIPMENT
     Real Property and Improvements                                                                           0                                                           0
     Machinery and Equipment                                                                                  0                                                           0
     Furniture, Fixtures and Office Equipment                                                                 0                                                           0
     Leasehold Improvements                                                                                   0                                                           0
     Vehicles                                                                                                 0                                                           0
     Less: Accumulated Depreciation                                                                           0                                                           0
     TOTAL PROPERTY & EQUIPMENT                                                                               0                                                           0
     OTHER ASSETS
     Amounts due from Insiders*                                                                               0                                                           0
     Other Assets (attach schedule)                                                                                                               $                   -
     TOTAL OTHER ASSETS                                                                                  0                                                               0
     TOTAL ASSETS                                                                 $          1,831,373.57 $                  1,828,373.57         $          1,825,907.01
                      LIABILITIES AND OWNER EQUITY                                BOOK VALUE AT END OF            BOOK VALUE AT END OF           BOOK VALUE ON PETITION
                                                                                   CURRENT REPORTING                PRIOR REPORTING                      DATE
                                                                                         MONTH                           MONTH
     LIABILITIES NOT SUBJECT TO COMPROMISE (Postpetition)
     Accounts Payable                                                                                         0                                                           0
     Taxes Payable (refer to FORM MOR-4)                                                                      0                                                           0
     Wages Payable                                                                                            0                                                           0
     Notes Payable                                                                                            0                                                           0
     Rent / Leases - Building/Equipment                                                                       0                                                           0
     Secured Debt / Adequate Protection Payments                                                              0                                                           0
     Professional Fees                                                                                        0                                                           0
     Amounts Due to Insiders*                                                                                 0                                                           0
     Other Post-petition Liabilities (attach schedule)                                                        0                                                           0
     TOTAL POST-PETITION LIABILITIES                                                                          0                                                           0
     LIABILITIES SUBJECT TO COMPROMISE (Pre-Petition)
     Secured Debt                                                                 $          1,210,000.00         $          1,210,000.00         $          1,210,000.00
     Priority Debt
     Unsecured Debt
     TOTAL PRE-PETITION LIABILITIES                                               $          1,210,000.00         $          1,210,000.00         $          1,210,000.00
     TOTAL LIABILITIES                                                            $          1,210,000.00         $          1,210,000.00         $          1,210,000.00
     OWNERS' EQUITY
     Capital Stock
     Additional Paid-In Capital
     Partners' Capital Account
     Owner's Equity Account
     Retained Earnings - Pre-Petition
     Retained Earnings - Post-petition
     Adjustments to Owner Equity (attach schedule)
     Post-petition Contributions (attach schedule)
     NET OWNERS’ EQUITY
     TOTAL LIABILITIES AND OWNERS' EQUITY                                        $            1,831,373.57 $                  1,828,373.57 $                 1,825,907.01
     * "Insider" is defined in 11 U.S.C. Section 101(31).


                                                                                                                                                                              FORM MOR-3
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In re Somyash Taxi Inc.                                                          Case No.                   17-46640
      Debtor                                                            Reporting Period:        2/1/2018 - 2/28/2018


     BALANCE SHEET - continuation section
                                    ASSETS                            BOOK VALUE AT END      BOOK VALUE AT END               BOOK VALUE ON
                                                                         OF CURRENT          OF PRIOR REPORTING              PETITION DATE
                                                                      REPORTING MONTH              MONTH
     Other Current Assets
     NYC Medallions - 4J18 & 4J19                                 $             750,000.00   $              750,000.00   $           750,000.00




     Other Assets
     NA




                   LIABILITIES AND OWNER EQUITY                       BOOK VALUE AT END                                      BOOK VALUE ON
                                                                         OF CURRENT                                          PETITION DATE
                                                                      REPORTING MONTH
     Other Post-petition Liabilities
     NA




     Adjustments to Owner’s Equity
     NA



     Post-Petition Contributions
     NA




     Restricted Cash: Cash that is restricted for a specific use and not available to fund operations.
     Typically, restricted cash is segregated into a separate account, such as an escrow account.




                                                                                                                                                  FORM MOR-3
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In re Somyash Taxi Inc.                                                                    Case No. 17-46640
      Debtor                                                                      Reporting Period: 2/1/2018 - 2/28/2018

                                             STATUS OF POST-PETITION TAXES

     The beginning tax liability should be the ending liability from the prior month or, if this is the first report, the
     amount should be zero.
     Attach photocopies of IRS Form 6123 or payment receipt to verify payment or deposit of federal payroll taxes.
     Attach photocopies of any tax returns filed during the reporting period.

                                                              Amount
                                                              Withheld
                                            Beginning          and/or          Amount                          Check # or
     Federal                                  Tax             Accrued           Paid           Date Paid         EFT      Ending Tax
     Withholding                           NA
     FICA-Employee                         NA
     FICA-Employer                         NA
     Unemployment                          NA
     Income                                NA
     Other:_____________                   NA
       Total Federal Taxes                 NA
     State and Local
     Withholding                           NA
     Sales                                 NA
     Excise                                NA
     Unemployment                          NA
     Real Property                         NA
     Personal Property                     NA
     Other:_____________                   NA
      Total State and Local                NA


     Total Taxes                           NA


                                    SUMMARY OF UNPAID POST-PETITION DEBTS

     Attach aged listing of accounts payable.
                                                                              Number of Days Past Due
                                                Current          0-30            31-60            61-90           Over 91    Total
     Accounts Payable                                     0
     Wages Payable                                        0
     Taxes Payable                                        0
     Rent/Leases-Building                                 0
     Rent/Leases-Equipment                                0
     Secured Debt/Adequate
     Protection Payments                                  0
     Professional Fees                                    0
     Amounts Due to Insiders                              0
     Other:______________                                 0
     Other:______________                                 0
     Total Post-petition Debts                            0

     Explain how and when the Debtor intends to pay any past due post-petition debts.



                                                                                                                                       FORM MOR-4
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In re Somyash Taxi Inc.                                                                        Case No. 17-46640
      Debtor                                                                          Reporting Period: 2/1/2018 - 2/28/2018


                                            ACCOUNTS RECEIVABLE RECONCILIATION AND AGING

                        Accounts Receivable Reconciliation                                 Amount
     Total Accounts Receivable at the beginning of the reporting period               $             -
     Plus: Amounts billed during the period                                           $        3,000.00
     Less: Amounts collected during the period                                        $        3,000.00
     Total Accounts Receivable at the end of the reporting period                     $             -


     Accounts Receivable Aging                                    0-30 Days               31-60 Days        61-90 Days         91+ Days           Total
     0 - 30 days old                                          $               -                                                               $           -
     31 - 60 days old                                                             0                                                           $           -
     61 - 90 days old                                                             0                                                           $           -
     91+ days old                                                                 0                                                           $           -
     Total Accounts Receivable                                $               -                                                               $           -

     Less: Bad Debts (Amount considered uncollectible)                            0                                                                           0

     Net Accounts Receivable                                  $               -                                                               $           -


                                                          TAXES RECONCILIATION AND AGING

     Taxes Payable                                                0-30 Days               31-60 Days        61-90 Days         91+ Days           Total
     0 - 30 days old                                                              0                    0                 0
     31 - 60 days old                                                             0                    0                 0                0                   0
     61 - 90 days old                                                             0                    0                 0                0                   0
     91+ days old                                                                 0                    0                 0                0                   0
     Total Taxes Payable                                                          0                    0                 0                0                   0
     Total Accounts Payable                                                       0                    0                 0                0                   0



                                                                                                                                                     FORM MOR-5
                                                                                                                                                           2/2008
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In re Somyash Taxi Inc.                                                    Case No. 17-46640
      Debtor                                                      Reporting Period: 2/1/2018 - 2/28/2018


                                            PAYMENTS TO INSIDERS AND PROFESSIONALS

     Of the total disbursements shown on the Cash Receipts and Disbursements Report (MOR-1) list the amount paid to insiders (as defined in
     Section 101(31) (A)-(F) of the U.S. Bankruptcy Code) and to professionals. For payments to insiders, identify the type of compensation paid
     (e.g. Salary, Bonus, Commissions, Insurance, Housing Allowance, Travel, Car Allowance, Etc.). Attach additional sheets if necessary.


                                                     INSIDERS

                  NAME                  TYPE OF PAYMENT              AMOUNT PAID            TOTAL PAID TO DATE
     NONE                                                     0                         0                          0




                           TOTAL PAYMENTS TO INSIDERS




                                                                          PROFESSIONALS
                                          DATE OF COURT
                                             ORDER
                                           AUTHORIZING                                                                                             TOTAL INCURRED &
                  NAME                      PAYMENT               AMOUNT APPROVED              AMOUNT PAID             TOTAL PAID TO DATE              UNPAID*
     NONE                              NA




                   TOTAL PAYMENTS TO PROFESSIONALS
     * INCLUDE ALL FEES INCURRED, BOTH APPROVED AND UNAPPROVED



          POST-PETITION STATUS OF SECURED NOTES, LEASES PAYABLE
                   AND ADEQUATE PROTECTION PAYMENTS

                                          SCHEDULED
                                       MONTHLY PAYMENT               AMOUNT PAID            TOTAL UNPAID POST-
         NAME OF CREDITOR                    DUE                    DURING MONTH                PETITION
     None




                                          TOTAL PAYMENTS




                                                                                                                                                            FORM MOR-6
                                                                                                                                                                  2/2008
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In re Somyash Taxi Inc.                                                                  Case No. 17-46640
      Debtor                                                                    Reporting Period: 2/1/2018 - 2/28/2018



                                          DEBTOR QUESTIONNAIRE
       Must be completed each month. If the answer to any of the                       Yes                No
       questions is “Yes”, provide a detailed explanation of each item.
       Attach additional sheets if necessary.
       Have any assets been sold or transferred outside the normal course of
   1   business this reporting period?                                                                     X
       Have any funds been disbursed from any account other than a debtor in
   2   possession account this reporting period?                                                           X
       Is the Debtor delinquent in the timely filing of any post-petition tax
   3   returns?                                                                                            X
       Are workers compensation, general liability or other necessary
   4   insurance coverages expired or cancelled, or has the debtor received
       notice of expiration or cancellation of such policies?                                              X

   5 Is the Debtor delinquent in paying any insurance premium payment?                                     X
     Have any payments been made on pre-petition liabilities this reporting
   6 period?                                                                                               X
     Are any post petition receivables (accounts, notes or loans) due from
   7 related parties?                                                                                     X
   8 Are any post petition payroll taxes past due?                                                        X
   9 Are any post petition State or Federal income taxes past due?                                        X
  10 Are any post petition real estate taxes past due?                                                    X
  11 Are any other post petition taxes past due?                                                          X
  12 Have any pre-petition taxes been paid during this reporting period?                                  X
  13 Are any amounts owed to post petition creditors delinquent?                                          X
  14 Are any wage payments past due?                                                                      X
     Have any post petition loans been been received by the Debtor from any
  15 party?                                                                                               X
  16 Is the Debtor delinquent in paying any U.S. Trustee fees?                                            X
     Is the Debtor delinquent with any court ordered payments to attorneys or
  17 other professionals?                                                                                 X
     Have the owners or shareholders received any compensation outside of
  18 the normal course of business?                                                                       X




                                                                                                                FORM MOR-7
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In re Tamar Cab Corp                                                                           Case No. 17-46616
      Debtor                                                                          Reporting Period: 2/1/2018 - 2/28/2018

                                 SCHEDULE OF CASH RECEIPTS AND DISBURSEMENTS

    Amounts reported should be from the debtor’s books and not the bank statement. The beginning cash should be the ending cash from the prior month
    or, if this is the first report, the amount should be the balance on the date the petition was filed. The amounts reported in the "CURRENT MONTH -
    ACTUAL” column must equal the sum of the four bank account columns. Attach copies of the bank statements and the cash disbursements journal.
    The total disbursements listed in the disbursements journal must equal the total disbursements reported on this page. A bank reconciliation must be
    attached for each account. [See MOR-1 (CON’T)]

                                                                                                            BANK ACCOUNTS
                                                                                           PAYROLL                    TAX                  OTHER           CURRENT MONTH
                                                                                                                                                          ACTUAL (TOTAL OF
                                                               OPERATING
                                                                                                                                                            ALL ACCOUNTS)
    ACCOUNT NUMBER (LAST 4)                                       2302

    CASH BEGINNING OF MONTH                              $          11,166.56                                                                             $     11,166.56
    RECEIPTS
    CASH SALES                                           $            2,800.00                                                                            $      2,800.00
    ACCOUNTS RECEIVABLE -
    PREPETITION                                                                                                                                           $             -
    ACCOUNTS RECEIVABLE -
    POSTPETITION                                          $              600.00                                                                           $        600.00
    LOANS AND ADVANCES                                                        0                                                                                          0
    SALE OF ASSETS                                                            0                                                                                          0
    OTHER (ATTACH LIST)                                                       0                                                                                          0
    TRANSFERS (FROM DIP ACCTS)                                                0
      TOTAL RECEIPTS                                     $            2,800.00                                                                            $      2,800.00
    DISBURSEMENTS
    NET PAYROLL                                                                   0                                                                                         0
    PAYROLL TAXES                                                                 0                                                                                         0
    SALES, USE, & OTHER TAXES                                                     0                                                                                         0
    INVENTORY PURCHASES                                                           0                                                                                         0
    SECURED/ RENTAL/ LEASES                                                       0                                                                                         0
    INSURANCE                                                                     0                                                                                         0
    ADMINISTRATIVE                                                                0                                                                                         0
    SELLING                                                                       0                                                                                         0
    OTHER (ATTACH LIST)                                  $                    -                                                                           $             -
    OWNER DRAW *                                                                  0                                                                                         0
    TRANSFERS (TO DIP ACCTS)                                                      0                                                                                         0
    PROFESSIONAL FEES                                                             0                                                                                         0
    U.S. TRUSTEE QUARTERLY FEES                          $                    -                                                                           $             -
    COURT COSTS                                                                   0                                                                                         0
    TOTAL DISBURSEMENTS                                  $                    -                                                                           $             -

    NET CASH FLOW
    (RECEIPTS LESS DISBURSEMENTS) $                                   2,800.00                                                                                              0

    CASH – END OF MONTH                                  $          13,966.56                                                                             $     13,966.56
    * COMPENSATION TO SOLE PROPRIETORS FOR SERVICES RENDERED TO BANKRUPTCY ESTATE


                                         THE FOLLOWI NG SECTI ON MUST BE COMPLETED
    DISBURSEMENTS FOR CALCULATING U.S. TRUSTEE QUARTERLY FEES: (FROM CURRENT MONTH ACTUAL COLUMN)

    TOTAL DISBURSEMENTS
      LESS: TRANSFERS TO OTHER DEBTOR IN
    POSSESSION ACCOUNTS                                                                $                                       -
      PLUS: ESTATE DISBURSEMENTS MADE BY
    OUTSIDE SOURCES (i.e. from escrow accounts)                                        $                                       -
    TOTAL DISBURSEMENTS FOR CALCULATING U.S.
    TRUSTEE QUARTERLY FEES                                                             $                                       -


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In re Tamar Cab Corp                                                        Case No. 17-46616
      Debtor                                                       Reporting Period: 2/1/2018 - 2/28/2018

                                                     BANK RECONCILIATIONS
    Continuation Sheet for MOR-1
    A bank reconciliation must be included for each bank account. The debtor's bank reconciliation may be substituted for this page.
    (Bank account numbers may be redacted to last four numbers.)


                                             Operating                      Payroll                     Tax                        Other
                                                #2302              # - NA                    # - NA                     # - NA
    BALANCE PER
    BOOKS

    BANK BALANCE                      $             13,966.56
    (+) DEPOSITS IN                   $                    -
    TRANSIT (ATTACH
    LIST)
    (-) OUTSTANDING                   $                      -
    CHECKS (ATTACH
    LIST) :
    OTHER (ATTACH                     $                      -
    EXPLANATION)

    ADJUSTED BANK
    BALANCE *                           $            13,966.56
    *"Adjusted Bank Balance" must equal "Balance per Books"


    DEPOSITS IN TRANSIT                          Date                       Amount                      Date                      Amount
    None




    CHECKS OUTSTANDING                           Ck. #                      Amount                      Ck. #                     Amount
    None




    OTHER




                                                                                                                                           FORM MOR-1 (CONT.)
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In re Tamar Cab Corp                                                                              Case No. 17-46616
      Debtor                                                                             Reporting Period: 2/1/2018 - 2/28/2018


                                    STATEMENT OF OPERATIONS (Income Statement)
    The Statement of Operations is to be prepared on an accrual basis. The accrual basis of accounting recognizes revenue
    when it is realized and expenses when they are incurred, regardless of when cash is actually received or paid.

                                        REVENUES                                                 MONTH               CUMULATIVE -FILING
                                                                                                                         TO DATE
    Gross Revenues                                                                       $              2,800.00 $             8,400.00
    Less: Returns and Allowances                                                                                0                      0
    Net Revenue                                                                          $              2,800.00 $             8,400.00
    COST OF GOODS SOLD
    Beginning Inventory                                                                             NA
    Add: Purchases                                                                                  NA
    Add: Cost of Labor                                                                              NA
    Add: Other Costs (attach schedule)                                                              NA
    Less: Ending Inventory                                                                          NA
    Cost of Goods Sold                                                                              NA
    Gross Profit                                                                                    NA
    OPERATING EXPENSES
    Advertising                                                                                     NA
    Auto and Truck Expense                                                                          NA
    Bad Debts                                                                                       NA
    Contributions                                                                                   NA
    Employee Benefits Programs                                                                      NA
    Officer/Insider Compensation*                                                                   NA
    Insurance                                                                                       NA
    Management Fees/Bonuses                                                                         NA
    Office Expense                                                                                  NA
    Pension & Profit-Sharing Plans                                                                  NA
    Repairs and Maintenance                                                                         NA
    Rent and Lease Expense                                                                          NA
    Salaries/Commissions/Fees                                                                       NA
    Supplies                                                                                        NA
    Taxes - Payroll                                                                                 NA
    Taxes - Real Estate                                                                             NA
    Taxes - Other                                                                                   NA
    Travel and Entertainment                                                                        NA
    Utilities                                                                                       NA
    Other (attach schedule)                                                                         NA
    Total Operating Expenses Before Depreciation                                                    NA
    Depreciation/Depletion/Amortization                                                             NA
    Net Profit (Loss) Before Other Income & Expenses                                      $              2,800.00 $            8,400.00
    OTHER INCOME AND EXPENSES
    Other Income (attach schedule)                                                                              0                      0
    Interest Expense                                                                                            0                      0
    Other Expense (attach schedule)                                                                             0                      0
    Net Profit (Loss) Before Reorganization Items                                        $              2,800.00 $             8,400.00




                                                                                                                                      FORM MOR-2
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In re Tamar Cab Corp                                                                   Case No. 17-46616
      Debtor                                                                  Reporting Period: 2/1/2018 - 2/28/2018

    REORGANIZATION ITEMS
    Professional Fees                                                                                0                    0
    U. S. Trustee Quarterly Fees                                              $                  -       $          325.00
    Interest Earned on Accumulated Cash from Chapter 11 (see continuation
    sheet)                                                                                           0                    0
    Gain (Loss) from Sale of Equipment                                                               0                     0
    Other Reorganization Expenses (attach schedule)                           $                  -       $           208.44
    Total Reorganization Expenses                                             $                  -                    533.44
    Income Taxes                                                                                  0                        0
    Net Profit (Loss)                                                         $           2,800.00 $               7,866.56
    *"Insider" is defined in 11 U.S.C. Section 101(31).


    BREAKDOWN OF “OTHER” CATEGORY

    OTHER COSTS
    NONE




    OTHER OPERATIONAL EXPENSES
    NONE




    OTHER INCOME
    NONE



    OTHER EXPENSES
    NONE



    OTHER REORGANIZATION EXPENSES
    Checks - New DIP Account                                                  $                  -       $          208.44




    Reorganization Items - Interest Earned on Accumulated Cash from Chapter 11:
    Interest earned on cash accumulated during the chapter 11 case, which would not have been earned but for the
    bankruptcy proceeding, should be reported as a reorganization item.




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In re Tamar Cab Corp                                                                          Case No.                          17-46616
      Debtor                                                                         Reporting Period:               2/1/2018 - 2/28/2018

                                                                             BALANCE SHEET
    The Balance Sheet is to be completed on an accrual basis only. Pre-petition liabilities must be classified separately from post-petition obligations.

                                     ASSETS                                      BOOK VALUE AT END OF            BOOK VALUE AT END OF           BOOK VALUE ON PETITION
                                                                                  CURRENT REPORTING                PRIOR REPORTING                DATE OR SCHEDULED
                                                                                        MONTH                           MONTH
    CURRENT ASSETS
    Unrestricted Cash and Equivalents                                            $              13,966.56        $               11,166.56       $              6,100.00
    Restricted Cash and Cash Equivalents (see continuation                                                                                                              0
    sheet)                                                                                              0
    Accounts Receivable (Net)                                                   $                 600.00 $                        400.00        $               3,000.00
    Notes Receivable                                                            $           1,054,676.00 $                  1,054,676.00        $           1,054,676.00
    Inventories                                                                 NA                                                              NA
    Prepaid Expenses                                                            NA                                                              NA
    Professional Retainers                                                                              0                                                               0
    Other Current Assets (attach schedule)                                       $            750,000.00 $                    750,000.00         $            750,000.00
    TOTAL CURRENT ASSETS                                                         $          1,819,242.56 $                  1,816,242.56         $          1,813,776.00
    PROPERTY & EQUIPMENT
    Real Property and Improvements                                                                           0                                                         0
    Machinery and Equipment                                                                                  0                                                         0
    Furniture, Fixtures and Office Equipment                                                                 0                                                         0
    Leasehold Improvements                                                                                   0                                                         0
    Vehicles                                                                                                 0                                                         0
    Less: Accumulated Depreciation                                                                           0                                                         0
    TOTAL PROPERTY & EQUIPMENT                                                                               0                                                         0
    OTHER ASSETS
    Amounts due from Insiders*                                                                          0                                                               0
    Other Assets (attach schedule)                                                                      0                                                               0
    TOTAL OTHER ASSETS                                                                                  0                                                               0
    TOTAL ASSETS                                                                 $          1,819,242.56 $                  1,816,242.56         $          1,813,776.00
                     LIABILITIES AND OWNER EQUITY                                BOOK VALUE AT END OF            BOOK VALUE AT END OF           BOOK VALUE ON PETITION
                                                                                  CURRENT REPORTING                PRIOR REPORTING                      DATE
                                                                                        MONTH                           MONTH
    LIABILITIES NOT SUBJECT TO COMPROMISE (Postpetition)
    Accounts Payable                                                                                         0                                                         0
    Taxes Payable (refer to FORM MOR-4)                                                                      0                                                         0
    Wages Payable                                                                                            0                                                         0
    Notes Payable                                                                                            0                                                         0
    Rent / Leases - Building/Equipment                                                                       0                                                         0
    Secured Debt / Adequate Protection Payments                                                              0                                                         0
    Professional Fees                                                                                        0                                                         0
    Amounts Due to Insiders*                                                                                 0                                                         0
    Other Post-petition Liabilities (attach schedule)                                                        0                                                         0
    TOTAL POST-PETITION LIABILITIES                                                                          0                                                         0
    LIABILITIES SUBJECT TO COMPROMISE (Pre-Petition)
    Secured Debt                                                                 $          1,210,000.00         $          1,210,000.00         $          1,210,000.00
    Priority Debt
    Unsecured Debt
    TOTAL PRE-PETITION LIABILITIES                                               $          1,210,000.00         $          1,210,000.00         $          1,210,000.00
    TOTAL LIABILITIES                                                            $          1,210,000.00         $          1,210,000.00         $          1,210,000.00
    OWNERS' EQUITY
    Capital Stock
    Additional Paid-In Capital
    Partners' Capital Account
    Owner's Equity Account
    Retained Earnings - Pre-Petition
    Retained Earnings - Post-petition
    Adjustments to Owner Equity (attach schedule)
    Post-petition Contributions (attach schedule)
    NET OWNERS’ EQUITY
    TOTAL LIABILITIES AND OWNERS' EQUITY                                        $            1,819,242.56 $                  1,816,242.56 $                 1,813,776.00
    * "Insider" is defined in 11 U.S.C. Section 101(31).


                                                                                                                                                                            FORM MOR-3
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In re Tamar Cab Corp                                                            Case No.                   17-46616
      Debtor                                                           Reporting Period:        2/1/2018 - 2/28/2018


    BALANCE SHEET - continuation section
                               ASSETS                                BOOK VALUE AT END      BOOK VALUE AT END               BOOK VALUE ON
                                                                        OF CURRENT          OF PRIOR REPORTING              PETITION DATE
                                                                     REPORTING MONTH              MONTH
    Other Current Assets
    NYC Medallions - 1H60 & 1H78                                 $             750,000.00   $              750,000.00   $           750,000.00




    Other Assets
    NA




                 LIABILITIES AND OWNER EQUITY                        BOOK VALUE AT END                                      BOOK VALUE ON
                                                                        OF CURRENT                                          PETITION DATE
                                                                     REPORTING MONTH
    Other Post-petition Liabilities
    NA




    Adjustments to Owner’s Equity
    NA



    Post-Petition Contributions
    NA




    Restricted Cash: Cash that is restricted for a specific use and not available to fund operations.
    Typically, restricted cash is segregated into a separate account, such as an escrow account.




                                                                                                                                                 FORM MOR-3
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In re Tamar Cab Corp                                                                      Case No. 17-46616
      Debtor                                                                     Reporting Period: 2/1/2018 - 2/28/2018

                                            STATUS OF POST-PETITION TAXES

    The beginning tax liability should be the ending liability from the prior month or, if this is the first report, the
    amount should be zero.
    Attach photocopies of IRS Form 6123 or payment receipt to verify payment or deposit of federal payroll taxes.
    Attach photocopies of any tax returns filed during the reporting period.

                                                             Amount
                                                             Withheld
                                           Beginning          and/or          Amount                          Check # or
    Federal                                  Tax             Accrued           Paid           Date Paid         EFT      Ending Tax
    Withholding                           NA
    FICA-Employee                         NA
    FICA-Employer                         NA
    Unemployment                          NA
    Income                                NA
    Other:_____________                   NA
      Total Federal Taxes                 NA
    State and Local
    Withholding                           NA
    Sales                                 NA
    Excise                                NA
    Unemployment                          NA
    Real Property                         NA
    Personal Property                     NA
    Other:_____________                   NA
     Total State and Local                NA


    Total Taxes                           NA


                                   SUMMARY OF UNPAID POST-PETITION DEBTS

    Attach aged listing of accounts payable.
                                                                             Number of Days Past Due
                                               Current          0-30            31-60            61-90           Over 91    Total
    Accounts Payable                                     0
    Wages Payable                                        0
    Taxes Payable                                        0
    Rent/Leases-Building                                 0
    Rent/Leases-Equipment                                0
    Secured Debt/Adequate
    Protection Payments                                  0
    Professional Fees                                    0
    Amounts Due to Insiders                              0
    Other:______________                                 0
    Other:______________                                 0
    Total Post-petition Debts                            0

    Explain how and when the Debtor intends to pay any past due post-petition debts.



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In re Tamar Cab Corp                                                                       Case No. 17-46616
      Debtor                                                                      Reporting Period: 2/1/2018 - 2/28/2018


                                           ACCOUNTS RECEIVABLE RECONCILIATION AND AGING

                       Accounts Receivable Reconciliation                              Amount
    Total Accounts Receivable at the beginning of the reporting period            $         400.00
    Plus: Amounts billed during the period                                        $       3,000.00
    Less: Amounts collected during the period                                     $       2,800.00
    Total Accounts Receivable at the end of the reporting period                  $         600.00


    Accounts Receivable Aging                                    0-30 Days            31-60 Days        61-90 Days         91+ Days           Total
    0 - 30 days old                                          $         200.00                                                             $       200.00
    31 - 60 days old                                         $         400.00                                                             $       400.00
    61 - 90 days old                                                         0                                                            $          -
    91+ days old                                                             0                                                            $          -
    Total Accounts Receivable                                $         600.00                                                             $       600.00

    Less: Bad Debts (Amount considered uncollectible)                         0                                                                           0

    Net Accounts Receivable                                  $           600.00                                                           $      600.00


                                                         TAXES RECONCILIATION AND AGING

    Taxes Payable                                                0-30 Days            31-60 Days        61-90 Days         91+ Days           Total
    0 - 30 days old                                                           0                    0                 0
    31 - 60 days old                                                          0                    0                 0                0                   0
    61 - 90 days old                                                          0                    0                 0                0                   0
    91+ days old                                                              0                    0                 0                0                   0
    Total Taxes Payable                                                       0                    0                 0                0                   0
    Total Accounts Payable                                                    0                    0                 0                0                   0



                                                                                                                                                 FORM MOR-5
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In re Tamar Cab Corp                                                      Case No. 17-46616
      Debtor                                                     Reporting Period: 2/1/2018 - 2/28/2018


                                           PAYMENTS TO INSIDERS AND PROFESSIONALS

    Of the total disbursements shown on the Cash Receipts and Disbursements Report (MOR-1) list the amount paid to insiders (as defined in
    Section 101(31) (A)-(F) of the U.S. Bankruptcy Code) and to professionals. For payments to insiders, identify the type of compensation paid
    (e.g. Salary, Bonus, Commissions, Insurance, Housing Allowance, Travel, Car Allowance, Etc.). Attach additional sheets if necessary.


                                                    INSIDERS

                 NAME                  TYPE OF PAYMENT              AMOUNT PAID            TOTAL PAID TO DATE
    NONE                                                     0                         0                          0




                          TOTAL PAYMENTS TO INSIDERS




                                                                         PROFESSIONALS
                                         DATE OF COURT
                                            ORDER
                                          AUTHORIZING                                                                                             TOTAL INCURRED &
                 NAME                      PAYMENT               AMOUNT APPROVED              AMOUNT PAID             TOTAL PAID TO DATE              UNPAID*
    NONE                              NA




                  TOTAL PAYMENTS TO PROFESSIONALS
    * INCLUDE ALL FEES INCURRED, BOTH APPROVED AND UNAPPROVED



         POST-PETITION STATUS OF SECURED NOTES, LEASES PAYABLE
                  AND ADEQUATE PROTECTION PAYMENTS

                                         SCHEDULED
                                      MONTHLY PAYMENT               AMOUNT PAID            TOTAL UNPAID POST-
        NAME OF CREDITOR                    DUE                    DURING MONTH                PETITION
    None




                                         TOTAL PAYMENTS




                                                                                                                                                           FORM MOR-6
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In re Tamar Cab Corp                                                                     Case No. 17-46616
      Debtor                                                                    Reporting Period: 2/1/2018 - 2/28/2018



                                          DEBTOR QUESTIONNAIRE
       Must be completed each month. If the answer to any of the                       Yes                No
       questions is “Yes”, provide a detailed explanation of each item.
       Attach additional sheets if necessary.
       Have any assets been sold or transferred outside the normal course of
   1   business this reporting period?                                                                     X
       Have any funds been disbursed from any account other than a debtor in
   2   possession account this reporting period?                                                           X
       Is the Debtor delinquent in the timely filing of any post-petition tax
   3   returns?                                                                                            X
       Are workers compensation, general liability or other necessary
   4   insurance coverages expired or cancelled, or has the debtor received
       notice of expiration or cancellation of such policies?                                              X

   5 Is the Debtor delinquent in paying any insurance premium payment?                                     X
     Have any payments been made on pre-petition liabilities this reporting
   6 period?                                                                                               X
     Are any post petition receivables (accounts, notes or loans) due from
   7 related parties?                                                                                     X
   8 Are any post petition payroll taxes past due?                                                        X
   9 Are any post petition State or Federal income taxes past due?                                        X
  10 Are any post petition real estate taxes past due?                                                    X
  11 Are any other post petition taxes past due?                                                          X
  12 Have any pre-petition taxes been paid during this reporting period?                                  X
  13 Are any amounts owed to post petition creditors delinquent?                                          X
  14 Are any wage payments past due?                                                                      X
     Have any post petition loans been been received by the Debtor from any
  15 party?                                                                                               X
  16 Is the Debtor delinquent in paying any U.S. Trustee fees?                                            X
     Is the Debtor delinquent with any court ordered payments to attorneys or
  17 other professionals?                                                                                 X
     Have the owners or shareholders received any compensation outside of
  18 the normal course of business?                                                                       X




                                                                                                                FORM MOR-7
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